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                        Exhibit 12
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                                                                    Statement Ending 05/29/2020
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    4 Bryant Park
    3rd Floor
    New York, NY 10018
    RETURN SERVICE REQUESTED                                        Managing Your Accounts
                                                                         Officer Name     Steve LaFredo

    AARON ETRA ESQ                                                       Office Number    212-266-9200
    445 PARK AVE FL 9
                                                                                          Mon - Fri
    NEW YORK NY 10022-8606                                               Banking Hours
                                                                                          8:30am - 4:30pm EST
                                                                         Online Banking   www.piermontbank.com




 Summary of Accounts
 Account Type                                                     Account Number                     Ending Balance
 CLASSIC BUSINESS CHECKING                                                  2060                              $0.00


CLASSIC BUSINESS CHECKING-2060
Account Summary
Date          Description                               Amount
05/26/2020    Beginning Balance                           $0.00
              0 Credit(s) This Period                     $0.00
              0 Debit(s) This Period                      $0.00
05/29/2020    Ending Balance                              $0.00

Account Activity
Post Date     Description                                                Debits           Credits               Balance
05/26/2020    Beginning Balance                                                                                   $0.00
              No activity this statement period
05/29/2020    Ending Balance                                                                                       $0.00

Overdraft and Returned Item Fees
                                                         Total for this period                  Total year-to-date
   Total Overdraft Fees                                                  $0.00                                  $0.00
   Total Returned Item Fees                                              $0.00                                  $0.00




       CC2945529EDB0D49BF63DE80849C1EE4                  20200529           Checking Account Statements
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CC2945529EDB0D49BF63DE80849C1EE4          20200529         Checking Account Statements
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                                                                    Statement Ending 06/30/2020
                                                                                                          Page 1 of 2
    4 Bryant Park
    3rd Floor
    New York, NY 10018
    RETURN SERVICE REQUESTED                                        Managing Your Accounts
                                                                         Officer Name     Steve LaFredo

    AARON ETRA ESQ                                                       Office Number    212-266-9200
    445 PARK AVE FL 9
                                                                                          Mon - Fri
    NEW YORK NY 10022-8606                                               Banking Hours
                                                                                          8:30am - 4:30pm EST
                                                                         Online Banking   www.piermontbank.com




 Summary of Accounts
 Account Type                                                     Account Number                     Ending Balance
 CLASSIC BUSINESS CHECKING                                                  2060                              $0.00


CLASSIC BUSINESS CHECKING-2060
Account Summary
Date          Description                               Amount
05/30/2020    Beginning Balance                           $0.00
              0 Credit(s) This Period                     $0.00
              0 Debit(s) This Period                      $0.00
06/30/2020    Ending Balance                              $0.00

Account Activity
Post Date     Description                                                Debits           Credits               Balance
05/30/2020    Beginning Balance                                                                                    $0.00
              No activity this statement period
06/30/2020    Ending Balance                                                                                       $0.00

Overdraft and Returned Item Fees
                                                         Total for this period                  Total year-to-date
   Total Overdraft Fees                                                  $0.00                                  $0.00
   Total Returned Item Fees                                              $0.00                                  $0.00




       F93FC5D3B16E6D45ACF25B8514D007E5                  20200630           Checking Account Statements
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F93FC5D3B16E6D45ACF25B8514D007E5          20200630         Checking Account Statements
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    4 Bryant Park
    3rd Floor
    New York, NY 10018
    RETURN SERVICE REQUESTED                                     Managing Your Accounts
                                                                      Officer Name       Steve LaFredo

    AARON ETRA ESQ                                                    Office Number      212-266-9200
    445 PARK AVE FL 9
                                                                                         Mon - Fri
    NEW YORK NY 10022-8606                                            Banking Hours
                                                                                         8:30am - 4:30pm EST
                                                                      Online Banking     www.piermontbank.com




 Summary of Accounts
 Account Type                                                  Account Number                       Ending Balance
 CLASSIC BUSINESS CHECKING                                               2060                            $9,823.70


CLASSIC BUSINESS CHECKING-2060
Account Summary
Date         Description                            Amount
07/01/2020   Beginning Balance                         $0.00
             2 Credit(s) This Period              $12,807.77
             18 Debit(s) This Period               $2,984.07
07/31/2020   Ending Balance                        $9,823.70

Account Activity
Post Date    Description                                              Debits              Credits              Balance
07/01/2020   Beginning Balance                                                                                 $0.00
07/01/2020   MOBILE CAPTURE DEPOSIT                                                        $33.71             $33.71
07/01/2020   MOBILE CAPTURE DEPOSIT                                                    $12,774.06         $12,807.77
             98644 POS PURCHASE PAYPAL * NY TIMES 402-935-7733
07/13/2020                                                            $16.00                              $12,791.77
             NY 00000000 098644
             16316 POS PURCHASE METABOLIC MEALS 636-2966325
07/15/2020                                                           $103.38                              $12,688.39
             MO 11001899 016316
             52023 POS PURCHASE FRESHLY.COM
07/16/2020                                                            $59.99                              $12,628.40
             HTTPSWWW.FRES NY 00000000 052023
             12542 POS PURCHASE METABOLIC MEALS 636-2966325
07/17/2020                                                            $96.89                              $12,531.51
             MO 11001899 012542
             4240 POS PURCHASE EMPIRE BLUE MED 844-395-1026
07/20/2020                                                          $1,153.32                             $11,378.19
             IN 00000000 004240
             373370 POS DDA W/D AMAZON.COM* MV6TS SEATTLE
07/20/2020                                                            $42.46                              $11,335.73
             WA 00000101 6VKQ2K9ZD2P0
             305770 POS DDA W/D AMAZON.COM* MV2MA SEATTLE
07/20/2020                                                            $18.99                              $11,316.74
             WA 00000101 44SLYSD5XZXK
             677460 POS DDA W/D AMAZON.COM* MV2TR SEATTLE
07/20/2020                                                            $14.15                              $11,302.59
             WA 00000101 5LELSMWO7SQO
             70004 POS PURCHASE SOCARRAT PAELLA NEW YORK
07/21/2020                                                            $74.04                              $11,228.55
             NY 02962413 070004
             57525 POS PURCHASE SILVER BIOTICS 801-7561000 UT
07/21/2020                                                            $68.94                              $11,159.61
             71004114 057525
             2109 POS PURCHASE SHADMOOR, LLC MANHATTAN NY
07/22/2020                                                           $132.32                              $11,027.29
             00007220 002109




       0674DA71CAE63144BA8451FA0D12B075              20200731             Checking Account Statements
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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date     Description                                                  Debits                Credits            Balance
              74373 POS PURCHASE FRESHLY.COM
07/23/2020                                                                $107.99                                $10,919.30
              HTTPSWWW.FRES NY 00000000 074373
              22844 POS PURCHASE METABOLIC MEALS 636-2966325
07/24/2020                                                                $118.61                                $10,800.69
              MO 11001899 022844
              85735 POS PURCHASE BARNACHO NEW YORK NY
07/28/2020                                                                 $99.75                                $10,700.94
              14785735 085735
07/28/2020    HSBC Collections PYMT COLL 547478371237016                  $664.90                                $10,036.04
              30564 POS PURCHASE FRESHLY.COM
07/30/2020                                                                 $59.99                                 $9,976.05
              HTTPSWWW.FRES NY 00000000 030564
              72931 POS PURCHASE METABOLIC MEALS 636-2966325
07/31/2020                                                                 $94.89                                 $9,881.16
              MO 11001899 072931
              674048 POS DDA W/D STAPLES 0184 NEW YORK NY
07/31/2020                                                                 $57.46                                 $9,823.70
              08158673 674048
07/31/2020    Ending Balance                                                                                      $9,823.70

Daily Balances
Date                            Amount     Date                        Amount       Date                            Amount
07/01/2020                    $12,807.77   07/20/2020                $11,302.59     07/28/2020                    $10,036.04
07/13/2020                    $12,791.77   07/21/2020                $11,159.61     07/30/2020                     $9,976.05
07/15/2020                    $12,688.39   07/22/2020                $11,027.29     07/31/2020                     $9,823.70
07/16/2020                    $12,628.40   07/23/2020                $10,919.30
07/17/2020                    $12,531.51   07/24/2020                $10,800.69


Overdraft and Returned Item Fees
                                                          Total for this period                       Total year-to-date
   Total Overdraft Fees                                                    $0.00                                   $0.00
   Total Returned Item Fees                                                $0.00                                   $0.00




       0674DA71CAE63144BA8451FA0D12B075                   20200731                Checking Account Statements
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    4 Bryant Park
    3rd Floor
    New York, NY 10018
    RETURN SERVICE REQUESTED                                     Managing Your Accounts
                                                                      Officer Name     Steve LaFredo

    AARON ETRA ESQ                                                    Office Number    212-266-9200
    445 PARK AVE FL 9
                                                                                       Mon - Fri
    NEW YORK NY 10022-8606                                            Banking Hours
                                                                                       8:30am - 4:30pm EST
                                                                      Online Banking   www.piermontbank.com




 Summary of Accounts
 Account Type                                                  Account Number                      Ending Balance
 CLASSIC BUSINESS CHECKING                                               2060                           $9,798.14


CLASSIC BUSINESS CHECKING-2060
Account Summary
Date         Description                            Amount      Description                                Amount
08/01/2020   Beginning Balance                     $9,823.70    Average Available Balance                 $8,481.17
             2 Credit(s) This Period               $5,505.57
             78 Debit(s) This Period               $5,531.13
08/31/2020   Ending Balance                        $9,798.14
             Service Charges                          $27.50

Account Activity
Post Date    Description                                               Debits           Credits              Balance
08/01/2020   Beginning Balance                                                                            $9,823.70
             XX1486 POS PURCHASE BASICSON84_3 NEW YORK
08/03/2020                                                             $30.47                             $9,793.23
             CITY NY 75428338 054916
             XX1486 POS PURCHASE LAW OFFICES OF 3104982465
08/04/2020                                                           $250.00                              $9,543.23
             CA 00000000 012062
             XX1486 POS PURCHASE VERIZON WRL MY A
08/05/2020                                                           $205.62                              $9,337.61
             800-9220204 CA 36707878 064270
             XX1486 POS PURCHASE FRESHLY.COM
08/06/2020                                                           $107.99                              $9,229.62
             HTTPSWWW.FRES NY 00000000 056972
             XX1486 POS PURCHASE CASH APP* CARMELI
08/06/2020                                                           $100.00                              $9,129.62
             8774174551 CA 00000000 036707
             XX1486 POS PURCHASE LAW OFFICES OF B
08/07/2020                                                           $250.00                              $8,879.62
             310-698-0740 CA 06931051 080003
             XX1486 POS PURCHASE METABOLIC MEALS
08/07/2020                                                           $103.63                              $8,775.99
             636-2966325 MO 11001899 063775
             XX1486 POS PURCHASE AMAZON.COM* MM2M9
08/10/2020                                                             $46.81                             $8,729.18
             SEATTLE WA 00000000 6MTOT3
             XX1486 POS PURCHASE PAYPAL * HUG HUG
08/10/2020                                                             $34.82                             $8,694.36
             4029357733 HK 00000001 001878
             XX1486 POS PURCHASE PAYPAL * ELE 402-935-7733 CA
08/10/2020                                                             $26.98                             $8,667.38
             00000000 023317
             XX1486 POS PURCHASE PAYPAL * NY TIMES
08/10/2020                                                             $16.00                             $8,651.38
             402-935-7733 NY 00000000 060308
08/10/2020   XX1486 POS PURCHASE AMZN Mktp US* MF6                      $6.35                             $8,645.03




       AE58DB5B97A7FD4CA9C193B3FF5A9744              20200831             Checking Account Statements
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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                              Debits           Credits              Balance
             Amzn.com/bill WA 00000000 054866
             XX1486 POS PURCHASE PAYPAL * MAGAZINE
08/10/2020                                                             $2.00                              $8,643.03
             402-935-7733 CT 00000000 098134
             XX1486 POS PURCHASE PAYPAL * MAGAZINE
08/10/2020                                                             $2.00                              $8,641.03
             402-935-7733 CT 00000000 038564
             XX1486 POS PURCHASE PAYPAL * MAGAZINE
08/10/2020                                                             $2.00                              $8,639.03
             402-935-7733 CT 00000000 003034
             XX1486 POS PURCHASE PAYPAL * MAGAZINE
08/10/2020                                                             $2.00                              $8,637.03
             402-935-7733 CT 00000000 035720
             VISA ISA Fee PAYPAL * HUG HUG 4029357733 HK
08/10/2020                                                             $0.35                              $8,636.68
             00000001 001878
             XX1486 POS PURCHASE WEILL CORNELL PO
08/11/2020                                                            $40.00                              $8,596.68
             212-590-5152 NY 00000000 051403
             XX1486 POS PURCHASE DD/BR #358915 NEW YORK NY
08/11/2020                                                             $6.18                              $8,590.50
             3589004 039320
             XX1486 POS PURCHASE PAYPAL * ZOOMALL
08/12/2020                                                            $44.79                              $8,545.71
             4029357733 HK 00000001 019841
             VISA ISA Fee PAYPAL * ZOOMALL 4029357733 HK
08/12/2020                                                             $0.45                              $8,545.26
             00000001 019841
             XX1486 POS PURCHASE METABOLIC MEALS
08/14/2020                                                           $103.38                              $8,441.88
             636-2966325 MO 11001899 014776
             XX1486 POS PURCHASE UNITED 0167 800-932-2732 TX
08/17/2020                                                          $1,469.45                             $6,972.43
             00000000 087184
             XX1486 POS PURCHASE STEP DOWN TO NAT NEW
08/17/2020                                                           $219.28                              $6,753.15
             YORK NY 5 026809
             XX1486 POS DDA W/D Duane Reade STO NEW YORK NY
08/17/2020                                                           $214.59                              $6,538.56
             99999999 514769
             XX1486 POS PURCHASE GLORIA WAN HAIR NEW YORK
08/17/2020                                                           $100.00                              $6,438.56
             NY 00000000 032139
             XX1486 POS PURCHASE PEAK THAI RESTAU NEW YORK
08/17/2020                                                            $57.86                              $6,380.70
             NY 45887939 087939
             XX1486 POS PURCHASE AGENT FEE 8900 ALPINE TVL &
08/17/2020                                                            $30.00                              $6,350.70
             TX 45514722 031197
             XX1486 POS PURCHASE NYC TAXI 1246 12 LONG
08/17/2020                                                             $9.30                              $6,341.40
             ISLAND C NY 467 021037
             XX1486 POS DDA RETURN METABOLIC MEALS
08/19/2020                                                                             $103.38            $6,444.78
             636-2966325 MO 11001899 023199
             XX1486 POS PURCHASE CVS/PHARMACY #10 NEW
08/19/2020                                                            $21.41                              $6,423.37
             YORK NY 00000000 093160
             XX1486 POS PURCHASE UBER TRIP HELP.UBER.COM
08/21/2020                                                            $89.31                              $6,334.06
             CA 00000000 049438
             XX1486 POS DDA W/D HBOOKSELLER ST91 ELIZABETH
08/21/2020                                                            $36.25                              $6,297.81
             NJ 25754502 320807
             XX1486 POS PURCHASE TAXI SVC LONG IS LONG
08/21/2020                                                            $13.56                              $6,284.25
             ISLAND C NY 00375926 026192
             XX1486 POS PURCHASE TAXI SVC QUEENS LONG
08/21/2020                                                            $12.36                              $6,271.89
             ISLAND C NY 00375926 026592
             XX1486 DDA WITHDRAWAL UL GRADA VUKOVARA 2
08/21/2020                                                           $339.66                              $5,932.23
             ZAGREB HR 12087 316420
             VISA ISA Fee UL GRADA VUKOVARA 2 ZAGREB HR
08/21/2020                                                             $3.43                              $5,928.80
             12087 316420
08/24/2020   MOBILE CAPTURE DEPOSIT                                                  $5,402.19           $11,330.99
             XX1486 POS PURCHASE RESTORAN DIDA ROGOZNICA
08/24/2020                                                            $65.77                             $11,265.22
             HR 50103693 098000
             XX1486 POS PURCHASE Shop 4721/ Centr Schiphol Airp
08/24/2020                                                            $62.32                             $11,202.90
             NL 31465830 018816
             XX1486 POS PURCHASE KONZUM P-0222 ZAGREB HR
08/24/2020                                                            $47.82                             $11,155.08
             KZ022213 052000
08/24/2020   XX1486 POS PURCHASE PBZTCRODUXDERIVA ZAGREB              $45.85                             $11,109.23


       AE58DB5B97A7FD4CA9C193B3FF5A9744               20200831            Checking Account Statements
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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                                   Debits          Credits              Balance
             HR 12953793 020470
             XX1486 POS PURCHASE PBZTJASENICESJEV JASENICE
08/24/2020                                                                 $20.36                            $11,088.87
             (OBR HR 12963334 047887
             XX1486 POS PURCHASE KONZUM P-0858 ROGOZNICA
08/24/2020                                                                 $20.02                            $11,068.85
             HR KZ085801 095000
             XX1486 POS PURCHASE PET NETWORK ZAGREB HR
08/24/2020                                                                 $19.20                            $11,049.65
             RB030152 012605
             XX1486 POS PURCHASE PBZ7DMP22 ZAGREB HR
08/24/2020                                                                 $18.70                            $11,030.95
             12940556 046802
             XX1486 POS PURCHASE HMS Host Interna Amsterdam NL
08/24/2020                                                                 $16.58                            $11,014.37
             75266922 066872
             XX1486 POS PURCHASE HMSHOST SCHIPHOL Schiphol
08/24/2020                                                                 $10.19                            $11,004.18
             NL 75267811 092494
             XX1486 POS PURCHASE C3 CIBO EXPRESS NEWARK NJ
08/24/2020                                                                  $3.59                            $11,000.59
             00000000 053856
             VISA ISA Fee RESTORAN DIDA ROGOZNICA HR
08/24/2020                                                                  $0.66                            $10,999.93
             50103693 098000
             VISA ISA Fee Shop 4721/ Centr Schiphol Airp NL 31465830
08/24/2020                                                                  $0.62                            $10,999.31
             018816
             VISA ISA Fee KONZUM P-0222 ZAGREB HR KZ022213
08/24/2020                                                                  $0.48                            $10,998.83
             052000
             VISA ISA Fee PBZTCRODUXDERIVA ZAGREB HR
08/24/2020                                                                  $0.46                            $10,998.37
             12953793 020470
             VISA ISA Fee PBZTJASENICESJEV JASENICE (OBR HR
08/24/2020                                                                  $0.20                            $10,998.17
             12963334 047887
             VISA ISA Fee KONZUM P-0858 ROGOZNICA HR KZ085801
08/24/2020                                                                  $0.20                            $10,997.97
             095000
             VISA ISA Fee PET NETWORK ZAGREB HR RB030152
08/24/2020                                                                  $0.19                            $10,997.78
             012605
08/24/2020   VISA ISA Fee PBZ7DMP22 ZAGREB HR 12940556 046802               $0.19                            $10,997.59
             VISA ISA Fee HMS Host Interna Amsterdam NL 75266922
08/24/2020                                                                  $0.17                            $10,997.42
             066872
             VISA ISA Fee HMSHOST SCHIPHOL Schiphol NL 75267811
08/24/2020                                                                  $0.10                            $10,997.32
             092494
             XX1486 POS PURCHASE PBZ6HOTELPERLA
08/25/2020                                                                $617.88                            $10,379.44
             ROGOZNICA HR 12931852 058126
             XX1486 POS PURCHASE U.O. MARIO KONOB
08/25/2020                                                                 $69.75                            $10,309.69
             ROGOZNICA HR 50030742 009000
             VISA ISA Fee PBZ6HOTELPERLA ROGOZNICA HR
08/25/2020                                                                  $6.18                            $10,303.51
             12931852 058126
             VISA ISA Fee U.O. MARIO KONOB ROGOZNICA HR
08/25/2020                                                                  $0.70                            $10,302.81
             50030742 009000
             XX1486 POS PURCHASE PBZ6HOTELPERLA
08/26/2020                                                                 $51.01                            $10,251.80
             ROGOZNICA HR 12931852 026991
             XX1486 POS PURCHASE JADROLINIJA PLOCE HR
08/26/2020                                                                 $26.52                            $10,225.28
             22824744 042202
             VISA ISA Fee PBZ6HOTELPERLA ROGOZNICA HR
08/26/2020                                                                  $0.51                            $10,224.77
             12931852 026991
08/26/2020   VISA ISA Fee JADROLINIJA PLOCE HR 22824744 042202              $0.27                            $10,224.50
             XX1486 POS PURCHASE PBZTINAACZGPLOCE
08/27/2020                                                                 $51.27                            $10,173.23
             RASCANE GORNJ HR 73700416 039506
             XX1486 POS PURCHASE DESETKA CAVTAT HR
08/27/2020                                                                 $45.08                            $10,128.15
             RB070710 016036
             VISA ISA Fee PBZTINAACZGPLOCE RASCANE GORNJ
08/27/2020                                                                  $0.51                            $10,127.64
             HR 73700416 039506
08/27/2020   VISA ISA Fee DESETKA CAVTAT HR RB070710 016036                 $0.45                            $10,127.19
             XX1486 POS PURCHASE LA BOHEME CAVTAT HR
08/28/2020                                                                 $91.96                            $10,035.23
             E0615744 016195



       AE58DB5B97A7FD4CA9C193B3FF5A9744                    20200831           Checking Account Statements
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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date     Description                                                 Debits                Credits            Balance
08/28/2020    VISA ISA Fee LA BOHEME CAVTAT HR E0615744 016195             $0.92                                $10,034.31
              XX1486 POS PURCHASE RESTORAN KONAVOS
08/31/2020                                                               $119.09                                 $9,915.22
              PRIDVORJE HR RB080446 004331
              XX1486 POS PURCHASE CIPARIS TRADE D. CAVTAT HR
08/31/2020                                                                $73.45                                 $9,841.77
              50103968 080000
              XX1486 POS PURCHASE TOMMY173 GRUDA HR
08/31/2020                                                                $14.07                                 $9,827.70
              50111271 013000
              VISA ISA Fee RESTORAN KONAVOS PRIDVORJE HR
08/31/2020                                                                 $1.19                                 $9,826.51
              RB080446 004331
              VISA ISA Fee CIPARIS TRADE D. CAVTAT HR 50103968
08/31/2020                                                                 $0.73                                 $9,825.78
              080000
08/31/2020    VISA ISA Fee TOMMY173 GRUDA HR 50111271 013000               $0.14                                 $9,825.64
08/31/2020    SERVICE CHARGE                                              $27.50                                 $9,798.14
08/31/2020    Ending Balance                                                                                     $9,798.14

Daily Balances
Date                           Amount     Date                        Amount       Date                            Amount
08/03/2020                    $9,793.23   08/11/2020                 $8,590.50     08/24/2020                    $10,997.32
08/04/2020                    $9,543.23   08/12/2020                 $8,545.26     08/25/2020                    $10,302.81
08/05/2020                    $9,337.61   08/14/2020                 $8,441.88     08/26/2020                    $10,224.50
08/06/2020                    $9,129.62   08/17/2020                 $6,341.40     08/27/2020                    $10,127.19
08/07/2020                    $8,775.99   08/19/2020                 $6,423.37     08/28/2020                    $10,034.31
08/10/2020                    $8,636.68   08/21/2020                 $5,928.80     08/31/2020                     $9,798.14


Overdraft and Returned Item Fees
                                                          Total for this period                      Total year-to-date
   Total Overdraft Fees                                                   $0.00                                   $0.00
   Total Returned Item Fees                                               $0.00                                   $0.00


Service Charge Summary
   Description                                                                                                 Amount
   TOTAL CHARGE FOR TOTAL ITEMS:                                                                                 $27.50
   Total Service Charge                                                                                          $27.50




       AE58DB5B97A7FD4CA9C193B3FF5A9744                   20200831               Checking Account Statements
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    4 Bryant Park
    3rd Floor
    New York, NY 10018
    RETURN SERVICE REQUESTED                                   Managing Your Accounts
                                                                    Officer Name     Steve LaFredo

    AARON ETRA ESQ                                                  Office Number    212-266-9200
    445 PARK AVE FL 9
                                                                                     Mon - Fri
    NEW YORK NY 10022-8606                                          Banking Hours
                                                                                     8:30am - 4:30pm EST
                                                                    Online Banking   www.piermontbank.com




 Summary of Accounts
 Account Type                                                Account Number                      Ending Balance
 CLASSIC BUSINESS CHECKING                                             2060                           $3,330.44


CLASSIC BUSINESS CHECKING-2060
Account Summary
Date         Description                          Amount      Description                                Amount
09/01/2020   Beginning Balance                   $9,798.14    Average Available Balance                 $5,090.06
             1 Credit(s) This Period                 $7.13
             46 Debit(s) This Period             $6,474.83
09/30/2020   Ending Balance                      $3,330.44
             Service Charges                        $10.50

Account Activity
Post Date    Description                                             Debits           Credits              Balance
09/01/2020   Beginning Balance                                                                          $9,798.14
             XX1486 POS PURCHASE PBZTCROATIAHOTEL CAVTAT
09/01/2020                                                        $2,462.57                             $7,335.57
             HR 12966210 053555
             XX1486 POS PURCHASE KONOBA KOLONA CAVTAT HR
09/01/2020                                                           $94.63                             $7,240.94
             RB081420 070919
             VISA ISA Fee PBZTCROATIAHOTEL CAVTAT HR
09/01/2020                                                           $24.63                             $7,216.31
             12966210 053555
             XX1486 POS PURCHASE PBZ9STUDENACP16 LOKVA
09/01/2020                                                           $14.32                             $7,201.99
             ROGOZNI HR 12969313 088914
             VISA ISA Fee KONOBA KOLONA CAVTAT HR RB081420
09/01/2020                                                            $0.95                             $7,201.04
             070919
             VISA ISA Fee PBZ9STUDENACP16 LOKVA ROGOZNI HR
09/01/2020                                                            $0.14                             $7,200.90
             12969313 088914
             XX1486 DDA WITHDRAWAL FOSAL 2 OMIS HR 10978
09/01/2020                                                         $342.60                              $6,858.30
             399114
09/01/2020   VISA ISA Fee FOSAL 2 OMIS HR 10978 399114                $3.46                             $6,854.84
             XX1486 POS PURCHASE RECEPCIJA SAGITT LOKVA
09/03/2020                                                         $330.55                              $6,524.29
             ROGOZN HR 50104291 031000
             XX1486 POS PURCHASE PBZTCRODUXJANJCE
09/03/2020                                                           $45.87                             $6,478.42
             PERUSIC HR 12906894 088008
             VISA ISA Fee RECEPCIJA SAGITT LOKVA ROGOZN HR
09/03/2020                                                            $3.31                             $6,475.11
             50104291 031000
             VISA ISA Fee PBZTCRODUXJANJCE PERUSIC HR
09/03/2020                                                            $0.46                             $6,474.65
             12906894 088008




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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                               Debits          Credits              Balance
             XX1486 RECUR POS VZWRLSS* BILL PAY 800-9220204
09/08/2020                                                            $328.52                             $6,146.13
             CA 36711802 049009
             XX1486 POS PURCHASE Hotel on Booking Amsterdam NL
09/08/2020                                                             $55.77                             $6,090.36
             00000000 028372
             XX1486 POS PURCHASE PET NETWORK ZAGREB HR
09/08/2020                                                             $18.84                             $6,071.52
             RB030152 000149
             VISA ISA Fee Hotel on Booking Amsterdam NL 00000000
09/08/2020                                                              $0.56                             $6,070.96
             028372
             VISA ISA Fee PET NETWORK ZAGREB HR RB030152
09/08/2020                                                              $0.19                             $6,070.77
             000149
             XX1486 DDA WITHDRAWAL NAMA, KVATERNIKOV T
09/08/2020                                                            $156.63                             $5,914.14
             ZAGREB HR PBZA0780 119159
             VISA ISA Fee NAMA, KVATERNIKOV T ZAGREB HR
09/08/2020                                                              $1.61                             $5,912.53
             PBZA0780 119159
             XX1486 DDA WITHDRAWAL TRG BANA J JELACICA
09/10/2020                                                            $843.50                             $5,069.03
             ZAGREB HR 12009 460471
             VISA ISA Fee TRG BANA J JELACICA ZAGREB HR 12009
09/10/2020                                                              $8.47                             $5,060.56
             460471
             XX1486 POS PURCHASE UBER TRIP HELP.UBER.COM
09/14/2020                                                             $52.14                             $5,008.42
             CA 00000000 037574
             XX1486 POS DDA W/D AMISH MARKET NEW YORK NY
09/14/2020                                                             $27.11                             $4,981.31
             00010001 616856
             XX1486 POS PURCHASE ADFS VELIKA GORIC HR
09/14/2020                                                             $18.80                             $4,962.51
             50052556 017000
             XX1486 POS PURCHASE LAGARDERE T.R.DE
09/14/2020                                                              $7.13                             $4,955.38
             FRANKFURT AM DE 67028753 000485
09/14/2020   VISA ISA Fee ADFS VELIKA GORIC HR 50052556 017000          $0.19                             $4,955.19
             VISA ISA Fee LAGARDERE T.R.DE FRANKFURT AM DE
09/14/2020                                                              $0.07                             $4,955.12
             67028753 000485
             XX1486 POS DDA W/D USPS PO 35961000 NEW YORK
09/15/2020                                                            $168.00                             $4,787.12
             NY 10001087 213158
             XX1486 POS DDA W/D AMISH MARKET NEW YORK NY
09/15/2020                                                             $23.70                             $4,763.42
             00010004 704602
             XX1486 POS DDA W/D STAPLES 0184 NEW YORK NY
09/16/2020                                                             $54.38                             $4,709.04
             08158673 106824
             XX1486 POS PURCHASE BASICSON84_3 NEW YORK
09/16/2020                                                             $29.39                             $4,679.65
             CITY NY 75428338 007953
             XX1486 POS DDA W/D AMISH MARKET NEW YORK NY
09/21/2020                                                             $53.12                             $4,626.53
             00010003 054949
             XX1486 POS DDA W/D AMISH MARKET NEW YORK NY
09/21/2020                                                             $37.53                             $4,589.00
             00010001 129644
             XX1486 POS DDA W/D AMISH MARKET NEW YORK NY
09/21/2020                                                             $32.89                             $4,556.11
             00010004 217886
             XX1486 POS PURCHASE STEP DOWN TO NAT NEW
09/21/2020                                                             $18.81                             $4,537.30
             YORK NY 4 046070
             XX1486 POS DDA W/D TURTLE BAY LIQUO NEW YORK
09/21/2020                                                              $7.61                             $4,529.69
             NY 94488824 004220
             XX1486 POS PURCHASE NYC TAXI 1246 12 LONG
09/22/2020                                                             $12.15                             $4,517.54
             ISLAND C NY 467 014770
             XX1486 POS PURCHASE STATE FARM INSU
09/23/2020                                                            $149.00                             $4,368.54
             800-956-6310 IL 0001 009221
             XX1486 POS DDA W/D MORTON WILLIAMS NEW YORK
09/24/2020                                                             $35.45                             $4,333.09
             NY 57937101 609669
             XX1486 POS PURCHASE NYC TAXI 1246 12 LONG
09/25/2020                                                             $12.05                             $4,321.04
             ISLAND C NY 467 014440
             XX1486 POS DDA RETURN UPS* ADJ002917614
09/28/2020                                                                               $7.13            $4,328.17
             800-811-1648 GA 00000000 018058
             XX1486 POS PURCHASE UPS* 1ZTG041E2516
09/28/2020                                                            $149.33                             $4,178.84
             800-811-1648 GA 00000000 034791


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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date     Description                                                 Debits                Credits            Balance
              XX1486 POS DDA W/D AMISH MARKET NEW YORK NY
09/28/2020                                                                $60.38                                 $4,118.46
              00010004 660281
              XX1486 POS DDA W/D MORTON WILLIAMS NEW YORK
09/28/2020                                                                $44.59                                 $4,073.87
              NY 57937101 368123
              XX1486 POS DDA W/D MORTON WILLIAMS NEW YORK
09/28/2020                                                                $32.93                                 $4,040.94
              NY 57937101 895623
09/29/2020    HSBC Collections PYMT COLL 547478371237016                 $700.00                                 $3,340.94
09/30/2020    SERVICE CHARGE                                              $10.50                                 $3,330.44
09/30/2020    Ending Balance                                                                                     $3,330.44

Daily Balances
Date                           Amount     Date                        Amount       Date                            Amount
09/01/2020                    $6,854.84   09/15/2020                 $4,763.42     09/24/2020                     $4,333.09
09/03/2020                    $6,474.65   09/16/2020                 $4,679.65     09/25/2020                     $4,321.04
09/08/2020                    $5,912.53   09/21/2020                 $4,529.69     09/28/2020                     $4,040.94
09/10/2020                    $5,060.56   09/22/2020                 $4,517.54     09/29/2020                     $3,340.94
09/14/2020                    $4,955.12   09/23/2020                 $4,368.54     09/30/2020                     $3,330.44


Overdraft and Returned Item Fees
                                                          Total for this period                      Total year-to-date
   Total Overdraft Fees                                                   $0.00                                   $0.00
   Total Returned Item Fees                                               $0.00                                   $0.00


Service Charge Summary
   Description                                                                                                 Amount
   TOTAL CHARGE FOR TOTAL ITEMS:                                                                                 $10.50
   Total Service Charge                                                                                          $10.50




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    4 Bryant Park
    3rd Floor
    New York, NY 10018
    RETURN SERVICE REQUESTED                                  Managing Your Accounts
                                                                   Officer Name     Steve LaFredo

    AARON ETRA ESQ                                                 Office Number    212-266-9200
    445 PARK AVE FL 9
                                                                                    Mon - Fri
    NEW YORK NY 10022-8606                                         Banking Hours
                                                                                    8:30am - 4:30pm EST
                                                                   Online Banking   www.piermontbank.com




 Summary of Accounts
 Account Type                                               Account Number                      Ending Balance
 CLASSIC BUSINESS CHECKING                                            2060                           $2,738.89


CLASSIC BUSINESS CHECKING-2060
Account Summary
Date         Description                         Amount      Description                                Amount
10/01/2020   Beginning Balance                  $3,330.44    Average Available Balance                 $2,189.31
             3 Credit(s) This Period            $3,162.03
             47 Debit(s) This Period            $3,753.58
10/30/2020   Ending Balance                     $2,738.89
             Service Charges                       $13.50

Account Activity
Post Date    Description                                            Debits           Credits              Balance
10/01/2020   Beginning Balance                                                                         $3,330.44
             XX1486 POS PURCHASE NYAS 212-298-8640 NY
10/01/2020                                                        $135.00                              $3,195.44
             00000000 013861
             XX1486 POS DDA W/D AMISH MARKET NEW YORK NY
10/01/2020                                                          $58.67                             $3,136.77
             00010004 086450
             XX1486 POS PURCHASE STEP DOWN TO NAT NEW
10/05/2020                                                        $112.12                              $3,024.65
             YORK NY 5 052406
             XX1486 POS PURCHASE BARNACHO NEW YORK NY
10/05/2020                                                          $58.26                             $2,966.39
             12248322 048322
             XX1486 POS PURCHASE RACE REGISTRATIO
10/05/2020                                                          $42.88                             $2,923.51
             866-3049944 UT 75024191 003085
             XX1486 POS DDA W/D AMISH MARKET NEW YORK NY
10/05/2020                                                          $36.04                             $2,887.47
             00010004 337792
             XX1486 POS DDA W/D MORTON WILLIAMS NEW YORK
10/05/2020                                                          $28.48                             $2,858.99
             NY 57937101 916670
             XX1486 POS DDA W/D AMISH MARKET NEW YORK NY
10/07/2020                                                          $72.49                             $2,786.50
             00010002 682336
             XX1486 POS PURCHASE TAXI SVC QUEENS LONG
10/08/2020                                                          $11.76                             $2,774.74
             ISLAND C NY 00375926 026848
             XX1486 POS PURCHASE TAXI SVC WOODSID LONG
10/08/2020                                                          $10.50                             $2,764.24
             ISLAND C NY 00375926 026168
             XX1486 POS PURCHASE STEP DOWN TO NAT NEW
10/13/2020                                                        $125.01                              $2,639.23
             YORK NY 5 088142
10/13/2020   XX1486 POS DDA W/D MORTON WILLIAMS NEW YORK            $54.19                             $2,585.04




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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                           Debits           Credits              Balance
             NY 57937101 033432
             XX1486 POS PURCHASE TURTLE BAY DRY C NEW YORK
10/13/2020                                                         $20.00                              $2,565.04
             NY 00000000 025447
             XX1486 POS DDA W/D AMISH MARKET NEW YORK NY
10/13/2020                                                         $19.97                              $2,545.07
             00010002 035699
             XX1486 POS DDA W/D AMISH MARKET NEW YORK NY
10/14/2020                                                         $54.16                              $2,490.91
             00010001 203672
             XX1486 POS PURCHASE UNITED 0167 800-932-2732 TX
10/19/2020                                                       $1,057.35                             $1,433.56
             00000000 018539
             XX1486 POS PURCHASE VERIZON* ONETIMEP
10/19/2020                                                        $219.99                              $1,213.57
             VERIZON.COM FL 00000000 007915
             XX1486 POS PURCHASE SILVER BIOTICS 801-7561000
10/19/2020                                                         $97.90                              $1,115.67
             UT 71004114 046069
             XX1486 POS DDA W/D MORTON WILLIAMS NEW YORK
10/19/2020                                                         $35.79                              $1,079.88
             NY 57937101 828514
             XX1486 POS PURCHASE AGENT FEE 8900 ALPINE TVL &
10/19/2020                                                         $30.00                              $1,049.88
             TX 45514722 021970
             XX1486 POS DDA W/D MORTON WILLIAMS NEW YORK
10/19/2020                                                         $26.98                              $1,022.90
             NY 57937101 759108
             XX1486 POS DDA W/D AMREENS HALLMARK NEW YORK
10/19/2020                                                          $5.76                              $1,017.14
             NY 06410001 029172002541
             XX1486 POS DDA W/D MORTON WILLIAMS NEW YORK
10/20/2020                                                         $58.74                                $958.40
             NY 57937101 048363
             XX1486 POS PURCHASE COPINETTE 212-9039001 NY
10/20/2020                                                         $55.91                                $902.49
             79161397 050650
             XX1486 POS DDA W/D AMISH MARKET NEW YORK NY
10/22/2020                                                         $50.53                                $851.96
             00010004 910739
             XX1486 POS PURCHASE WEILL CORNELL PO
10/22/2020                                                         $30.09                                $821.87
             212-590-5152 NY 00000000 000426
             XX1486 POS PURCHASE RMG* REGUS 972-340-2021 TX
10/23/2020                                                        $303.29                                $518.58
             00000000 063112
             XX1486 POS PURCHASE UNITED 0169 800-932-2732 TX
10/23/2020                                                         $73.00                                $445.58
             00000000 072613
             XX1486 POS DDA W/D MTA* METROCARD MA NEW
10/23/2020                                                         $22.00                                $423.58
             YORK NY 001 029700079703
             XX1486 POS PURCHASE FORMSWIFT.COM/CH
10/23/2020                                                         $19.95                                $403.63
             888-311-2977 CA 00000000 076630
10/26/2020   MOBILE CAPTURE DEPOSIT                                               $2,874.22            $3,277.85
             XX1486 POS DDA W/D BLOOMYS 001 NEW YORK NY
10/26/2020                                                        $261.84                              $3,016.01
             D0010551 003553
             XX1486 POS PURCHASE GLORIA WAN HAIR NEW YORK
10/26/2020                                                        $100.00                              $2,916.01
             NY 00000000 008585
             XX1486 POS PURCHASE TENZAN NEW YORK NY
10/26/2020                                                         $14.50                              $2,901.51
             00011970 005027
             XX1486 POS DDA W/D Duane Reade STO NEW YORK NY
10/27/2020                                                         $57.01                              $2,844.50
             99999999 949956
             XX1486 POS DDA W/D MORTON WILLIAMS NEW YORK
10/27/2020                                                         $21.70                              $2,822.80
             NY 57937101 223606
             XX1486 POS DDA W/D AMAZON.COM* 2T9J0 SEATTLE
10/27/2020                                                         $16.99                              $2,805.81
             WA 00000101 4EX4JUX6PE5D
             XX1486 POS PURCHASE TURTLE BAY DRY C NEW YORK
10/28/2020                                                         $17.50                              $2,788.31
             NY 00000000 084963
             XX1486 POS DDA W/D AMISH MARKET NEW YORK NY
10/28/2020                                                         $15.65                              $2,772.66
             00010002 497758
10/29/2020   MOBILE CAPTURE DEPOSIT                                                 $137.81            $2,910.47
10/29/2020   MOBILE CAPTURE DEPOSIT                                                 $150.00            $3,060.47
             XX1486 POS PURCHASE STEP DOWN TO NAT NEW
10/29/2020                                                        $145.80                              $2,914.67
             YORK NY 5 020505



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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date     Description                                                 Debits                Credits            Balance
              XX1486 POS PURCHASE TAXI SVC LONG IS LONG
10/29/2020                                                                $13.56                                 $2,901.11
              ISLAND C NY 00375926 026370
              XX1486 POS PURCHASE TAXI SVC LONG IS LONG
10/29/2020                                                                $11.16                                 $2,889.95
              ISLAND C NY 00375926 026388
              XX1486 POS PURCHASE DD/BR #337561 Q3 NEW YORK
10/29/2020                                                                 $7.99                                 $2,881.96
              NY 3375001 024291
              XX1486 POS PURCHASE UBER TRIP HELP.UBER.COM
10/30/2020                                                                $80.57                                 $2,801.39
              CA 00000000 020337
              XX1486 POS DDA W/D HBOOKSELLER ST91 ELIZABETH
10/30/2020                                                                $18.00                                 $2,783.39
              NJ 25754502 355151
              XX1486 POS PURCHASE AMZ* 33y37thpzao 866-508-3558
10/30/2020                                                                $17.44                                 $2,765.95
              NY 00000000 023452
              XX1486 POS PURCHASE TAXI SVC LONG IS LONG
10/30/2020                                                                $13.56                                 $2,752.39
              ISLAND C NY 00358682 082424
10/30/2020    SERVICE CHARGE                                              $13.50                                 $2,738.89
10/30/2020    Ending Balance                                                                                     $2,738.89

Daily Balances
Date                           Amount     Date                        Amount       Date                            Amount
10/01/2020                    $3,136.77   10/14/2020                 $2,490.91     10/26/2020                     $2,901.51
10/05/2020                    $2,858.99   10/19/2020                 $1,017.14     10/27/2020                     $2,805.81
10/07/2020                    $2,786.50   10/20/2020                   $902.49     10/28/2020                     $2,772.66
10/08/2020                    $2,764.24   10/22/2020                   $821.87     10/29/2020                     $2,881.96
10/13/2020                    $2,545.07   10/23/2020                   $403.63     10/30/2020                     $2,738.89


Overdraft and Returned Item Fees
                                                          Total for this period                      Total year-to-date
   Total Overdraft Fees                                                   $0.00                                   $0.00
   Total Returned Item Fees                                               $0.00                                   $0.00


Service Charge Summary
   Description                                                                                                 Amount
   TOTAL CHARGE FOR TOTAL ITEMS:                                                                                 $13.50
   Total Service Charge                                                                                          $13.50




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    4 Bryant Park
    3rd Floor
    New York, NY 10018
    RETURN SERVICE REQUESTED                                  Managing Your Accounts
                                                                    Officer Name     Steve LaFredo

    AARON ETRA ESQ                                                  Office Number    212-266-9200
    445 PARK AVE FL 9
                                                                                     Mon - Fri
    NEW YORK NY 10022-8606                                          Banking Hours
                                                                                     8:30am - 4:30pm EST
                                                                    Online Banking   www.piermontbank.com




 Summary of Accounts
 Account Type                                               Account Number                       Ending Balance
 CLASSIC BUSINESS CHECKING                                            2060                            $3,154.89


CLASSIC BUSINESS CHECKING-2060
Account Summary
Date         Description                         Amount       Description                                Amount
10/31/2020   Beginning Balance                  $2,738.89     Average Available Balance                 $1,678.74
             1 Credit(s) This Period            $2,732.56
             42 Debit(s) This Period            $2,316.56
11/30/2020   Ending Balance                     $3,154.89
             Service Charges                        $9.00

Account Activity
Post Date    Description                                             Debits           Credits              Balance
10/31/2020   Beginning Balance                                                                          $2,738.89
             XX1486 POS PURCHASE KONZUM P-0222 ZAGREB HR
11/02/2020                                                           $98.60                             $2,640.29
             KZ022212 025000
             XX1486 POS PURCHASE WIENERS E5 T2
11/02/2020                                                           $19.67                             $2,620.62
             MUENCHEN-FLUG DE 56552955 032503
             VISA ISA Fee KONZUM P-0222 ZAGREB HR KZ022212
11/02/2020                                                            $0.99                             $2,619.63
             025000
             VISA ISA Fee WIENERS E5 T2 MUENCHEN-FLUG DE
11/02/2020                                                            $0.20                             $2,619.43
             56552955 032503
             XX1486 DDA WITHDRAWAL NAMA, KVATERNIKOV T
11/02/2020                                                         $385.46                              $2,233.97
             ZAGREB HR PBZA0780 436109
             VISA ISA Fee NAMA, KVATERNIKOV T ZAGREB HR
11/02/2020                                                            $3.89                             $2,230.08
             PBZA0780 436109
             XX1486 RECUR POS UBER PASS HELP.U 800-5928996
11/06/2020                                                           $24.99                             $2,205.09
             CA 00000000 003872
             XX1486 POS PURCHASE KONZUM P-3200 ZAGREB HR
11/09/2020                                                           $41.61                             $2,163.48
             KZ320004 076000
             XX1486 POS PURCHASE PBZTHOTELDUGARES DUGA
11/09/2020                                                           $38.86                             $2,124.62
             RESA HR 12978079 031821
             XX1486 POS PURCHASE PBZ6SUBMARINE ZAGREB HR
11/09/2020                                                           $27.69                             $2,096.93
             12959801 038573
             XX1486 POS PURCHASE Z-EL ZAGREB VUK ZAGREB HR
11/09/2020                                                           $21.24                             $2,075.69
             30275453 025681
11/09/2020   VISA ISA Fee KONZUM P-3200 ZAGREB HR KZ320004            $0.42                             $2,075.27




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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                             Debits           Credits             Balance
             076000
             VISA ISA Fee PBZTHOTELDUGARES DUGA RESA HR
11/09/2020                                                            $0.39                             $2,074.88
             12978079 031821
             VISA ISA Fee PBZ6SUBMARINE ZAGREB HR 12959801
11/09/2020                                                            $0.28                             $2,074.60
             038573
             VISA ISA Fee Z-EL ZAGREB VUK ZAGREB HR 30275453
11/09/2020                                                            $0.21                             $2,074.39
             025681
             XX1486 RECUR POS VZWRLSS* BILL PAY 800-9220204
11/10/2020                                                          $316.70                             $1,757.69
             CA 36711802 095958
             XX1486 RECUR POS VERIZON* ONETIMEP
11/10/2020                                                          $229.11                             $1,528.58
             VERIZON.COM FL 00000000 050238
             XX1486 POS PURCHASE AGENT FEE 8900 ALPINE TVL &
11/10/2020                                                           $30.00                             $1,498.58
             TX 45514722 025654
             XX1486 POS PURCHASE KONZUM P-0222 ZAGREB HR
11/10/2020                                                           $23.68                             $1,474.90
             KZ022205 059000
             VISA ISA Fee KONZUM P-0222 ZAGREB HR KZ022205
11/10/2020                                                            $0.24                             $1,474.66
             059000
             XX1486 POS PURCHASE PBZTINA ZAGREB HR 73110556
11/12/2020                                                           $48.06                             $1,426.60
             064243
             XX1486 POS PURCHASE AMISH MARKET 212-3701761
11/12/2020                                                           $47.24                             $1,379.36
             NY 76158771 084727
             XX1486 POS PURCHASE ADFS VELIKA GORIC HR
11/12/2020                                                           $37.79                             $1,341.57
             50052555 700000
11/12/2020   VISA ISA Fee PBZTINA ZAGREB HR 73110556 064243           $0.48                             $1,341.09
11/12/2020   VISA ISA Fee ADFS VELIKA GORIC HR 50052555 700000        $0.38                             $1,340.71
             XX1486 POS DDA W/D AMISH MARKET NEW YORK NY
11/13/2020                                                           $59.48                             $1,281.23
             00010004 804200
             XX1486 POS PURCHASE THE SEA FIRE GRI NEW YORK
11/16/2020                                                          $257.02                             $1,024.21
             NY 02560068 060080
             XX1486 POS DDA W/D AMISH MARKET NEW YORK NY
11/16/2020                                                           $43.93                               $980.28
             00010004 067936
             XX1486 POS DDA W/D AMISH MARKET NEW YORK NY
11/18/2020                                                           $41.10                               $939.18
             00010003 232058
             XX1486 POS DDA W/D MORTON WILLIAMS NEW YORK
11/18/2020                                                           $23.27                               $915.91
             NY 57937101 504154
             XX1486 POS PURCHASE NYC TAXI 1246 12 LONG
11/19/2020                                                           $12.30                               $903.61
             ISLAND C NY 467 011719
             XX1486 POS DDA W/D AMAZON.COM* 2E7DU SEATTLE
11/20/2020                                                           $73.35                               $830.26
             WA 00000101 7JTN2PIY0LUQ
             XX1486 POS DDA W/D AMAZON.COM* 1J8YF SEATTLE
11/20/2020                                                           $32.65                               $797.61
             WA 00000101 4BRINKE3BLSY
             XX1486 POS PURCHASE SP * FORYOUPAGED
11/23/2020                                                           $82.66                               $714.95
             MISSISSAUGA ON Z0NVZBMG 074435
             XX1486 POS DDA W/D AMISH MARKET NEW YORK NY
11/23/2020                                                           $51.69                               $663.26
             00010001 489850
             XX1486 POS PURCHASE FORMSWIFT.COM/CH
11/23/2020                                                           $19.95                               $643.31
             888-311-2977 CA 00000000 028785
             VISA ISA Fee SP * FORYOUPAGED MISSISSAUGA ON
11/23/2020                                                            $0.83                               $642.48
             Z0NVZBMG 074435
             XX1486 POS PURCHASE ENVISION INSURAN
11/24/2020                                                           $95.90                               $546.58
             TWINSBURG OH 00000000 073606
             XX1486 POS PURCHASE STARLINK HONG KONG HK
11/24/2020                                                           $59.99                               $486.59
             WPGTID01 019411
             VISA ISA Fee STARLINK HONG KONG HK WPGTID01
11/24/2020                                                            $0.60                               $485.99
             019411
11/25/2020   MOBILE CAPTURE DEPOSIT                                                 $2,732.56           $3,218.55
             XX1486 POS DDA W/D AMISH MARKET NEW YORK NY
11/25/2020                                                           $54.66                             $3,163.89
             00010002 843102



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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date     Description                                                 Debits                Credits            Balance
11/30/2020    SERVICE CHARGE                                               $9.00                                 $3,154.89
11/30/2020    Ending Balance                                                                                     $3,154.89

Daily Balances
Date                           Amount     Date                        Amount       Date                            Amount
11/02/2020                    $2,230.08   11/13/2020                 $1,281.23     11/23/2020                      $642.48
11/06/2020                    $2,205.09   11/16/2020                   $980.28     11/24/2020                      $485.99
11/09/2020                    $2,074.39   11/18/2020                   $915.91     11/25/2020                     $3,163.89
11/10/2020                    $1,474.66   11/19/2020                   $903.61     11/30/2020                     $3,154.89
11/12/2020                    $1,340.71   11/20/2020                   $797.61


Overdraft and Returned Item Fees
                                                          Total for this period                      Total year-to-date
   Total Overdraft Fees                                                   $0.00                                   $0.00
   Total Returned Item Fees                                               $0.00                                   $0.00


Service Charge Summary
   Description                                                                                                 Amount
   TOTAL CHARGE FOR TOTAL ITEMS:                                                                                  $9.00
   Total Service Charge                                                                                           $9.00




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    4 Bryant Park
    3rd Floor
    New York, NY 10018
    RETURN SERVICE REQUESTED                                    Managing Your Accounts
                                                                      Officer Name     Steve LaFredo

    AARON ETRA ESQ                                                    Office Number    212-266-9200
    445 PARK AVE FL 9
                                                                                       Mon - Fri
    NEW YORK NY 10022-8606                                            Banking Hours
                                                                                       8:30am - 4:30pm EST
                                                                      Online Banking   www.piermontbank.com




 Summary of Accounts
 Account Type                                                 Account Number                         Ending Balance
 CLASSIC BUSINESS CHECKING                                              2060                              $22,622.13


CLASSIC BUSINESS CHECKING-2060
Account Summary
Date         Description                           Amount       Description                                  Amount
12/01/2020   Beginning Balance                    $3,154.89     Average Available Balance                   $9,320.56
             3 Credit(s) This Period             $25,089.37
             58 Debit(s) This Period              $5,622.13
12/31/2020   Ending Balance                      $22,622.13
             Service Charges                         $18.50

Account Activity
Post Date    Description                                               Debits           Credits               Balance
12/01/2020   Beginning Balance                                                                              $3,154.89
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
12/03/2020                                                             $70.51                               $3,084.38
             00010003 532179
             XX1767 POS PURCHASE SILVER BIOTICS 801-7561000
12/04/2020                                                             $97.90                               $2,986.48
             UT 71004114 023954
             XX1767 POS DDA RETURN SILVER BIOTICS 801-7561000
12/07/2020                                                                                  $29.38          $3,015.86
             UT 71004114 030118
             XX1767 POS PURCHASE LUFTHANSA 2207 ROCKWALL
12/07/2020                                                          $1,450.55                               $1,565.31
             TX NY 00000000 082029
             XX1767 POS DDA W/D BATH AND BODY WO NEW YORK
12/07/2020                                                           $121.40                                $1,443.91
             NY 43895501 794174
             XX1767 POS PURCHASE LITTLE THAI KITC NEW YORK
12/07/2020                                                             $63.18                               $1,380.73
             NY 70000000 010006
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
12/07/2020                                                             $51.79                               $1,328.94
             00010001 712417
             XX1767 POS PURCHASE LUFTHANSA 2201 NEW YORK
12/07/2020                                                             $50.00                               $1,278.94
             NY 00000000 040015
             XX1767 POS PURCHASE LUFTHANSA 2201 NEW YORK
12/07/2020                                                             $50.00                               $1,228.94
             NY 00000000 040014
             XX1767 POS PURCHASE AGENT FEE 8900 ALPINE TVL &
12/07/2020                                                             $30.00                               $1,198.94
             TX 45514722 031938
             XX1767 POS PURCHASE TURTLE BAY DRY C NEW YORK
12/07/2020                                                             $15.00                               $1,183.94
             NY 00000000 065103
12/07/2020   XX1767 POS PURCHASE CVS/PHARMACY #10 NEW                   $8.67                               $1,175.27




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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                            Debits          Credits              Balance
             YORK NY 00000000 012457
             XX1767 POS PURCHASE SHOPSMARTER.COM
12/07/2020                                                           $1.97                             $1,173.30
             800-2556355 CT 00000007 056383
             XX1767 POS PURCHASE SP * FORYOUPAGED
12/08/2020                                                          $66.30                             $1,107.00
             MISSISSAUGA ON Z0NVZBMG 080712
             XX1767 POS PURCHASE SP * FORYOUPAGED
12/08/2020                                                          $60.90                             $1,046.10
             MISSISSAUGA ON Z0NVZBMG 074819
             XX1767 POS PURCHASE STEP DOWN TO NAT NEW
12/08/2020                                                          $59.67                               $986.43
             YORK NY 5 006515
             XX1767 POS PURCHASE VIT* VITAMIN SHOP
12/08/2020                                                          $57.98                               $928.45
             800-223-1216 NJ 00000000 033708
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
12/08/2020                                                          $30.90                               $897.55
             00010001 961187
             VISA ISA Fee SP * FORYOUPAGED MISSISSAUGA ON
12/08/2020                                                           $0.66                               $896.89
             Z0NVZBMG 080712
             VISA ISA Fee SP * FORYOUPAGED MISSISSAUGA ON
12/08/2020                                                           $0.61                               $896.28
             Z0NVZBMG 074819
             XX1767 POS PURCHASE JOSABANK CLOTHIE
12/09/2020                                                          $83.60                               $812.68
             800-851-6744 MD 1 014220
             XX1767 POS PURCHASE STAPLES DIRECT 800-3333330
12/09/2020                                                          $68.58                               $744.10
             MA 00000000 088768
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
12/09/2020                                                          $35.51                               $708.59
             00010002 121639
             XX1767 POS PURCHASE MACYS .COM 800-289-6229 OH
12/09/2020                                                          $34.84                               $673.75
             09801386 001386
             XX1767 POS PURCHASE DECKERS* TEVA FOO
12/10/2020                                                         $174.99                               $498.76
             800-367-8382 CA 00000000 007341
             XX1767 POS PURCHASE TURTLE BAY DRY C NEW YORK
12/10/2020                                                          $39.00                               $459.76
             NY 00000000 005388
             XX1486 POS DDA RETURN STARLINK HONG KONG HK
12/11/2020                                                                           $59.99              $519.75
             00000000 025946
             XX1767 POS PURCHASE VERIZON WRL MY A
12/11/2020                                                         $243.00                               $276.75
             800-9220204 CA 36707878 098145
             XX1767 POS PURCHASE ACCO Brands Dire 800-5655396
12/14/2020                                                          $41.96                               $234.79
             IL 00000007 050412
             XX1767 POS PURCHASE SHOPSMARTER.COM
12/14/2020                                                           $9.97                               $224.82
             800-2556355 CT 00000007 056086
             XX1767 POS PURCHASE WEILL CORNELL PO
12/16/2020                                                          $11.79                               $213.03
             212-590-5152 NY 00000000 065402
             XX1767 POS PURCHASE GOOGLE * Google S Mountain
12/18/2020                                                          $29.99                               $183.04
             View CA 64923881 1217081
             XX1767 POS PURCHASE TAXI SVC LONG IS LONG
12/18/2020                                                          $11.76                               $171.28
             ISLAND C NY 00358682 082607
             XX1767 POS PURCHASE TAXI SVC LONG IS LONG
12/18/2020                                                          $11.76                               $159.52
             ISLAND C NY 00375926 026335
             Incoming Wire 44466586 NHAT M NGUYEN#MAI-HUE
12/21/2020                                                                       $25,000.00           $25,159.52
             TRAN
12/21/2020   Incoming Wire Fee 44466586                             $15.00                            $25,144.52
             XX1767 POS PURCHASE UBER TRIP HELP.UBER.COM
12/22/2020                                                          $90.92                            $25,053.60
             CA 00000000 013829
             XX1767 POS PURCHASE UBER TRIP HELP.UBER.COM
12/22/2020                                                          $51.36                            $25,002.24
             CA 00000000 035057
             XX1767 POS PURCHASE UBER TRIP HELP.UBER.COM
12/23/2020                                                          $94.54                            $24,907.70
             CA 00000000 035640
             XX1767 POS PURCHASE STEP DOWN TO NAT NEW
12/23/2020                                                          $88.56                            $24,819.14
             YORK NY 5 055242
             XX1767 POS PURCHASE BASICSON84_3 NEW YORK
12/23/2020                                                          $10.88                            $24,808.26
             CITY NY 75428338 094744
12/23/2020   XX1767 DDA WITHDRAWAL NAMA, KVATERNIKOV T             $403.65                            $24,404.61


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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date     Description                                                     Debits                Credits            Balance
              ZAGREB HR PBZA0780 726543
              VISA ISA Fee NAMA, KVATERNIKOV T ZAGREB HR
12/23/2020                                                                     $4.08                                $24,400.53
              PBZA0780 726543
              XX1767 POS PURCHASE Senses of Austri Flughafen Wie
12/24/2020                                                                     $8.54                                $24,391.99
              AT AH121704 049166
              VISA ISA Fee Senses of Austri Flughafen Wie AT AH121704
12/24/2020                                                                     $0.09                                $24,391.90
              049166
              XX1767 RECUR POS DNH* GODADDY.COM 480-5058855
12/28/2020                                                                   $138.81                                $24,253.09
              AZ 29283001 098130
              XX1767 POS PURCHASE KONZUM P-0222 ZAGREB HR
12/28/2020                                                                   $133.91                                $24,119.18
              KZ022211 066000
              XX1767 POS PURCHASE SHE* SHEPLERS INC
12/28/2020                                                                    $89.97                                $24,029.21
              800-833-7007 CA 00000000 025228
              XX1767 POS PURCHASE BRAINPICKINGS.OR
12/28/2020                                                                    $18.00                                $24,011.21
              2034417585 NY 00000000 018129
              VISA ISA Fee KONZUM P-0222 ZAGREB HR KZ022211
12/28/2020                                                                     $1.34                                $24,009.87
              066000
              XX1767 POS PURCHASE VERIZON* ONETIMEP
12/29/2020                                                                   $428.60                                $23,581.27
              VERIZON.COM FL 00000000 083027
              XX1767 POS PURCHASE PET NETWORK ZAGREB HR
12/29/2020                                                                    $46.12                                $23,535.15
              RB030152 070166
              VISA ISA Fee PET NETWORK ZAGREB HR RB030152
12/29/2020                                                                     $0.46                                $23,534.69
              070166
              XX1767 POS PURCHASE UNITED CORP SERV
12/30/2020                                                                   $284.00                                $23,250.69
              914-949-9188 NY 51017181 017181
              XX1767 DDA WITHDRAWAL UL GRADA VUKOVARA 2
12/30/2020                                                                   $350.96                                $22,899.73
              ZAGREB HR 12087 123231
              VISA ISA Fee UL GRADA VUKOVARA 2 ZAGREB HR
12/30/2020                                                                     $3.55                                $22,896.18
              12087 123231
              XX1767 POS PURCHASE VRUTAK DOO ZAGREB HR
12/31/2020                                                                   $180.63                                $22,715.55
              50039018 031000
              XX1767 POS PURCHASE KONZUM P-0222 ZAGREB HR
12/31/2020                                                                    $72.39                                $22,643.16
              KZ022212 037000
              VISA ISA Fee VRUTAK DOO ZAGREB HR 50039018
12/31/2020                                                                     $1.81                                $22,641.35
              031000
              VISA ISA Fee KONZUM P-0222 ZAGREB HR KZ022212
12/31/2020                                                                     $0.72                                $22,640.63
              037000
12/31/2020    SERVICE CHARGE                                                  $18.50                                $22,622.13
12/31/2020    Ending Balance                                                                                        $22,622.13

Daily Balances
Date                           Amount     Date                            Amount       Date                            Amount
12/03/2020                    $3,084.38   12/11/2020                       $276.75     12/23/2020                    $24,400.53
12/04/2020                    $2,986.48   12/14/2020                       $224.82     12/24/2020                    $24,391.90
12/07/2020                    $1,173.30   12/16/2020                       $213.03     12/28/2020                    $24,009.87
12/08/2020                      $896.28   12/18/2020                       $159.52     12/29/2020                    $23,534.69
12/09/2020                      $673.75   12/21/2020                    $25,144.52     12/30/2020                    $22,896.18
12/10/2020                      $459.76   12/22/2020                    $25,002.24     12/31/2020                    $22,622.13


Overdraft and Returned Item Fees
                                                            Total for this period                        Total year-to-date
   Total Overdraft Fees                                                       $0.00                                   $0.00
   Total Returned Item Fees                                                   $0.00                                   $0.00




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CLASSIC BUSINESS CHECKING-2060 (continued)
Service Charge Summary
   Description                                                                                  Amount
  TOTAL CHARGE FOR TOTAL ITEMS:                                                                   $18.50
  Total Service Charge                                                                            $18.50




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                                                                                                       Page 1 of 4
    4 Bryant Park
    3rd Floor
    New York, NY 10018
    RETURN SERVICE REQUESTED                                    Managing Your Accounts
                                                                     Officer Name     Steve LaFredo

    AARON ETRA ESQ                                                   Office Number    212-266-9200
    445 PARK AVE FL 9
                                                                                      Mon - Fri
    NEW YORK NY 10022-8606                                           Banking Hours
                                                                                      8:30am - 4:30pm EST
                                                                     Online Banking   www.piermontbank.com




 Summary of Accounts
 Account Type                                                 Account Number                      Ending Balance
 CLASSIC BUSINESS CHECKING                                              2060                           $16,838.59


CLASSIC BUSINESS CHECKING-2060
Account Summary
Date         Description                           Amount      Description                                Amount
01/01/2021   Beginning Balance                   $22,622.13    Average Available Balance                $20,057.70
             0 Credit(s) This Period                  $0.00
             58 Debit(s) This Period              $5,783.54
01/29/2021   Ending Balance                      $16,838.59
             Service Charges                         $16.00

Account Activity
Post Date    Description                                              Debits           Credits              Balance
01/01/2021   Beginning Balance                                                                          $22,622.13
             XX1767 RECUR POS VERIZONWRLSS* RTC 800-922-0204
01/08/2021                                                          $301.10                             $22,321.03
             FL 00000000 034904
             XX1767 POS PURCHASE KONZUM P-0222 ZAGREB HR
01/11/2021                                                          $104.01                             $22,217.02
             KZ022211 056000
             XX1767 POS PURCHASE NYC BAR 2123826663 NY
01/11/2021                                                            $98.75                            $22,118.27
             00000000 057355
             VISA ISA Fee KONZUM P-0222 ZAGREB HR KZ022211
01/11/2021                                                             $1.04                            $22,117.23
             056000
             XX1767 DDA WITHDRAWAL UL GRADA VUKOVARA 2
01/11/2021                                                          $524.37                             $21,592.86
             ZAGREB HR 12087 176451
             VISA ISA Fee UL GRADA VUKOVARA 2 ZAGREB HR
01/11/2021                                                             $5.28                            $21,587.58
             12087 176451
             XX1767 POS PURCHASE UBER TRIP HELP.UBER.COM
01/12/2021                                                            $94.42                            $21,493.16
             CA 00000000 091606
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
01/12/2021                                                            $64.41                            $21,428.75
             00010004 996761
             XX1767 POS PURCHASE PBZTINA ZAGREB HR 73110556
01/12/2021                                                            $48.16                            $21,380.59
             047837
             XX1767 POS PURCHASE ADFS VELIKA GORIC HR
01/12/2021                                                            $28.26                            $21,352.33
             50052556 080000
             XX1767 RECUR POS SHOPSMARTER.COM 800-2556355
01/12/2021                                                             $9.97                            $21,342.36
             CT 00001000 014284
01/12/2021   XX1767 POS PURCHASE CAFFE NERO DEPAR VELIKA               $9.67                            $21,332.69




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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                              Debits           Credits              Balance
             GORIC HR 72107655 044000
             XX1767 POS PURCHASE SELECTA Fraport Frankfurt DE
01/12/2021                                                             $3.67                             $21,329.02
             51502168 084339
             XX1767 POS PURCHASE SELECTA Fraport Frankfurt DE
01/12/2021                                                             $3.67                             $21,325.35
             51502168 084338
01/12/2021   VISA ISA Fee PBZTINA ZAGREB HR 73110556 047837            $0.48                             $21,324.87
01/12/2021   VISA ISA Fee ADFS VELIKA GORIC HR 50052556 080000         $0.28                             $21,324.59
             VISA ISA Fee CAFFE NERO DEPAR VELIKA GORIC HR
01/12/2021                                                             $0.10                             $21,324.49
             72107655 044000
             VISA ISA Fee SELECTA Fraport Frankfurt DE 51502168
01/12/2021                                                             $0.04                             $21,324.45
             084339
             VISA ISA Fee SELECTA Fraport Frankfurt DE 51502168
01/12/2021                                                             $0.04                             $21,324.41
             084338
             XX1767 POS PURCHASE AMISH MARKET 212-3701761
01/13/2021                                                            $39.84                             $21,284.57
             NY 76158771 004154
             XX1767 POS PURCHASE EMPIRE BLUE MED
01/14/2021                                                          $1,153.32                            $20,131.25
             844-395-1026 IN 00000000 041892
             XX1767 POS PURCHASE NEW YORK PRESBYT
01/15/2021                                                           $177.50                             $19,953.75
             866-252-0101 NY 00000000 056996
             XX1767 POS PURCHASE WEILL CORNELL PO NEW
01/15/2021                                                           $153.29                             $19,800.46
             YORK NY 00000000 021521
             XX1767 POS PURCHASE WCINYP-WCC 214-7466000 NY
01/15/2021                                                            $53.01                             $19,747.45
             77262359 060086
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
01/15/2021                                                            $37.41                             $19,710.04
             00010001 250486
             XX1767 POS PURCHASE SP * TIKTOCSHOP
01/15/2021                                                            $26.78                             $19,683.26
             HTTPSTIKTOCSH GA 4DCIRQ8Q 050268
             XX1767 POS DDA W/D U.N. OPTICAL LLC NEW YORK NY
01/19/2021                                                           $762.00                             $18,921.26
             00000808 101812000040
             XX1767 POS PURCHASE GLORIA WAN HAIR NEW YORK
01/19/2021                                                           $100.00                             $18,821.26
             NY 00000000 085257
             XX1767 POS PURCHASE TST* NERAI NEW YORK NY
01/19/2021                                                            $86.93                             $18,734.33
             48942665 042665
             XX1767 POS PURCHASE STAPLES DIRECT 800-3333330
01/19/2021                                                            $81.65                             $18,652.68
             MA 00000000 028192
             XX1767 POS PURCHASE THE TIKVAH FUND
01/19/2021                                                            $50.00                             $18,602.68
             WWW.TIKVAHFUN NY 2TBS5NCO 032789
             XX1767 POS PURCHASE SCOTT WEISSMAN M NEW
01/19/2021                                                            $50.00                             $18,552.68
             YORK NY 00000000 008358
             XX1767 POS PURCHASE UBER TRIP HELP.UBER.COM
01/19/2021                                                            $38.27                             $18,514.41
             CA 00000000 055647
             XX1767 POS PURCHASE UBER TRIP HELP.UBER.COM
01/19/2021                                                            $37.96                             $18,476.45
             CA 00000000 089475
             XX1767 POS DDA W/D AMAZON.COM* JS57F SEATTLE
01/19/2021                                                            $33.73                             $18,442.72
             WA 00000101 65ZXJHBUF5M3
             XX1767 POS DDA W/D MORTON WILLIAMS NEW YORK
01/19/2021                                                            $24.10                             $18,418.62
             NY 57937101 126001
             XX1767 POS PURCHASE TAXI SVC LONG IS ASTORIA NY
01/19/2021                                                             $9.36                             $18,409.26
             00094352 020866
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
01/20/2021                                                            $99.89                             $18,309.37
             NY 00000000 077486
             XX1767 POS PURCHASE LITTLE THAI KITC 212-6445353
01/20/2021                                                            $43.11                             $18,266.26
             NY 70000000 030014
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
01/20/2021                                                            $33.55                             $18,232.71
             00010002 676206
             XX1767 POS PURCHASE MTA* MNR ETIX TIC
01/20/2021                                                            $13.50                             $18,219.21
             877-690-5116 NY 00000000 073279
             XX1767 POS PURCHASE JOSABANK CLOTHIE
01/22/2021                                                           $372.54                             $17,846.67
             800-851-6744 MD 1 074781


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Account Activity (continued)
Post Date     Description                                                       Debits                Credits            Balance
              XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
01/22/2021                                                                      $73.96                                $17,772.71
              00010004 859283
              XX1767 POS PURCHASE VIT* VITAMIN SHOP
01/22/2021                                                                      $73.92                                $17,698.79
              800-223-1216 NJ 00000000 096560
              XX1767 POS PURCHASE JOSABANK CLOTHIE
01/25/2021                                                                      $57.00                                $17,641.79
              800-851-6744 MD 1 070553
              XX1767 POS PURCHASE LITTLE THAI KITC NEW YORK
01/25/2021                                                                      $47.83                                $17,593.96
              NY 70000000 080013
              XX1767 POS PURCHASE UBER TRIP HELP.UBER.COM
01/25/2021                                                                      $40.94                                $17,553.02
              CA 00000000 046849
              XX1767 POS PURCHASE UBER TRIP HELP.UBER.COM
01/25/2021                                                                      $35.52                                $17,517.50
              CA 00000000 006578
              XX1767 POS PURCHASE TAXI SVC LONG IS ASTORIA NY
01/25/2021                                                                      $11.76                                $17,505.74
              00094352 020813
              XX1767 DDA WITHDRAWAL 757 3 RD AVE MANHATTAN
01/25/2021                                                                     $100.00                                $17,405.74
              NY VC080654 001448
              XX1767 POS PURCHASE HAPPYPURIMCOM 201-4778746
01/26/2021                                                                     $150.00                                $17,255.74
              NJ 90267724 015000
              XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
01/26/2021                                                                      $41.45                                $17,214.29
              00010001 191781
              XX1767 POS PURCHASE JOSABANK CLOTHIE
01/27/2021                                                                      $89.00                                $17,125.29
              800-851-6744 MD 1 085199
              XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
01/27/2021                                                                      $62.93                                $17,062.36
              NY 00000000 054460
              XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
01/27/2021                                                                      $41.04                                $17,021.32
              00010003 361757
              XX1767 POS PURCHASE JOSABANK CLOTHIE
01/28/2021                                                                     $154.97                                $16,866.35
              800-851-6744 MD 1 093557
              XX1767 POS PURCHASE CURB SVC LONG IS LONG
01/28/2021                                                                      $11.76                                $16,854.59
              ISLAND C NY 07192431 008880
01/29/2021    SERVICE CHARGE                                                    $16.00                                $16,838.59
01/29/2021    Ending Balance                                                                                          $16,838.59

Daily Balances
Date                            Amount      Date                            Amount       Date                            Amount
01/08/2021                    $22,321.03    01/15/2021                    $19,683.26     01/26/2021                    $17,214.29
01/11/2021                    $21,587.58    01/19/2021                    $18,409.26     01/27/2021                    $17,021.32
01/12/2021                    $21,324.41    01/20/2021                    $18,219.21     01/28/2021                    $16,854.59
01/13/2021                    $21,284.57    01/22/2021                    $17,698.79     01/29/2021                    $16,838.59
01/14/2021                    $20,131.25    01/25/2021                    $17,405.74


Overdraft and Returned Item Fees
                                           Total for this period      Total year-to-date               Previous year-to-date
   Total Overdraft Fees                                   $0.00                          $0.00                          $0.00

   Total Returned Item Fees                               $0.00                          $0.00                          $0.00


Service Charge Summary
   Description                                                                                                       Amount
   TOTAL CHARGE FOR TOTAL ITEMS:                                                                                       $16.00
   Total Service Charge                                                                                                $16.00




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    4 Bryant Park
    3rd Floor
    New York, NY 10018
    RETURN SERVICE REQUESTED                                   Managing Your Accounts
                                                                    Officer Name     Steve LaFredo

    AARON ETRA ESQ                                                  Office Number    212-266-9200
    445 PARK AVE FL 9
                                                                                     Mon - Fri
    NEW YORK NY 10022-8606                                          Banking Hours
                                                                                     8:30am - 4:30pm EST
                                                                    Online Banking   www.piermontbank.com




 Summary of Accounts
 Account Type                                                Account Number                      Ending Balance
 CLASSIC BUSINESS CHECKING                                             2060                           $11,461.39


CLASSIC BUSINESS CHECKING-2060
Account Summary
Date         Description                          Amount      Description                                Amount
01/30/2021   Beginning Balance                  $16,838.59    Average Available Balance                $14,279.19
             0 Credit(s) This Period                 $0.00
             62 Debit(s) This Period             $5,377.20
02/26/2021   Ending Balance                     $11,461.39
             Service Charges                        $18.00

Account Activity
Post Date    Description                                             Debits           Credits              Balance
01/30/2021   Beginning Balance                                                                         $16,838.59
             XX1767 POS PURCHASE STEP DOWN TO NAT NEW
02/01/2021                                                         $133.09                             $16,705.50
             YORK NY 4 054111
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
02/01/2021                                                           $57.83                            $16,647.67
             00010003 617862
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
02/01/2021                                                           $55.92                            $16,591.75
             00010003 706543
             XX1767 POS PURCHASE TURTLE BAY DRY C NEW YORK
02/01/2021                                                           $48.00                            $16,543.75
             NY 00000000 087126
             XX1767 POS PURCHASE TURTLE BAY LIQUO NEW YORK
02/01/2021                                                           $17.45                            $16,526.30
             NY 02049319 002273
             XX1767 DDA WITHDRAWAL 757 3 RD AVE MANHATTAN
02/01/2021                                                           $80.00                            $16,446.30
             NY VC080654 001587
             XX1767 POS PURCHASE SEAMLSSSAHARASTU
02/02/2021                                                           $54.00                            $16,392.30
             SEAMLESS.COM NY 00000000 051048
             XX1767 POS PURCHASE SKYPE.COM/GO/BIL
02/02/2021                                                           $25.00                            $16,367.30
             Luxembourg LU 00000000 085585
             VISA ISA Fee SKYPE.COM/GO/BIL Luxembourg LU
02/02/2021                                                            $0.25                            $16,367.05
             00000000 085585
             XX1767 RECUR POS VZWRLSS* BILL PAY 800-9220204
02/03/2021                                                         $322.05                             $16,045.00
             CA 36711802 085665
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
02/03/2021                                                           $99.89                            $15,945.11
             NY 00000000 054881
02/03/2021   XX1767 POS DDA W/D Duane Reade STO NEW YORK NY           $7.27                            $15,937.84




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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                           Debits          Credits              Balance
             99999999 900213
             XX1767 POS PURCHASE DOCUSIGN 866-219-4318 WA
02/04/2021                                                        $104.52                            $15,833.32
             0001 033475
             XX1767 POS PURCHASE MOSAIC, JEWISH T
02/04/2021                                                         $30.00                            $15,803.32
             HTTPSMOSAICMA NY 00000000 064705
             XX1767 POS DDA W/D REMI FLOWER & CO NEW YORK
02/04/2021                                                          $4.36                            $15,798.96
             NY 02288871 103533001179
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
02/05/2021                                                         $60.41                            $15,738.55
             00010002 054783
             XX1767 POS PURCHASE SEAMLSSLOSTACOSN
02/05/2021                                                         $25.00                            $15,713.55
             SEAMLESS.COM NY 00000000 098016
             XX1767 DDA WITHDRAWAL 711 Third Avenue New York
02/05/2021                                                        $100.00                            $15,613.55
             NY N677 389417
             XX1767 RECUR POS VZWRLSS* BILL PAY 800-922-0204
02/08/2021                                                        $311.48                            $15,302.07
             FL 00000000 000094
             XX1767 POS PURCHASE DECKERS* TEVA FOO
02/08/2021                                                         $89.99                            $15,212.08
             800-367-8382 CA 00000000 080231
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
02/08/2021                                                         $49.08                            $15,163.00
             00010002 242616
             XX1767 POS PURCHASE GROUPON INC GROUPON.COM
02/08/2021                                                         $29.98                            $15,133.02
             IL 00000000 029526
             XX1767 POS DDA W/D TURTLE BAY LIQUO NEW YORK
02/08/2021                                                         $19.63                            $15,113.39
             NY 94488824 003136
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
02/08/2021                                                         $15.00                            $15,098.39
             99999999 817177
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
02/10/2021                                                         $62.93                            $15,035.46
             NY 00000000 023321
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
02/10/2021                                                         $61.05                            $14,974.41
             00010001 491962
             XX1767 POS PURCHASE SOUVLAKI G* SOUV
02/11/2021                                                         $35.15                            $14,939.26
             STRIPE.COM NY 00000000 015521
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
02/11/2021                                                         $31.12                            $14,908.14
             00010003 576352
             XX1767 POS PURCHASE FACTOR75.COM
02/11/2021                                                         $30.00                            $14,878.14
             HTTPSWWW.FACT IL 00000000 071760
             XX1767 RECUR POS SHOPSMARTER.COM 800-2556355
02/11/2021                                                          $9.97                            $14,868.17
             CT 00001000 019505
             XX1767 POS DDA W/D REMI FLOWER & CO NEW YORK
02/12/2021                                                         $10.45                            $14,857.72
             NY 02288871 104328002668
             XX1767 POS PURCHASE MIDTOWN HARDWARE NEW
02/12/2021                                                          $7.61                            $14,850.11
             YORK NY 03063764 000006
             XX1767 RECUR POS VERIZON* ONETIMEP
02/16/2021                                                        $458.68                            $14,391.43
             VERIZON.COM FL 00000000 029264
             XX1767 POS PURCHASE UNITE FOR SIGHT STRIPE.COM
02/16/2021                                                        $205.00                            $14,186.43
             CT 00000000 080024
             XX1767 POS PURCHASE SILVER BIOTICS 801-7561000
02/16/2021                                                         $57.95                            $14,128.48
             UT 71004114 033567
             XX1767 POS PURCHASE UBER TRIP HELP.UBER.COM
02/16/2021                                                         $40.41                            $14,088.07
             CA 00000000 077593
             XX1767 POS PURCHASE UBER TRIP HELP.UBER.COM
02/16/2021                                                         $36.25                            $14,051.82
             CA 00000000 091345
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
02/16/2021                                                         $27.41                            $14,024.41
             00010002 824120
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
02/16/2021                                                         $27.29                            $13,997.12
             00010003 000387
             XX1767 POS PURCHASE STEP DOWN TO NAT NEW
02/16/2021                                                         $23.94                            $13,973.18
             YORK NY 5 051804
             XX1767 POS PURCHASE WEILL CORNELL PO NEW
02/16/2021                                                         $20.00                            $13,953.18
             YORK NY 00000000 012339


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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                                 Debits                Credits            Balance
             XX1767 POS PURCHASE MIDTOWN HARDWARE NEW
02/16/2021                                                               $11.97                                $13,941.21
             YORK NY 03063764 000039
             XX1767 POS PURCHASE UBER TRIP HELP.UBER.COM
02/16/2021                                                                $7.37                                $13,933.84
             CA 00000000 010484
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
02/17/2021                                                               $62.93                                $13,870.91
             NY 00000000 058977
             XX1767 POS PURCHASE STAPLES DIRECT 800-3333330
02/17/2021                                                               $43.54                                $13,827.37
             MA 00000000 056999
             XX1767 POS PURCHASE RMG* REGUS 972-340-2021 TX
02/18/2021                                                              $995.00                                $12,832.37
             00000000 027945
             XX1767 POS PURCHASE RMG* REGUS 972-340-2021 TX
02/18/2021                                                              $370.00                                $12,462.37
             00000000 027942
             XX1767 POS DDA W/D MORTON WILLIAMS NEW YORK
02/18/2021                                                               $40.97                                $12,421.40
             NY 57937101 363937
             XX1767 RECUR POS FACTOR75.COM HTTPSWWW.FACT
02/18/2021                                                               $30.00                                $12,391.40
             IL 00000000 084247
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
02/18/2021                                                               $20.88                                $12,370.52
             00010003 182219
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
02/19/2021                                                               $94.55                                $12,275.97
             99999999 638981
             XX1767 POS PURCHASE SP * GRIP6 BELTS
02/19/2021                                                               $70.00                                $12,205.97
             GRIP6.MYSHOPI UT 00000000 095964
             XX1767 POS PURCHASE CHATEAU 49 917-2616022 NY
02/22/2021                                                               $44.01                                $12,161.96
             79330133 020186
             XX1767 POS PURCHASE SQ * EMACK & BOLI NEW YORK
02/22/2021                                                                $8.35                                $12,153.61
             NY 00000000 064075
             XX1767 POS PURCHASE ACARIAHEALTH PHA
02/23/2021                                                              $396.45                                $11,757.16
             407-9035201 FL 41498999 051597
             XX1767 POS PURCHASE CURB SVC LONG IS LONG
02/23/2021                                                               $12.36                                $11,744.80
             ISLAND C NY 07192431 092166
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
02/24/2021                                                               $97.03                                $11,647.77
             99999999 746045
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
02/24/2021                                                               $31.23                                $11,616.54
             00010004 709674
             XX1767 RECUR POS FACTOR75.COM HTTPSWWW.FACT
02/25/2021                                                               $30.00                                $11,586.54
             IL 00000000 033318
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
02/25/2021                                                               $20.84                                $11,565.70
             00010002 797559
             XX1767 POS PURCHASE STEP DOWN TO NAT NEW
02/26/2021                                                               $86.31                                $11,479.39
             YORK NY 5 051810
02/26/2021   SERVICE CHARGE                                              $18.00                                $11,461.39
02/26/2021   Ending Balance                                                                                    $11,461.39

Daily Balances
Date                           Amount   Date                         Amount       Date                            Amount
02/01/2021                 $16,446.30   02/10/2021                 $14,974.41     02/19/2021                    $12,205.97
02/02/2021                 $16,367.05   02/11/2021                 $14,868.17     02/22/2021                    $12,153.61
02/03/2021                 $15,937.84   02/12/2021                 $14,850.11     02/23/2021                    $11,744.80
02/04/2021                 $15,798.96   02/16/2021                 $13,933.84     02/24/2021                    $11,616.54
02/05/2021                 $15,613.55   02/17/2021                 $13,827.37     02/25/2021                    $11,565.70
02/08/2021                 $15,098.39   02/18/2021                 $12,370.52     02/26/2021                    $11,461.39




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CLASSIC BUSINESS CHECKING-2060 (continued)
Overdraft and Returned Item Fees
                                   Total for this period      Total year-to-date      Previous year-to-date
  Total Overdraft Fees                            $0.00                    $0.00                         $0.00

  Total Returned Item Fees                        $0.00                    $0.00                         $0.00


Service Charge Summary
   Description                                                                                        Amount
  TOTAL CHARGE FOR TOTAL ITEMS:                                                                         $18.00
  Total Service Charge                                                                                  $18.00




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3D1C93A9E77D4149AC8594A5329E05A9            20210226             Checking Account Statements
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    4 Bryant Park
    3rd Floor
    New York, NY 10018
    RETURN SERVICE REQUESTED                                    Managing Your Accounts
                                                                      Officer Name     Steve LaFredo

    AARON ETRA ESQ                                                    Office Number    212-266-9200
    445 PARK AVE FL 9
                                                                                       Mon - Fri
    NEW YORK NY 10022-8606                                            Banking Hours
                                                                                       8:30am - 4:30pm EST
                                                                      Online Banking   www.piermontbank.com




 Summary of Accounts
 Account Type                                                 Account Number                       Ending Balance
 CLASSIC BUSINESS CHECKING                                              2060                            $6,209.08


CLASSIC BUSINESS CHECKING-2060
Account Summary
Date         Description                           Amount       Description                                Amount
02/27/2021   Beginning Balance                   $11,461.39     Average Available Balance                 $9,004.00
             0 Credit(s) This Period                  $0.00
             74 Debit(s) This Period              $5,252.31
03/31/2021   Ending Balance                       $6,209.08
             Service Charges                         $24.00

Account Activity
Post Date    Description                                               Debits           Credits              Balance
02/27/2021   Beginning Balance                                                                           $11,461.39
             XX1767 POS DDA W/D THE VITAMIN SHOP NEW YORK
03/01/2021                                                             $49.98                            $11,411.41
             NY 101 185063
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
03/01/2021                                                             $28.84                            $11,382.57
             00010003 044544
             XX1767 RECUR POS DEMOCRACY W. BOR BERLIN DE
03/01/2021                                                             $19.00                            $11,363.57
             HCO6O1BC 089566
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
03/01/2021                                                             $17.40                            $11,346.17
             99999999 757910
             VISA ISA Fee DEMOCRACY W. BOR BERLIN DE
03/01/2021                                                              $0.19                            $11,345.98
             HCO6O1BC 089566
             XX1767 POS PURCHASE UNITED CORP SERV
03/02/2021                                                           $198.00                             $11,147.98
             914-949-9188 NY 54588022 088022
             XX1767 POS PURCHASE SEAMLSSBARKOGI
03/02/2021                                                             $56.00                            $11,091.98
             SEAMLESS.COM NY 00000000 067404
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
03/03/2021                                                             $34.57                            $11,057.41
             00010002 310227
             XX1767 RECUR POS FACTOR75.COM HTTPSWWW.FACT
03/04/2021                                                             $60.00                            $10,997.41
             IL 00000000 010003
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
03/04/2021                                                             $52.43                            $10,944.98
             NY 00000000 035114
             XX1767 RECUR POS GetVisionFocus.c Kaunas LT
03/05/2021                                                           $119.93                             $10,825.05
             00000000 002383
03/05/2021   VISA ISA Fee GetVisionFocus.c Kaunas LT 00000000           $1.20                            $10,823.85




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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                           Debits           Credits              Balance
             002383
             XX1767 POS PURCHASE SILVER BIOTICS 801-7561000
03/08/2021                                                        $144.85                             $10,679.00
             UT 71004114 034756
             XX1767 POS PURCHASE UBER EATS HELP.UBER.COM
03/08/2021                                                         $42.65                             $10,636.35
             CA 00000000 022388
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
03/08/2021                                                         $23.33                             $10,613.02
             00010006 633447
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
03/08/2021                                                         $18.13                             $10,594.89
             99999999 751680
             XX1767 POS PURCHASE UBER EATS HELP.UBER.COM
03/08/2021                                                         $11.53                             $10,583.36
             CA 00000000 026144
             XX1767 POS PURCHASE CURB SVC ASTORIA ASTORIA
03/08/2021                                                         $10.56                             $10,572.80
             NY 07192431 094622
             XX1767 POS DDA W/D TURTLE BAY LIQUO NEW YORK
03/08/2021                                                          $9.84                             $10,562.96
             NY 94488824 006826
             XX1767 POS PURCHASE GIZMOSTUDIO84492
03/09/2021                                                         $11.50                             $10,551.46
             844-9220275 QC 76307771 001312
             VISA ISA Fee GIZMOSTUDIO84492 844-9220275 QC
03/09/2021                                                          $0.12                             $10,551.34
             76307771 001312
             XX1767 POS PURCHASE UNITED 0167 800-932-2732 TX
03/10/2021                                                       $1,505.55                             $9,045.79
             00000000 037786
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
03/10/2021                                                         $62.93                              $8,982.86
             NY 00000000 015402
             XX1767 POS PURCHASE LUFTHANSA 2201 NEW YORK
03/10/2021                                                         $50.00                              $8,932.86
             NY 00000000 019045
             XX1767 POS PURCHASE AGENT FEE 8900 ALPINE TVL &
03/10/2021                                                         $30.00                              $8,902.86
             TX 45514722 059421
             XX1767 RECUR POS FACTOR75.COM HTTPSWWW.FACT
03/11/2021                                                         $60.00                              $8,842.86
             IL 00000000 042783
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
03/11/2021                                                         $29.34                              $8,813.52
             00010004 007368
             XX1767 POS PURCHASE FPMSUPPORT.COM
03/11/2021                                                          $1.95                              $8,811.57
             833-7931659 WI 00010002 032922
             XX1767 RECUR POS FPMSUPPORT.COM 833-7931659 WI
03/12/2021                                                         $49.95                              $8,761.62
             00010002 056449
             XX1767 POS PURCHASE SUKHUMVIT 51 INC NEW YORK
03/15/2021                                                         $62.44                              $8,699.18
             NY 00000000 089798
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
03/15/2021                                                         $21.53                              $8,677.65
             00010002 338790
             XX1767 POS PURCHASE CURB SVC WOODSID
03/15/2021                                                         $11.16                              $8,666.49
             WOODSIDE NY 07192431 052110
             XX1767 RECUR POS SHOPSMARTER.COM 800-2556355
03/15/2021                                                          $9.97                              $8,656.52
             CT 00001000 063134
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
03/15/2021                                                          $6.00                              $8,650.52
             99999999 619970
             XX1767 POS PURCHASE WNYC/WQXR/NJPR/N
03/17/2021                                                        $101.00                              $8,549.52
             646-8294000 NY 72941746 010900
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
03/17/2021                                                         $62.93                              $8,486.59
             NY 00000000 015035
             XX1767 RECUR POS FACTOR75.COM HTTPSWWW.FACT
03/18/2021                                                         $60.00                              $8,426.59
             IL 00000000 069982
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
03/18/2021                                                         $23.89                              $8,402.70
             00010004 602419
             XX1767 POS PURCHASE BETTER WORLD FUN
03/22/2021                                                        $100.00                              $8,302.70
             202-8879040 DC 74821934 040001
             XX1767 POS PURCHASE GLORIA WAN HAIR NEW YORK
03/22/2021                                                        $100.00                              $8,202.70
             NY 00000000 020561
             XX1767 POS PURCHASE FRESH GINGER NEW YORK NY
03/22/2021                                                         $48.73                              $8,153.97
             00011002 058655


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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                          Debits          Credits              Balance
             XX1767 POS PURCHASE SQ * GRAY - MORTO New York
03/22/2021                                                        $47.95                             $8,106.02
             NY 00000000 091579
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
03/22/2021                                                        $20.93                             $8,085.09
             00010004 955755
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
03/22/2021                                                        $12.54                             $8,072.55
             99999999 730746
             XX1767 POS PURCHASE CURB SVC LONG IS LONG
03/22/2021                                                         $9.36                             $8,063.19
             ISLAND C NY 07192431 079619
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
03/22/2021                                                         $9.15                             $8,054.04
             00010004 848027
             XX1767 RECUR POS GIZMOSTUDIO84492 844-9220275
03/23/2021                                                        $99.95                             $7,954.09
             QC 76307771 051709
             XX1767 POS PURCHASE BARNACHO NEW YORK NY
03/23/2021                                                        $52.14                             $7,901.95
             59246469 046469
             XX1767 POS DDA W/D AMAZON.COM* F843T SEATTLE
03/23/2021                                                        $42.46                             $7,859.49
             WA 00000101 4K3HWMT28RFQ
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
03/23/2021                                                        $31.19                             $7,828.30
             00010003 113175
             XX1767 POS DDA W/D AMAZON.COM* 0D225 SEATTLE
03/23/2021                                                        $23.94                             $7,804.36
             WA 00000101 3UBGK2XEEMH6
             XX1767 POS PURCHASE TURTLE BAY DRY C NEW YORK
03/23/2021                                                        $15.00                             $7,789.36
             NY 00000000 019522
             XX1767 POS PURCHASE CURB SVC NEW YOR NEW
03/23/2021                                                        $12.36                             $7,777.00
             YORK NY 07192431 042453
             VISA ISA Fee GIZMOSTUDIO84492 844-9220275 QC
03/23/2021                                                         $1.00                             $7,776.00
             76307771 051709
             XX1767 POS PURCHASE VERIZON - 2ND AV NEW YORK
03/24/2021                                                       $403.75                             $7,372.25
             NY 00000000 091557
             XX1767 RECUR POS FACTOR75.COM HTTPSWWW.FACT
03/25/2021                                                        $60.00                             $7,312.25
             IL 00000000 047766
             XX1767 POS PURCHASE STEP DOWN TO NAT NEW
03/29/2021                                                        $66.24                             $7,246.01
             YORK NY 5 000966
             XX1767 POS PURCHASE NYC TAXI 1246 12 LONG
03/29/2021                                                        $24.80                             $7,221.21
             ISLAND C NY 467 036964
             XX1767 POS PURCHASE CURB SVC THE BRO THE
03/29/2021                                                        $22.56                             $7,198.65
             BRONX NY 07192431 092833
             XX1767 POS PURCHASE 45 DELI NEW YORK NY
03/29/2021                                                        $20.38                             $7,178.27
             77234394 030001
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
03/29/2021                                                        $15.48                             $7,162.79
             99999999 714521
             XX1767 POS PURCHASE CVS/PHARMACY #10 NEW
03/29/2021                                                         $6.00                             $7,156.79
             YORK NY 00000000 097019
             XX1767 RECUR POS VZWRLSS* BILL PAY 800-9220204
03/30/2021                                                       $163.65                             $6,993.14
             CA 36711802 054943
             XX1767 POS PURCHASE GOFITNESSAPP 866-202-1077
03/30/2021                                                        $19.99                             $6,973.15
             NC 00000000 074931
             XX1767 POS PURCHASE CURB SVC LONG IS LONG
03/30/2021                                                        $11.76                             $6,961.39
             ISALND C NY 07192431 073675
             XX1767 POS PURCHASE CURB SVC WOODSID
03/30/2021                                                        $11.16                             $6,950.23
             WOODSIDE NY 07192431 072587
             XX1767 POS PURCHASE CVS/PHARMACY #10 NEW
03/30/2021                                                         $6.00                             $6,944.23
             YORK NY 00000000 023626
             XX1767 POS PURCHASE UBER TRIP HELP.U
03/31/2021                                                        $92.16                             $6,852.07
             800-5928996 CA 00000000 084585
             XX1767 POS DDA W/D DUTY FREE 5013 NEWARK NJ
03/31/2021                                                        $85.00                             $6,767.07
             04095334 883356
             XX1767 POS DDA W/D HBOOKSELLER ST91 ELIZABETH
03/31/2021                                                        $18.13                             $6,748.94
             NJ 25754502 971595
             XX1767 POS PURCHASE UBER TRIP HELP.UBER.COM
03/31/2021                                                         $8.27                             $6,740.67
             CA 00000000 072470


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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date     Description                                                  Debits                Credits            Balance
              XX1767 DDA WITHDRAWAL UL GRADA VUKOVARA 2
03/31/2021                                                                $502.53                                 $6,238.14
              ZAGREB HR 12087 018972
              VISA ISA Fee UL GRADA VUKOVARA 2 ZAGREB HR
03/31/2021                                                                  $5.06                                 $6,233.08
              12087 018972
03/31/2021    SERVICE CHARGE                                               $24.00                                 $6,209.08
03/31/2021    Ending Balance                                                                                      $6,209.08

Daily Balances
Date                            Amount     Date                        Amount       Date                            Amount
03/01/2021                    $11,345.98   03/10/2021                 $8,902.86     03/23/2021                     $7,776.00
03/02/2021                    $11,091.98   03/11/2021                 $8,811.57     03/24/2021                     $7,372.25
03/03/2021                    $11,057.41   03/12/2021                 $8,761.62     03/25/2021                     $7,312.25
03/04/2021                    $10,944.98   03/15/2021                 $8,650.52     03/29/2021                     $7,156.79
03/05/2021                    $10,823.85   03/17/2021                 $8,486.59     03/30/2021                     $6,944.23
03/08/2021                    $10,562.96   03/18/2021                 $8,402.70     03/31/2021                     $6,209.08
03/09/2021                    $10,551.34   03/22/2021                 $8,054.04


Overdraft and Returned Item Fees
                                                           Total for this period                      Total year-to-date
   Total Overdraft Fees                                                    $0.00                                   $0.00
   Total Returned Item Fees                                                $0.00                                   $0.00


Service Charge Summary
   Description                                                                                                  Amount
   TOTAL CHARGE FOR TOTAL ITEMS:                                                                                  $24.00
   Total Service Charge                                                                                           $24.00




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    4 Bryant Park
    3rd Floor
    New York, NY 10018
    RETURN SERVICE REQUESTED                                          Managing Your Accounts
                                                                            Officer Name     Steve LaFredo

    AARON ETRA ESQ                                                          Office Number    212-266-9200
    445 PARK AVE FL 9
                                                                                             Mon - Fri
    NEW YORK NY 10022-8606                                                  Banking Hours
                                                                                             8:30am - 4:30pm EST
                                                                            Online Banking   www.piermontbank.com




 Summary of Accounts
 Account Type                                                      Account Number                        Ending Balance
 CLASSIC BUSINESS CHECKING                                                   2060                             $8,220.60


CLASSIC BUSINESS CHECKING-2060
Account Summary
Date         Description                                Amount        Description                                Amount
04/01/2021   Beginning Balance                         $6,209.08      Average Available Balance                 $7,697.34
             2 Credit(s) This Period                   $8,062.93
             96 Debit(s) This Period                   $6,051.41
04/30/2021   Ending Balance                            $8,220.60
             Service Charges                              $36.00

Account Activity
Post Date    Description                                                     Debits           Credits              Balance
04/01/2021   Beginning Balance                                                                                  $6,209.08
             XX1767 POS PURCHASE KONZUM P-0222 ZAGREB HR
04/01/2021                                                                 $106.05                              $6,103.03
             KZ022205 039000
             XX1767 POS PURCHASE Shop 4722/ West Schiphol Airp
04/01/2021                                                                   $73.60                             $6,029.43
             NL 31465819 046137
             XX1767 POS PURCHASE HMS Host Interna Amsterdam NL
04/01/2021                                                                   $18.08                             $6,011.35
             75266922 021872
             VISA ISA Fee KONZUM P-0222 ZAGREB HR KZ022205
04/01/2021                                                                    $1.06                             $6,010.29
             039000
             VISA ISA Fee Shop 4722/ West Schiphol Airp NL 31465819
04/01/2021                                                                    $0.74                             $6,009.55
             046137
             VISA ISA Fee HMS Host Interna Amsterdam NL 75266922
04/01/2021                                                                    $0.18                             $6,009.37
             021872
             XX1767 POS PURCHASE RMG* REGUS 972-340-2021 TX
04/05/2021                                                                 $640.00                              $5,369.37
             00000000 037245
             XX1767 POS PURCHASE ART RASVJETA ZAGREB HR
04/05/2021                                                                   $94.77                             $5,274.60
             50028060 096000
             XX1767 POS PURCHASE VRUTAK DOO ZAGREB HR
04/05/2021                                                                   $92.17                             $5,182.43
             50039020 085000
             XX1767 POS PURCHASE PBZTINA GRADNA HR 73110567
04/05/2021                                                                   $52.02                             $5,130.41
             045752
             VISA ISA Fee ART RASVJETA ZAGREB HR 50028060
04/05/2021                                                                    $0.95                             $5,129.46
             096000
04/05/2021   VISA ISA Fee VRUTAK DOO ZAGREB HR 50039020                       $0.92                             $5,128.54




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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                                Debits           Credits             Balance
             085000
04/05/2021   VISA ISA Fee PBZTINA GRADNA HR 73110567 045752              $0.52                             $5,128.02
             XX1767 POS PURCHASE NYC BAR 212-382-6663 NY
04/06/2021                                                              $98.75                             $5,029.27
             00000000 042555
             XX1767 POS PURCHASE NZZJZ DR A.STAMP ZAGREB
04/09/2021                                                              $98.26                             $4,931.01
             HR V0102266 078202
             VISA ISA Fee NZZJZ DR A.STAMP ZAGREB HR V0102266
04/09/2021                                                               $0.98                             $4,930.03
             078202
             XX1767 RECUR POS B2B Prime* WG4686 Amzn.com/bill
04/12/2021                                                             $194.89                             $4,735.14
             WA 00000000 079887
             XX1767 POS PURCHASE WEILL CORNELL PO NEW
04/12/2021                                                             $152.03                             $4,583.11
             YORK NY 00000000 064823
             XX1767 RECUR POS GEEK 24X7 YEARLY RICHFIELD MN
04/12/2021                                                              $76.21                             $4,506.90
             902 002884
             XX1767 RECUR POS FPMSUPPORT.COM 833-7931659 WI
04/12/2021                                                              $49.95                             $4,456.95
             00010002 092926
             XX1767 POS PURCHASE PET NETWORK ZAGREB HR
04/12/2021                                                              $41.05                             $4,415.90
             RB009287 090530
             XX1767 POS PURCHASE KONZUM P-0222 ZAGREB HR
04/12/2021                                                              $40.76                             $4,375.14
             KZ022213 008000
             XX1767 POS PURCHASE PBZ7DMP22 ZAGREB HR
04/12/2021                                                              $33.30                             $4,341.84
             PDM00301 072501
             XX1767 RECUR POS WEBROOT YEARLY P RICHFIELD
04/12/2021                                                              $32.65                             $4,309.19
             MN 902 002911
             XX1767 RECUR POS SHOPSMARTER.COM 800-2556355
04/12/2021                                                               $9.97                             $4,299.22
             CT 00001000 027713
             VISA ISA Fee PET NETWORK ZAGREB HR RB009287
04/12/2021                                                               $0.41                             $4,298.81
             090530
             VISA ISA Fee KONZUM P-0222 ZAGREB HR KZ022213
04/12/2021                                                               $0.41                             $4,298.40
             008000
04/12/2021   VISA ISA Fee PBZ7DMP22 ZAGREB HR PDM00301 072501            $0.33                             $4,298.07
             XX1767 DDA WITHDRAWAL SUBICEVA 40A ZAGREB HR
04/12/2021                                                             $338.96                             $3,959.11
             10628 072986
04/12/2021   VISA ISA Fee SUBICEVA 40A ZAGREB HR 10628 072986            $3.43                             $3,955.68
             XX1767 POS PURCHASE POLIKLINIKA PODU ZAGREB
04/13/2021                                                             $118.08                             $3,837.60
             HR E0139732 078202
             XX1767 POS PURCHASE JOUKHADAR LJEKAR ZAGREB
04/13/2021                                                              $20.10                             $3,817.50
             HR 22815058 011202
             VISA ISA Fee POLIKLINIKA PODU ZAGREB HR E0139732
04/13/2021                                                               $1.18                             $3,816.32
             078202
             VISA ISA Fee JOUKHADAR LJEKAR ZAGREB HR
04/13/2021                                                               $0.20                             $3,816.12
             22815058 011202
04/14/2021   Checking Account Transfer from DDA 2292                                   $8,000.00          $11,816.12
             XX1767 RECUR POS MICROSOFT YEARLY RICHFIELD
04/14/2021                                                              $76.20                            $11,739.92
             MN 902 002752
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
04/14/2021                                                              $62.93                            $11,676.99
             NY 00000000 035246
             XX1767 POS PURCHASE REED EXHIBITIONS RICHMOND
04/14/2021                                                               $5.00                            $11,671.99
             GB 00000000 080774
             VISA ISA Fee REED EXHIBITIONS RICHMOND GB
04/14/2021                                                               $0.05                            $11,671.94
             00000000 080774
             XX1767 DDA WITHDRAWAL MAKSIMIRSKA 86 ZAGREB
04/14/2021                                                             $509.19                            $11,162.75
             HR 10737 008483
             VISA ISA Fee MAKSIMIRSKA 86 ZAGREB HR 10737
04/14/2021                                                               $5.13                            $11,157.62
             008483
             XX1767 POS PURCHASE STEP DOWN TO NAT NEW
04/16/2021                                                             $144.90                            $11,012.72
             YORK NY 5 079327
04/16/2021   XX1767 POS PURCHASE Rolling Luggage Frankfurt air DE       $78.07                            $10,934.65


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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                                  Debits          Credits              Balance
             31432254 053548
             XX1767 POS PURCHASE SDA CROATIA ZAG4 ZRACNA
04/16/2021                                                                $71.18                            $10,863.47
             LUKA HR 50100024 044000
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
04/16/2021                                                                $26.03                            $10,837.44
             00010004 113023
             XX1767 POS PURCHASE ADFS VELIKA GORIC HR
04/16/2021                                                                $18.90                            $10,818.54
             50052555 056000
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
04/16/2021                                                                 $9.98                            $10,808.56
             99999999 803331
             XX1767 POS PURCHASE BREWMARK DEPARTU VELIKA
04/16/2021                                                                 $9.97                            $10,798.59
             GORIC HR 72107671 022000
             VISA ISA Fee Rolling Luggage Frankfurt air DE 31432254
04/16/2021                                                                 $0.78                            $10,797.81
             053548
             VISA ISA Fee SDA CROATIA ZAG4 ZRACNA LUKA HR
04/16/2021                                                                 $0.71                            $10,797.10
             50100024 044000
04/16/2021   VISA ISA Fee ADFS VELIKA GORIC HR 50052555 056000             $0.19                            $10,796.91
             VISA ISA Fee BREWMARK DEPARTU VELIKA GORIC HR
04/16/2021                                                                 $0.10                            $10,796.81
             72107671 022000
             XX1767 POS PURCHASE VERIZON - 2ND AV NEW YORK
04/19/2021                                                               $381.06                            $10,415.75
             NY 00000000 045832
             XX1767 POS PURCHASE UBER TRIP HELP.UBER.COM
04/19/2021                                                               $106.21                            $10,309.54
             CA 00000000 097272
             XX1767 POS PURCHASE WNYC/WQXR/NJPR/N
04/19/2021                                                               $101.00                            $10,208.54
             646-8294000 NY 72941746 090533
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
04/19/2021                                                                $30.02                            $10,178.52
             99999999 859312
             XX1767 POS DDA W/D MORTON WILLIAMS NEW YORK
04/19/2021                                                                $22.56                            $10,155.96
             NY 57937101 428491
             XX1767 POS PURCHASE CURB SVC LONG IS LONG
04/19/2021                                                                $14.76                            $10,141.20
             ISLAND C NY 07192431 030656
             XX1767 POS PURCHASE CVS/PHARMACY #10 NEW
04/19/2021                                                                 $8.99                            $10,132.21
             YORK NY 00000000 001421
             XX1767 POS PURCHASE CVS/PHARMACY #10 NEW
04/19/2021                                                                 $6.00                            $10,126.21
             YORK NY 00000000 001439
             XX1767 POS DDA RETURN FRESHLY.COM 8443737459
04/20/2021                                                                                 $62.93           $10,189.14
             NY 00000000 061873
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
04/20/2021                                                                $24.57                            $10,164.57
             00010001 452746
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
04/20/2021                                                                 $8.99                            $10,155.58
             99999999 501469
             XX1767 POS PURCHASE CVS/PHARMACY #10 NEW
04/20/2021                                                                 $6.00                            $10,149.58
             YORK NY 00000000 053777
             XX1767 POS PURCHASE TURTLE BAY DRY C NEW YORK
04/20/2021                                                                 $5.00                            $10,144.58
             NY 00000000 098235
             XX1767 POS PURCHASE MET MUSEUM MEMBE
04/21/2021                                                               $110.00                            $10,034.58
             212-570-3753 NY 00000000 006770
             XX1767 POS PURCHASE NYC BAR 212-382-6663 NY
04/21/2021                                                                $75.00                             $9,959.58
             00000000 075535
             XX1767 RECUR POS DNH* GODADDY.COM 480-5058855
04/22/2021                                                               $208.65                             $9,750.93
             AZ 29283001 087375
             XX1767 POS PURCHASE SILVER BIOTICS 801-7561000
04/22/2021                                                               $113.90                             $9,637.03
             UT 71004114 095602
             XX1767 RECUR POS FACTOR75.COM HTTPSWWW.FACT
04/22/2021                                                                $60.00                             $9,577.03
             IL KQ6ZXXK0 021176
             XX1767 POS PURCHASE CVS/PHARMACY #10 NEW
04/22/2021                                                                $23.03                             $9,554.00
             YORK NY 00000000 087464
             XX1767 POS PURCHASE NYC TAXI 1246 12 LONG
04/22/2021                                                                $12.30                             $9,541.70
             ISLAND C NY 467 061164
04/22/2021   XX1767 POS PURCHASE SQ * PINK MOOSE U New York                $5.26                             $9,536.44


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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                                 Debits                Credits            Balance
             NY 00000000 026902
             XX1767 RECUR POS VZWRLSS* BILL PAY 800-9220204
04/23/2021                                                              $451.63                                 $9,084.81
             CA 36711802 052033
             XX1767 RECUR POS WEB* NETWORKSOLUT
04/26/2021                                                              $159.92                                 $8,924.89
             888-6429675 FL 00000007 034602
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
04/26/2021                                                               $35.91                                 $8,888.98
             00010006 797293
             XX1767 POS DDA W/D MORTON WILLIAMS NEW YORK
04/26/2021                                                               $21.07                                 $8,867.91
             NY 57937101 793801
             XX1767 POS PURCHASE NYC TAXI 1246 12 LONG
04/26/2021                                                               $17.30                                 $8,850.61
             ISLAND C NY 467 077985
             XX1767 POS PURCHASE SHAKE SHACK 1101 NEW
04/26/2021                                                               $13.37                                 $8,837.24
             YORK NY NY 00000000 032433
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
04/26/2021                                                               $11.99                                 $8,825.25
             99999999 827764
             XX1767 POS PURCHASE GOOGLE * Google S Mountain
04/27/2021                                                               $99.99                                 $8,725.26
             View CA 64923881 0427124
             XX1767 POS PURCHASE ENENCE INTERNET LT
04/27/2021                                                               $89.00                                 $8,636.26
             00000000 040443
             XX1767 RECUR POS WEB* NETWORKSOLUT
04/27/2021                                                               $37.99                                 $8,598.27
             888-6429675 FL 00001000 087325
             XX1767 POS PURCHASE WEILL CORNELL PO NEW
04/27/2021                                                               $20.00                                 $8,578.27
             YORK NY 00000000 002510
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
04/27/2021                                                               $18.52                                 $8,559.75
             99999999 815453
             XX1767 POS PURCHASE CURB SVC LONG IS LONG
04/27/2021                                                               $12.36                                 $8,547.39
             ISLAND C NY 07192431 042501
04/27/2021   VISA ISA Fee ENENCE INTERNET LT 00000000 040443              $0.89                                 $8,546.50
             XX1767 POS PURCHASE STEP DOWN TO NAT NEW
04/28/2021                                                               $64.33                                 $8,482.17
             YORK NY 4 051150
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
04/28/2021                                                               $27.26                                 $8,454.91
             00010004 143350
             XX1767 POS PURCHASE CVS/PHARMACY #10 NEW
04/28/2021                                                                $9.99                                 $8,444.92
             YORK NY 00000000 085461
             XX1767 POS PURCHASE SQ * AMERICAN SCO gosq.com
04/29/2021                                                               $60.00                                 $8,384.92
             NY 00000000 058283
             XX1767 RECUR POS FACTOR75.COM HTTPSWWW.FACT
04/29/2021                                                               $60.00                                 $8,324.92
             IL KQ6ZXXK0 033796
             XX1767 RECUR POS GOFITNESSAPP 866-202-1077 NC
04/29/2021                                                               $19.99                                 $8,304.93
             00000000 080627
             XX1767 POS PURCHASE WEILL CORNELL PO NEW
04/30/2021                                                               $20.00                                 $8,284.93
             YORK NY 00000000 013655
             XX1767 POS PURCHASE CURB SVC LONG IS LONG
04/30/2021                                                               $11.76                                 $8,273.17
             ISLAND C NY 07192431 057124
             XX1767 POS PURCHASE SQ * 787 COFFEE R New York
04/30/2021                                                               $10.57                                 $8,262.60
             NY 00000000 015872
             XX1767 POS PURCHASE CVS/PHARMACY #10 NEW
04/30/2021                                                                $6.00                                 $8,256.60
             YORK NY 00000000 054805
04/30/2021   SERVICE CHARGE                                              $36.00                                 $8,220.60
04/30/2021   Ending Balance                                                                                     $8,220.60

Daily Balances
Date                           Amount   Date                         Amount       Date                            Amount
04/01/2021                 $6,009.37    04/12/2021                  $3,955.68     04/19/2021                    $10,126.21
04/05/2021                 $5,128.02    04/13/2021                  $3,816.12     04/20/2021                    $10,144.58
04/06/2021                 $5,029.27    04/14/2021                 $11,157.62     04/21/2021                     $9,959.58
04/09/2021                 $4,930.03    04/16/2021                 $10,796.81     04/22/2021                     $9,536.44



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CLASSIC BUSINESS CHECKING-2060 (continued)
Daily Balances (continued)
Date                          Amount      Date                        Amount       Date                            Amount
04/23/2021                    $9,084.81   04/27/2021                 $8,546.50     04/29/2021                     $8,304.93
04/26/2021                    $8,825.25   04/28/2021                 $8,444.92     04/30/2021                     $8,220.60


Overdraft and Returned Item Fees
                                                          Total for this period                     Total year-to-date
   Total Overdraft Fees                                                   $0.00                                   $0.00
   Total Returned Item Fees                                               $0.00                                   $0.00


Service Charge Summary
   Description                                                                                                 Amount
   TOTAL CHARGE FOR TOTAL ITEMS:                                                                                 $36.00
   Total Service Charge                                                                                          $36.00




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    4 Bryant Park
    3rd Floor
    New York, NY 10018
    RETURN SERVICE REQUESTED                                      Managing Your Accounts
                                                                       Officer Name     Steve LaFredo

    AARON ETRA ESQ                                                     Office Number    212-266-9200
    445 PARK AVE FL 9
                                                                                        Mon - Fri
    NEW YORK NY 10022-8606                                             Banking Hours
                                                                                        8:30am - 4:30pm EST
                                                                       Online Banking   www.piermontbank.com




 Summary of Accounts
 Account Type                                                   Account Number                      Ending Balance
 CLASSIC BUSINESS CHECKING                                                2060                           $5,323.20


CLASSIC BUSINESS CHECKING-2060
Account Summary
Date         Description                             Amount      Description                                Amount
05/01/2021   Beginning Balance                      $8,220.60    Average Available Balance                 $6,920.57
             0 Credit(s) This Period                    $0.00
             63 Debit(s) This Period                $2,897.40
05/28/2021   Ending Balance                         $5,323.20
             Service Charges                           $18.50

Account Activity
Post Date    Description                                                Debits           Credits              Balance
05/01/2021   Beginning Balance                                                                             $8,220.60
             XX1767 POS PURCHASE ELIXIR INSURANCE
05/03/2021                                                              $78.00                             $8,142.60
             TWINSBURG OH 12472118 072118
             XX1767 POS PURCHASE AMISH MARKET 212-3701761
05/03/2021                                                              $30.56                             $8,112.04
             NY 76158766 096017
             XX1767 POS PURCHASE NYC TAXI 1246 12 LONG
05/03/2021                                                              $17.30                             $8,094.74
             ISLAND C NY 467 034884
             XX1767 POS DDA W/D MORTON WILLIAMS NEW YORK
05/03/2021                                                              $15.68                             $8,079.06
             NY 57937101 804607
             XX1767 POS PURCHASE CVS/PHARMACY #10 NEW
05/03/2021                                                               $8.48                             $8,070.58
             YORK NY 00000000 057103
             XX1767 POS PURCHASE CVS/PHARMACY #10 NEW
05/04/2021                                                              $39.24                             $8,031.34
             YORK NY 00000000 027597
             XX1767 POS PURCHASE CURB SVC LONG IS LONG
05/04/2021                                                              $11.76                             $8,019.58
             ISLAND C NY 07192431 025125
             XX1767 POS PURCHASE plcpayment.com 855-8982434 FL
05/04/2021                                                               $1.00                             $8,018.58
             00000001 078910
             XX1767 POS PURCHASE LEGALINC HTTPSWWW.LEGA
05/05/2021                                                            $129.00                              $7,889.58
             TX FK2ED7PG 027500
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
05/05/2021                                                              $47.90                             $7,841.68
             NY 00000000 090652
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
05/05/2021                                                              $26.63                             $7,815.05
             00010001 756754
05/05/2021   XX1767 POS PURCHASE NYC TAXI 1246 12 LONG                  $12.30                             $7,802.75




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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                            Debits          Credits              Balance
             ISLAND C NY 467 062986
             XX1767 RECUR POS FACTOR75.COM HTTPSWWW.FACT
05/06/2021                                                          $60.00                             $7,742.75
             IL KQ6ZXXK0 085050
             XX1767 POS PURCHASE GLORIA WAN HAIR NEW YORK
05/10/2021                                                         $100.00                             $7,642.75
             NY 00000000 082178
             XX1767 POS PURCHASE SP * THE PERFECT
05/10/2021                                                          $74.04                             $7,568.71
             HTTPSTHEPERFE NY 00000000 007009
             XX1767 POS PURCHASE VENMO* Visa Direct NY CNP TX
05/10/2021                                                          $50.00                             $7,518.71
             468025
             XX1767 POS PURCHASE UBER TRIP HELP.UBER.COM
05/10/2021                                                          $37.32                             $7,481.39
             CA 00000000 095181
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
05/10/2021                                                          $34.44                             $7,446.95
             00010003 007421
             XX1767 POS PURCHASE UBER TRIP HELP.UBER.COM
05/10/2021                                                          $29.96                             $7,416.99
             CA 00000000 091559
             XX1767 POS PURCHASE UBER TRIP HELP.UBER.COM
05/10/2021                                                          $20.53                             $7,396.46
             CA 00000000 064978
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
05/10/2021                                                          $17.24                             $7,379.22
             99999999 848283
             XX1767 POS PURCHASE NYC TAXI 1246 12 LONG
05/10/2021                                                          $10.55                             $7,368.67
             ISLAND C NY 467 007943
             XX1767 RECUR POS FPMSUPPORT.COM 833-7931659 WI
05/11/2021                                                          $49.95                             $7,318.72
             00010002 039092
             XX1767 RECUR POS plcpayment.com 855-8982434 FL
05/11/2021                                                          $44.00                             $7,274.72
             00000001 019911
             XX1767 POS PURCHASE NYC TAXI 1246 12 LONG
05/11/2021                                                          $10.30                             $7,264.42
             ISLAND C NY 467 054887
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
05/12/2021                                                          $45.91                             $7,218.51
             NY 9DJJV6N0 094276
             XX1767 RECUR POS SHOPSMARTER.COM 800-2556355
05/12/2021                                                           $9.97                             $7,208.54
             CT 00001000 081538
             XX1767 RECUR POS FACTOR75.COM HTTPSWWW.FACT
05/13/2021                                                          $60.00                             $7,148.54
             IL KQ6ZXXK0 006810
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
05/13/2021                                                          $19.65                             $7,128.89
             00010001 444605
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
05/13/2021                                                          $13.50                             $7,115.39
             99999999 664676
05/13/2021   cover overdraft                                         $5.73                             $7,109.66
             XX1767 POS PURCHASE CVS/PHARMACY #10 NEW
05/14/2021                                                          $12.71                             $7,096.95
             YORK NY 00000000 045090
             XX1767 POS PURCHASE TST* SOCARRAT PA NEW
05/17/2021                                                         $118.31                             $6,978.64
             YORK NY 98943520 043520
             XX1767 RECUR POS WNYC WQXR NJPR N 646-8294000
05/17/2021                                                         $101.00                             $6,877.64
             NY 00001000 032669
             XX1767 POS PURCHASE SP * THE PERFECT
05/17/2021                                                          $68.00                             $6,809.64
             HTTPSTHEPERFE NY 00000000 058992
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
05/17/2021                                                          $20.85                             $6,788.79
             00010004 622287
             XX1767 POS DDA W/D MORTON WILLIAMS NEW YORK
05/17/2021                                                          $19.66                             $6,769.13
             NY 57937101 747086
             XX1767 POS PURCHASE TURTLE BAY DRY C NEW YORK
05/17/2021                                                           $5.00                             $6,764.13
             NY 00000000 086096
             XX1767 POS PURCHASE MORNING STAR CAF NEW
05/18/2021                                                          $20.16                             $6,743.97
             YORK NY 00000000 087206
             XX1767 POS PURCHASE CURB SVC WANTAGE
05/18/2021                                                          $15.36                             $6,728.61
             WANTAGE NY 07192431 097599
             XX1767 POS PURCHASE SQ * 787 COFFEE R New York
05/18/2021                                                           $5.15                             $6,723.46
             NY 00000000 068114
05/19/2021   XX1767 POS PURCHASE BARNACHO NEW YORK NY               $50.01                             $6,673.45


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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                                Debits                Credits            Balance
             17995794 095794
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
05/19/2021                                                              $44.42                                 $6,629.03
             NY 00000000 095885
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
05/19/2021                                                              $21.80                                 $6,607.23
             00010004 970071
             XX1767 POS PURCHASE RMG* REGUS 972-340-2021 TX
05/20/2021                                                             $300.00                                 $6,307.23
             00000000 060774
             XX1767 RECUR POS FACTOR75.COM HTTPSWWW.FACT
05/20/2021                                                              $60.00                                 $6,247.23
             IL KQ6ZXXK0 077077
             XX1767 POS PURCHASE THEA DEVELOPMENT
05/20/2021                                                              $40.00                                 $6,207.23
             111-9129770 NY 00010001 089899
             XX1767 POS PURCHASE SKYPE.COM/GO/BIL
05/21/2021                                                              $25.00                                 $6,182.23
             Luxembourg LU 00000000 000872
             VISA ISA Fee SKYPE.COM/GO/BIL Luxembourg LU
05/21/2021                                                               $0.25                                 $6,181.98
             00000000 000872
             XX1767 RECUR POS VZWRLSS* BILL PAY 800-9220204
05/24/2021                                                             $457.21                                 $5,724.77
             CA 36711802 019316
             XX1767 RECUR POS WEB* NETWORKSOLUT
05/24/2021                                                              $31.96                                 $5,692.81
             888-6429675 FL 00001000 013579
             XX1767 POS DDA W/D MORTON WILLIAMS NEW YORK
05/24/2021                                                              $29.80                                 $5,663.01
             NY 57937101 419788
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
05/24/2021                                                              $17.12                                 $5,645.89
             00010006 220841
             XX1767 POS PURCHASE OLD NAVY ON-LINE
05/25/2021                                                              $68.80                                 $5,577.09
             800-6536289 OH 70326328 066694
             XX1767 POS PURCHASE NYC TAXI 1246 12 LONG
05/25/2021                                                              $11.55                                 $5,565.54
             ISLAND C NY 467 072620
             XX1767 POS PURCHASE SQ * 787 COFFEE R New York
05/25/2021                                                               $9.11                                 $5,556.43
             NY 00000000 020751
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
05/26/2021                                                              $45.91                                 $5,510.52
             NY 00000000 004657
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
05/26/2021                                                              $34.52                                 $5,476.00
             99999999 644351
             XX1767 POS PURCHASE SQ * PINK MOOSE U New York
05/26/2021                                                               $8.62                                 $5,467.38
             NY 00000000 036753
             XX1767 RECUR POS FACTOR75.COM HTTPSWWW.FACT
05/27/2021                                                              $60.00                                 $5,407.38
             IL KQ6ZXXK0 033897
             XX1767 POS PURCHASE SP * BRTCLEAN
05/27/2021                                                              $36.99                                 $5,370.39
             HTTPSWWW.SHOP NV OAGVLJVD 007681
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
05/28/2021                                                              $28.69                                 $5,341.70
             00010003 742381
05/28/2021   SERVICE CHARGE                                             $18.50                                 $5,323.20
05/28/2021   Ending Balance                                                                                    $5,323.20

Daily Balances
Date                           Amount   Date                        Amount       Date                            Amount
05/03/2021                 $8,070.58    05/13/2021                 $7,109.66     05/24/2021                     $5,645.89
05/04/2021                 $8,018.58    05/14/2021                 $7,096.95     05/25/2021                     $5,556.43
05/05/2021                 $7,802.75    05/17/2021                 $6,764.13     05/26/2021                     $5,467.38
05/06/2021                 $7,742.75    05/18/2021                 $6,723.46     05/27/2021                     $5,370.39
05/10/2021                 $7,368.67    05/19/2021                 $6,607.23     05/28/2021                     $5,323.20
05/11/2021                 $7,264.42    05/20/2021                 $6,207.23
05/12/2021                 $7,208.54    05/21/2021                 $6,181.98




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CLASSIC BUSINESS CHECKING-2060 (continued)
Overdraft and Returned Item Fees
                                                 Total for this period                 Total year-to-date
  Total Overdraft Fees                                          $0.00                                $0.00
  Total Returned Item Fees                                      $0.00                                $0.00


Service Charge Summary
   Description                                                                                    Amount
  TOTAL CHARGE FOR TOTAL ITEMS:                                                                     $18.50
  Total Service Charge                                                                              $18.50




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    4 Bryant Park
    3rd Floor
    New York, NY 10018
    RETURN SERVICE REQUESTED                                   Managing Your Accounts
                                                                    Officer Name     Steve LaFredo

    AARON ETRA ESQ                                                  Office Number    212-266-9200
    445 PARK AVE FL 9
                                                                                     Mon - Fri
    NEW YORK NY 10022-8606                                          Banking Hours
                                                                                     8:30am - 4:30pm EST
                                                                    Online Banking   www.piermontbank.com




 Summary of Accounts
 Account Type                                                Account Number                      Ending Balance
 CLASSIC BUSINESS CHECKING                                             2060                           $7,154.23


CLASSIC BUSINESS CHECKING-2060
Account Summary
Date         Description                          Amount      Description                                Amount
05/29/2021   Beginning Balance                   $5,323.20    Average Available Balance                 $5,310.30
             2 Credit(s) This Period            $10,162.98
             110 Debit(s) This Period            $8,331.95
06/30/2021   Ending Balance                      $7,154.23
             Service Charges                        $43.50

Account Activity
Post Date    Description                                             Debits           Credits              Balance
05/29/2021   Beginning Balance                                                                          $5,323.20
             XX1767 POS PURCHASE SP * AQUAVAULT
06/01/2021                                                           $65.27                             $5,257.93
             AQUAVAULT2.MY FL 00000000 028523
             XX1767 POS PURCHASE SP * THE PERFECT
06/01/2021                                                           $58.79                             $5,199.14
             HTTPSTHEPERFE NY 00000000 025021
             XX1767 POS PURCHASE SQ * BARKOGI New York NY
06/01/2021                                                           $54.10                             $5,145.04
             00000000 087547
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
06/01/2021                                                           $31.90                             $5,113.14
             00010002 893372
             XX1767 RECUR POS GOFITNESSAPP 866-202-1077 NC
06/01/2021                                                           $19.99                             $5,093.15
             00000000 095684
             XX1767 POS PURCHASE SQ * PINK MOOSE U New York
06/01/2021                                                           $18.29                             $5,074.86
             NY 00000000 096547
             XX1767 DDA WITHDRAWAL 852 2ND AVE NEW YORK NY
06/01/2021                                                         $200.00                              $4,874.86
             AXD34228 002608
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
06/02/2021                                                           $62.93                             $4,811.93
             NY 00000000 088282
             XX1767 POS PURCHASE BLANK SLATE COFF NEW
06/02/2021                                                           $16.23                             $4,795.70
             YORK NY 75423800 091041
             XX1767 POS PURCHASE JOSABANK CLOTHIE
06/03/2021                                                         $215.45                              $4,580.25
             800-851-6744 MD 1 073123
             XX1767 POS PURCHASE DECKERS* TEVA FOO
06/03/2021                                                         $162.98                              $4,417.27
             800-367-8382 CA 00000000 046741
06/03/2021   XX1767 RECUR POS FACTOR75.COM HTTPSWWW.FACT             $60.00                             $4,357.27




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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                            Debits          Credits              Balance
             IL KQ6ZXXK0 016983
             XX1767 POS PURCHASE DSW. 866-3797463 OH 00000007
06/03/2021                                                          $49.98                             $4,307.29
             006020
             XX1767 POS PURCHASE WOOT INC. WOOT.COM TX
06/03/2021                                                          $27.89                             $4,279.40
             00000000 026537
             XX1767 POS PURCHASE CURB SVC LONG IS LONG
06/03/2021                                                          $12.36                             $4,267.04
             ISLAND C NY 07192431 071852
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
06/04/2021                                                          $28.69                             $4,238.35
             00010001 341437
             XX1767 POS PURCHASE SQ * AMMA NEW YORK NY
06/07/2021                                                          $48.35                             $4,190.00
             00000000 099712
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
06/08/2021                                                          $24.36                             $4,165.64
             99999999 805704
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
06/08/2021                                                          $14.79                             $4,150.85
             00010003 764336
             XX1767 POS PURCHASE CURB SVC WOODSID
06/08/2021                                                          $12.36                             $4,138.49
             WOODSIDE NY 07192431 007987
             XX1767 POS PURCHASE CURB SVC NEW YOR NEW
06/08/2021                                                          $10.56                             $4,127.93
             YORK NY 07192431 016877
             XX1767 POS PURCHASE CURB SVC QUEENS QUEENS
06/08/2021                                                           $9.96                             $4,117.97
             NY 07192431 033752
             XX1767 POS PURCHASE BEACH CAFE NEW YORK NY
06/09/2021                                                         $117.75                             $4,000.22
             00972807 004124
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
06/09/2021                                                          $64.92                             $3,935.30
             NY 00000000 071163
             XX1767 POS DDA W/D MORTON WILLIAMS NEW YORK
06/09/2021                                                          $38.19                             $3,897.11
             NY 57937101 977482
             XX1767 POS PURCHASE NYC TAXI 1246 12 LONG
06/09/2021                                                          $12.95                             $3,884.16
             ISLAND C NY 467 088523
             XX1767 RECUR POS FACTOR75.COM HTTPSWWW.FACT
06/10/2021                                                          $60.00                             $3,824.16
             IL KQ6ZXXK0 070328
             XX1767 RECUR POS FPMSUPPORT.COM 833-7931659 WI
06/10/2021                                                          $49.95                             $3,774.21
             00010002 033076
             XX1767 RECUR POS plcpayment.com 855-8982434 FL
06/10/2021                                                          $44.00                             $3,730.21
             00000001 023912
             XX1767 POS PURCHASE CURB SVC WOODSID
06/10/2021                                                          $12.96                             $3,717.25
             WOODSIDE NY 07192431 001012
             XX1767 POS PURCHASE SQ * 787 COFFEE R New York
06/10/2021                                                          $10.35                             $3,706.90
             NY 00000000 076610
             XX1767 POS PURCHASE STEP DOWN TO NAT NEW
06/11/2021                                                         $112.36                             $3,594.54
             YORK NY 4 088840
             XX1767 POS PURCHASE LITTLE THAI KITC 212-6445353
06/11/2021                                                          $60.53                             $3,534.01
             NY 70000000 040029
             XX1767 POS DDA W/D MORTON WILLIAMS NEW YORK
06/11/2021                                                          $20.22                             $3,513.79
             NY 57937101 603646
             XX1767 POS PURCHASE GLORIA WAN HAIR NEW YORK
06/14/2021                                                         $100.00                             $3,413.79
             NY 00000000 021527
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
06/14/2021                                                          $19.48                             $3,394.31
             00010002 202359
             XX1767 RECUR POS SHOPSMARTER.COM 800-2556355
06/14/2021                                                           $9.97                             $3,384.34
             CT 00001000 081458
             XX1767 RECUR POS www.cvs.com 800-746-7287 RI
06/14/2021                                                           $5.44                             $3,378.90
             13114552 014552
             XX1767 POS PURCHASE OLD NAVY ON-LINE
06/16/2021                                                          $83.60                             $3,295.30
             800-6536289 OH 70326328 081869
             XX1767 POS PURCHASE LA VILLETTA REST NEW YORK
06/16/2021                                                          $51.37                             $3,243.93
             NY 00000000 044727
             XX1767 POS PURCHASE TACTICALUSA.COM
06/16/2021                                                          $39.90                             $3,204.03
             844-8461137 MA 10101111 023410


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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                             Debits           Credits              Balance
             XX1767 POS DDA RETURN DECKERS* TEVA FOO
06/17/2021                                                                            $162.98            $3,367.01
             800-367-8382 CA 00000000 009498
             XX1767 RECUR POS WNYC WQXR NJPR N 646-8294000
06/17/2021                                                          $101.00                              $3,266.01
             NY 00001000 008787
             XX1767 POS PURCHASE DECKERS* TEVA FOO
06/17/2021                                                           $62.99                              $3,203.02
             800-367-8382 CA 00000000 007965
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
06/17/2021                                                           $14.69                              $3,188.33
             00010002 472039
             XX1767 POS PURCHASE CURB SVC LONG IS LONG
06/17/2021                                                           $12.36                              $3,175.97
             ISLAND C NY 07192431 033509
             XX1767 POS DDA W/D SQ * 787 COFFEE R NEW YORK
06/17/2021                                                           $10.35                              $3,165.62
             NY 77827301 116717285080
             XX1767 POS PURCHASE SILVER BIOTICS 801-7561000
06/18/2021                                                          $113.90                              $3,051.72
             UT 71004114 062071
             XX1767 POS PURCHASE BLT* Inkcartridge 888-3212552
06/18/2021                                                           $77.27                              $2,974.45
             CA 00000007 097198
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
06/18/2021                                                           $17.33                              $2,957.12
             00010003 555343
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
06/18/2021                                                           $13.48                              $2,943.64
             99999999 604067
06/21/2021   Checking Account Transfer from DDA 0362                               $10,000.00           $12,943.64
             XX1767 POS PURCHASE UNITED 0167 800-932-2732 TX
06/21/2021                                                         $1,206.15                            $11,737.49
             00000000 081613
             XX1767 POS PURCHASE RMG* REGUS 972-340-2021 NY
06/21/2021                                                          $260.00                             $11,477.49
             00000000 022516
             XX1767 POS DDA W/D BLOOMYS 001 NEW YORK NY
06/21/2021                                                          $221.02                             $11,256.47
             D0010551 007583
             XX1767 POS PURCHASE BOUNDERY HTTPSBOUNDERY
06/21/2021                                                          $117.97                             $11,138.50
             CA YW8LEN7I 090720
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
06/21/2021                                                           $85.36                             $11,053.14
             99999999 822285
             XX1767 POS PURCHASE VIT* VITAMIN SHOP
06/21/2021                                                           $49.98                             $11,003.16
             800-223-1216 NJ 00000000 082579
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
06/21/2021                                                           $46.97                             $10,956.19
             99999999 917963
             XX1767 POS PURCHASE SHIMA SUSHI NEW YORK NY
06/21/2021                                                           $35.60                             $10,920.59
             00017442 083742
             XX1767 RECUR POS WEB* NETWORKSOLUT
06/21/2021                                                           $31.96                             $10,888.63
             888-6429675 FL 00001000 023143
             XX1767 POS PURCHASE ACUNS ACUNS.ORG CT
06/21/2021                                                           $30.00                             $10,858.63
             WHMRN331 058102
             XX1767 POS PURCHASE AGENT FEE 8900 ALPINE TVL &
06/21/2021                                                           $30.00                             $10,828.63
             TX 45514722 065762
             XX1767 POS DDA W/D MORTON WILLIAMS NEW YORK
06/21/2021                                                           $26.36                             $10,802.27
             NY 57937101 447897
             XX1767 POS PURCHASE MTA* METROCARD MA NEW
06/21/2021                                                           $10.00                             $10,792.27
             YORK NY 00000000 049336
             XX1767 POS PURCHASE COLUMBIA ANNUAL
06/22/2021                                                          $180.00                             $10,612.27
             212-853-1919 NY 07169947 040006
             XX1767 DDA WITHDRAWAL 757 3 RD AVE MANHATTAN
06/22/2021                                                          $400.00                             $10,212.27
             NY VC080654 004962
             XX1767 RECUR POS VERIZON* ONETIMEP
06/23/2021                                                          $892.60                              $9,319.67
             VERIZON.COM FL 00000000 024926
             XX1767 RECUR POS VZWRLSS* BILL PAY 800-9220204
06/23/2021                                                          $296.22                              $9,023.45
             CA 36711802 019223
             XX1767 RECUR POS BIBLE 365 WWW.TIKVAHFUN NY
06/23/2021                                                          $100.00                              $8,923.45
             2TBS5NCO 015628
             XX1767 POS PURCHASE DSW. 866-3797463 OH 00000007
06/23/2021                                                           $99.99                              $8,823.46
             096083


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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                            Debits          Credits              Balance
             XX1767 POS PURCHASE SP * CHUBBIES SH
06/23/2021                                                          $75.00                             $8,748.46
             WWW.CHUBBIESS CA 00000000 010661
             XX1767 POS PURCHASE CURB SVC LONG IS LONG
06/23/2021                                                          $11.76                             $8,736.70
             ISLAND C NY 07192431 046360
             XX1767 POS PURCHASE NYC TAXI 1246 12 LONG
06/23/2021                                                          $11.30                             $8,725.40
             ISLAND C NY 467 014192
             XX1767 POS PURCHASE CVS/PHARMACY #10 NEW
06/23/2021                                                           $6.00                             $8,719.40
             YORK NY 00000000 054096
             XX1767 POS PURCHASE UBER TRIP HELP.UBER.COM
06/24/2021                                                         $105.29                             $8,614.11
             CA 00000000 049112
             XX1767 RECUR POS FACTOR75.COM HTTPSWWW.FACT
06/24/2021                                                          $60.00                             $8,554.11
             IL KQ6ZXXK0 047908
             XX1767 POS DDA W/D HBOOKSELLER ST91 ELIZABETH
06/24/2021                                                          $19.19                             $8,534.92
             NJ 25754502 608409
             XX1767 POS PURCHASE CURB SVC QUEENS QUEENS
06/24/2021                                                          $12.36                             $8,522.56
             NY 07192431 093046
             XX1767 POS PURCHASE CURB SVC WOODSID
06/24/2021                                                          $11.16                             $8,511.40
             WOODSIDE NY 07192431 091142
             XX1767 POS PURCHASE C3 - CIBO EXPRES NEWARK NJ
06/24/2021                                                           $4.29                             $8,507.11
             00000000 015134
             XX1767 POS PURCHASE HEINEMANN DUTY F
06/25/2021                                                          $55.36                             $8,451.75
             FRANKFURT DE 65488781 006018
             XX1767 POS PURCHASE C3 FOOD HALL - E NEWARK NJ
06/25/2021                                                          $14.93                             $8,436.82
             00000000 039979
             VISA ISA Fee HEINEMANN DUTY F FRANKFURT DE
06/25/2021                                                           $0.55                             $8,436.27
             65488781 006018
             XX1767 POS PURCHASE 30240 / NZZ Bar Zurich CH
06/25/2021                                                           $0.46                             $8,435.81
             31442797 094190
             XX1767 DDA WITHDRAWAL UL GRADA VUKOVARA 2
06/25/2021                                                         $523.80                             $7,912.01
             ZAGREB HR 12087 119965
             VISA ISA Fee UL GRADA VUKOVARA 2 ZAGREB HR
06/25/2021                                                           $5.29                             $7,906.72
             12087 119965
             XX1767 POS PURCHASE KONZUM P-0222 ZAGREB HR
06/28/2021                                                         $108.26                             $7,798.46
             KZ022210 086000
             XX1767 POS PURCHASE SP * CHUBBIES SH
06/28/2021                                                          $93.50                             $7,704.96
             WWW.CHUBBIESS CA 00000000 086344
             XX1767 POS PURCHASE PBZTINA ZAGREB HR 73110556
06/28/2021                                                          $36.42                             $7,668.54
             051612
             XX1767 POS PURCHASE KONZUM P-3228 DUGA RESA
06/28/2021                                                          $35.04                             $7,633.50
             HR KZ322801 060000
             XX1767 POS PURCHASE PET NETWORK ZAGREB HR
06/28/2021                                                          $26.84                             $7,606.66
             RB030152 088281
             XX1767 POS PURCHASE KONZUM P-3228 DUGA RESA
06/28/2021                                                          $15.75                             $7,590.91
             HR KZ322801 070000
             XX1767 POS PURCHASE PBZ7DMP22 ZAGREB HR
06/28/2021                                                          $13.11                             $7,577.80
             PDM00301 011444
             VISA ISA Fee KONZUM P-0222 ZAGREB HR KZ022210
06/28/2021                                                           $1.08                             $7,576.72
             086000
06/28/2021   VISA ISA Fee PBZTINA ZAGREB HR 73110556 051612          $0.36                             $7,576.36
             VISA ISA Fee KONZUM P-3228 DUGA RESA HR KZ322801
06/28/2021                                                           $0.35                             $7,576.01
             060000
             VISA ISA Fee PET NETWORK ZAGREB HR RB030152
06/28/2021                                                           $0.27                             $7,575.74
             088281
             VISA ISA Fee KONZUM P-3228 DUGA RESA HR KZ322801
06/28/2021                                                           $0.16                             $7,575.58
             070000
06/28/2021   VISA ISA Fee PBZ7DMP22 ZAGREB HR PDM00301 011444        $0.13                             $7,575.45
             XX1767 POS PURCHASE OLD NAVY ON-LINE
06/29/2021                                                          $38.75                             $7,536.70
             800-6536289 OH 70326328 072426
06/29/2021   XX1767 POS PURCHASE KONZUM P-3228 DUGA RESA            $21.99                             $7,514.71


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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date     Description                                                  Debits                Credits            Balance
              HR KZ322802 038000
              XX1767 RECUR POS GOFITNESSAPP 866-202-1077 NC
06/29/2021                                                                 $19.99                                 $7,494.72
              00000000 006855
              VISA ISA Fee KONZUM P-3228 DUGA RESA HR KZ322802
06/29/2021                                                                  $0.22                                 $7,494.50
              038000
              XX1767 POS PURCHASE POLIKLINIKA PODU ZAGREB
06/30/2021                                                                $207.15                                 $7,287.35
              HR E0139732 064202
              XX1767 POS PURCHASE DP RESTORAN ZVECAJ HR
06/30/2021                                                                 $61.28                                 $7,226.07
              22827356 042202
              XX1767 POS PURCHASE PBZTHOTELDUGARES DUGA
06/30/2021                                                                 $20.03                                 $7,206.04
              RESA HR 12978079 020065
              XX1767 RECUR POS NORTON * NP271877
06/30/2021                                                                  $5.43                                 $7,200.61
              NORTON.COM/NS AZ 00000000 069853
              VISA ISA Fee POLIKLINIKA PODU ZAGREB HR E0139732
06/30/2021                                                                  $2.07                                 $7,198.54
              064202
              VISA ISA Fee DP RESTORAN ZVECAJ HR 22827356
06/30/2021                                                                  $0.61                                 $7,197.93
              042202
              VISA ISA Fee PBZTHOTELDUGARES DUGA RESA HR
06/30/2021                                                                  $0.20                                 $7,197.73
              12978079 020065
06/30/2021    SERVICE CHARGE                                               $43.50                                 $7,154.23
06/30/2021    Ending Balance                                                                                      $7,154.23

Daily Balances
Date                           Amount     Date                         Amount       Date                            Amount
06/01/2021                    $4,874.86   06/10/2021                  $3,706.90     06/22/2021                    $10,212.27
06/02/2021                    $4,795.70   06/11/2021                  $3,513.79     06/23/2021                     $8,719.40
06/03/2021                    $4,267.04   06/14/2021                  $3,378.90     06/24/2021                     $8,507.11
06/04/2021                    $4,238.35   06/16/2021                  $3,204.03     06/25/2021                     $7,906.72
06/07/2021                    $4,190.00   06/17/2021                  $3,165.62     06/28/2021                     $7,575.45
06/08/2021                    $4,117.97   06/18/2021                  $2,943.64     06/29/2021                     $7,494.50
06/09/2021                    $3,884.16   06/21/2021                 $10,792.27     06/30/2021                     $7,154.23


Overdraft and Returned Item Fees
                                                          Total for this period                       Total year-to-date
   Total Overdraft Fees                                                    $0.00                                   $0.00
   Total Returned Item Fees                                                $0.00                                   $0.00


Service Charge Summary
   Description                                                                                                  Amount
   TOTAL CHARGE FOR TOTAL ITEMS:                                                                                  $43.50
   Total Service Charge                                                                                           $43.50




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    4 Bryant Park
    3rd Floor
    New York, NY 10018
    RETURN SERVICE REQUESTED                                   Managing Your Accounts
                                                                    Officer Name     Steve LaFredo

    AARON ETRA ESQ                                                  Office Number    212-266-9200
    445 PARK AVE FL 9
                                                                                     Mon - Fri
    NEW YORK NY 10022-8606                                          Banking Hours
                                                                                     8:30am - 4:30pm EST
                                                                    Online Banking   www.piermontbank.com




 Summary of Accounts
 Account Type                                                Account Number                      Ending Balance
 CLASSIC BUSINESS CHECKING                                             2060                           $3,576.93


CLASSIC BUSINESS CHECKING-2060
Account Summary
Date         Description                          Amount      Description                                Amount
07/01/2021   Beginning Balance                   $7,154.23    Average Available Balance                 $5,244.71
             0 Credit(s) This Period                 $0.00
             77 Debit(s) This Period             $3,577.30
07/30/2021   Ending Balance                      $3,576.93
             Service Charges                        $25.50

Account Activity
Post Date    Description                                             Debits           Credits              Balance
07/01/2021   Beginning Balance                                                                          $7,154.23
             XX1767 DDA WITHDRAWAL MAKSIMIRSKA 86 ZAGREB
07/01/2021                                                         $316.47                              $6,837.76
             HR 10737 040536
             VISA ISA Fee MAKSIMIRSKA 86 ZAGREB HR 10737
07/01/2021                                                            $3.21                             $6,834.55
             040536
             XX1767 POS PURCHASE PBZTMARBURGERKIN
07/02/2021                                                           $25.11                             $6,809.44
             DRAGANICI HR 12963306 018347
             VISA ISA Fee PBZTMARBURGERKIN DRAGANICI HR
07/02/2021                                                            $0.25                             $6,809.19
             12963306 018347
             XX1767 POS PURCHASE RESTORAN TAJER ZAGREB HR
07/06/2021                                                         $168.56                              $6,640.63
             50108821 075000
             XX1767 POS PURCHASE MUELLER CCO EAST ZAGREB
07/06/2021                                                         $145.60                              $6,495.03
             HR 50052164 025000
             XX1767 POS PURCHASE NYAS 212-298-8640 NY
07/06/2021                                                         $135.00                              $6,360.03
             00000000 071914
             XX1767 POS PURCHASE NZZJZ DR A.STAMP ZAGREB
07/06/2021                                                           $91.01                             $6,269.02
             HR V0102266 066202
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
07/06/2021                                                           $64.92                             $6,204.10
             NY 00000000 014638
             XX1767 POS PURCHASE PBZTINA ZAGREB HR 73110556
07/06/2021                                                           $50.25                             $6,153.85
             088077
             XX1767 POS PURCHASE SP * HIMALAYA WE
07/06/2021                                                           $48.90                             $6,104.95
             HTTPSHIMALAYA TX JIAOBR3L 043350
07/06/2021   VISA ISA Fee RESTORAN TAJER ZAGREB HR 50108821           $1.69                             $6,103.26




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Post Date    Description                                             Debits          Credits              Balance
             075000
             VISA ISA Fee MUELLER CCO EAST ZAGREB HR
07/06/2021                                                            $1.46                             $6,101.80
             50052164 025000
             VISA ISA Fee NZZJZ DR A.STAMP ZAGREB HR V0102266
07/06/2021                                                            $0.91                             $6,100.89
             066202
07/06/2021   VISA ISA Fee PBZTINA ZAGREB HR 73110556 088077           $0.50                             $6,100.39
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
07/07/2021                                                           $64.92                             $6,035.47
             NY 00000000 003750
             XX1767 POS PURCHASE UBER TRIP HELP.UBER.COM
07/07/2021                                                           $59.10                             $5,976.37
             CA 00000000 063342
             XX1767 POS PURCHASE STEP DOWN TO NAT NEW
07/07/2021                                                           $58.94                             $5,917.43
             YORK NY 4 045468
             XX1767 POS PURCHASE ADFS VELIKA GORIC HR
07/07/2021                                                           $35.35                             $5,882.08
             50052555 041000
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
07/07/2021                                                           $29.45                             $5,852.63
             00010002 193453
             XX1767 POS PURCHASE JOUKHADAR LJEKAR ZAGREB
07/07/2021                                                            $8.58                             $5,844.05
             HR 22815058 088202
07/07/2021   VISA ISA Fee ADFS VELIKA GORIC HR 50052555 041000        $0.35                             $5,843.70
             VISA ISA Fee JOUKHADAR LJEKAR ZAGREB HR
07/07/2021                                                            $0.09                             $5,843.61
             22815058 088202
             XX1767 POS PURCHASE TST* MOONSTRUCK NEW
07/08/2021                                                           $18.79                             $5,824.82
             YORK NY 59795648 095648
             XX1767 POS PURCHASE CURB SVC WOODSID
07/08/2021                                                           $11.16                             $5,813.66
             WOODSIDE NY 07192431 078868
             XX1767 RECUR POS FPMSUPPORT.COM 833-7931659 WI
07/09/2021                                                           $49.95                             $5,763.71
             00010002 018783
             XX1767 POS PURCHASE BEACH CAFE NEW YORK NY
07/12/2021                                                           $66.63                             $5,697.08
             00972807 013875
             XX1767 POS DDA W/D MORTON WILLIAMS NEW YORK
07/12/2021                                                           $27.26                             $5,669.82
             NY 57937101 635839
             XX1767 POS PURCHASE DIM SUM CHELSEA NEW YORK
07/12/2021                                                           $25.77                             $5,644.05
             NY 60494595 081623
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
07/12/2021                                                           $11.48                             $5,632.57
             99999999 816589
             XX1767 POS PURCHASE CURB SVC QUEENS QUEENS
07/12/2021                                                           $11.16                             $5,621.41
             NY 07192431 064268
             XX1767 POS PURCHASE NYC TAXI 1246 12 LONG
07/12/2021                                                           $10.80                             $5,610.61
             ISLAND C NY 467 000636
             XX1767 RECUR POS SHOPSMARTER.COM 800-2556355
07/12/2021                                                            $9.97                             $5,600.64
             CT 00001000 011353
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
07/12/2021                                                            $9.25                             $5,591.39
             00010001 457028
             XX1767 POS PURCHASE KEATS RESTAURANT
07/13/2021                                                          $154.85                             $5,436.54
             718-8251014 NY 77498570 021543
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
07/14/2021                                                           $64.92                             $5,371.62
             NY 9DJJV6N0 093880
             XX1767 RECUR POS www.cvs.com 800-746-7287 RI
07/14/2021                                                            $5.44                             $5,366.18
             14745255 045255
             XX1767 RECUR POS plcpayment.com 855-8982434 FL
07/15/2021                                                           $44.00                             $5,322.18
             00000001 052781
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
07/15/2021                                                           $23.58                             $5,298.60
             00010004 000309
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
07/15/2021                                                            $8.99                             $5,289.61
             99999999 549188
             XX1767 RECUR POS WNYC WQXR NJPR N 646-8294000
07/19/2021                                                          $101.00                             $5,188.61
             NY 00001000 002191
             XX1767 POS PURCHASE GLORIA WAN HAIR NEW YORK
07/19/2021                                                          $100.00                             $5,088.61
             NY 00000000 099751


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Post Date    Description                                          Debits          Credits              Balance
             XX1767 POS PURCHASE YARA NEW YORK NY 00000000
07/19/2021                                                        $76.68                             $5,011.93
             093956
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
07/19/2021                                                        $33.44                             $4,978.49
             00010004 001421
             XX1767 RECUR POS WEB* NETWORKSOLUT
07/19/2021                                                        $31.96                             $4,946.53
             888-6429675 FL 00001000 056360
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
07/19/2021                                                        $16.48                             $4,930.05
             99999999 835188
             XX1767 POS PURCHASE CURB SVC LONG IS LONG
07/19/2021                                                        $11.16                             $4,918.89
             ISLAND C NY 07192431 005548
             XX1767 POS PURCHASE RMG* REGUS 972-340-2021 NY
07/20/2021                                                       $260.00                             $4,658.89
             00000000 041398
             XX1767 POS PURCHASE CURB SVC NEW YOR NEW
07/20/2021                                                        $11.76                             $4,647.13
             YORK NY 07192431 032698
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
07/21/2021                                                        $64.92                             $4,582.21
             NY 00000000 068330
             XX1767 POS PURCHASE STEP DOWN TO NAT NEW
07/21/2021                                                        $29.43                             $4,552.78
             YORK NY 5 045946
             XX1767 POS PURCHASE STARBUCKS STORE NEW
07/21/2021                                                         $5.17                             $4,547.61
             YORK NY 00000000 047219
             XX1767 RECUR POS FACTOR75.COM HTTPSWWW.FACT
07/22/2021                                                        $35.00                             $4,512.61
             IL KQ6ZXXK0 065650
             XX1767 POS PURCHASE CURB SVC WOODSID
07/22/2021                                                        $15.96                             $4,496.65
             WOODSIDE NY 07192431 037993
             XX1767 POS DDA W/D SQ * 787 COFFEE R NEW YORK
07/22/2021                                                        $11.80                             $4,484.85
             NY 77827301 120219351116
             XX1767 POS PURCHASE CURB SVC NEW YOR NEW
07/22/2021                                                        $11.76                             $4,473.09
             YORK NY 07192431 033711
             XX1767 POS DDA W/D SQ * PINK MOOSE U NEW YORK
07/23/2021                                                         $9.62                             $4,463.47
             NY 77827301 120320306882
             XX1767 RECUR POS VZWRLSS* BILL PAY 800-9220204
07/26/2021                                                       $360.53                             $4,102.94
             CA 36711802 005710
             XX1767 POS PURCHASE CVS/PHARMACY #10 NEW
07/26/2021                                                        $58.97                             $4,043.97
             YORK NY 00000000 016059
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
07/26/2021                                                        $25.22                             $4,018.75
             00010003 002791
             XX1767 POS PURCHASE CURB SVC WOODSID
07/26/2021                                                        $18.36                             $4,000.39
             WOODSIDE NY 07192431 070929
             XX1767 POS PURCHASE CURB SVC NEW YOR NEW
07/26/2021                                                        $14.16                             $3,986.23
             YORK NY 07192431 002912
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
07/26/2021                                                         $9.48                             $3,976.75
             99999999 514729
             XX1767 POS DDA W/D SQ * PINK MOOSE U NEW YORK
07/26/2021                                                         $9.11                             $3,967.64
             NY 77827301 120621281799
             XX1767 POS DDA W/D STAPLES 0184 NEW YORK NY
07/26/2021                                                         $6.85                             $3,960.79
             08158673 895245
             XX1767 POS PURCHASE THOUSAND MILES 0423455577
07/27/2021                                                       $110.00                             $3,850.79
             SG 00000001 016872
             XX1767 POS PURCHASE FRESH GINGER NEW YORK NY
07/27/2021                                                        $27.22                             $3,823.57
             00011002 089320
             XX1767 POS PURCHASE GETKNARTONLINEST
07/27/2021                                                         $9.99                             $3,813.58
             877-2025685 NM 75510883 021867
             VISA ISA Fee THOUSAND MILES 0423455577 SG
07/27/2021                                                         $1.10                             $3,812.48
             00000001 016872
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
07/28/2021                                                        $64.92                             $3,747.56
             NY 00000000 030756
             XX1767 POS PURCHASE DECKERS* TEVA FOO
07/28/2021                                                        $35.92                             $3,711.64
             800-367-8382 CA 00000000 052785
             XX1767 RECUR POS GOFITNESSAPP 866-202-1077 NC
07/28/2021                                                        $19.99                             $3,691.65
             00000000 019520


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Post Date     Description                                                 Debits                Credits            Balance
              XX1767 RECUR POS FACTOR75.COM HTTPSWWW.FACT
07/29/2021                                                                $35.00                                 $3,656.65
              IL KQ6ZXXK0 056094
              XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
07/29/2021                                                                $23.53                                 $3,633.12
              00010001 001914
              XX1767 POS PURCHASE STARBUCKS STORE NEW
07/29/2021                                                                 $8.93                                 $3,624.19
              YORK NY 00000000 094222
              XX1767 POS PURCHASE Groupon, Inc. 312-2886424 IL
07/30/2021                                                                $21.76                                 $3,602.43
              00000000 080872
07/30/2021    SERVICE CHARGE                                              $25.50                                 $3,576.93
07/30/2021    Ending Balance                                                                                     $3,576.93

Daily Balances
Date                           Amount     Date                        Amount       Date                            Amount
07/01/2021                    $6,834.55   07/13/2021                 $5,436.54     07/23/2021                     $4,463.47
07/02/2021                    $6,809.19   07/14/2021                 $5,366.18     07/26/2021                     $3,960.79
07/06/2021                    $6,100.39   07/15/2021                 $5,289.61     07/27/2021                     $3,812.48
07/07/2021                    $5,843.61   07/19/2021                 $4,918.89     07/28/2021                     $3,691.65
07/08/2021                    $5,813.66   07/20/2021                 $4,647.13     07/29/2021                     $3,624.19
07/09/2021                    $5,763.71   07/21/2021                 $4,547.61     07/30/2021                     $3,576.93
07/12/2021                    $5,591.39   07/22/2021                 $4,473.09


Overdraft and Returned Item Fees
                                                          Total for this period                      Total year-to-date
   Total Overdraft Fees                                                   $0.00                                   $0.00
   Total Returned Item Fees                                               $0.00                                   $0.00


Service Charge Summary
   Description                                                                                                 Amount
   TOTAL CHARGE FOR TOTAL ITEMS:                                                                                 $25.50
   Total Service Charge                                                                                          $25.50




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    4 Bryant Park
    3rd Floor
    New York, NY 10018
    RETURN SERVICE REQUESTED                                    Managing Your Accounts
                                                                     Officer Name      Steve LaFredo

    AARON ETRA ESQ                                                   Office Number     212-266-9200
    445 PARK AVE FL 9
                                                                                       Mon - Fri
    NEW YORK NY 10022-8606                                           Banking Hours
                                                                                       8:30am - 4:30pm EST
                                                                     Online Banking    www.piermontbank.com




 Summary of Accounts
 Account Type                                                 Account Number                      Ending Balance
 CLASSIC BUSINESS CHECKING                                              2060                           $4,292.39


CLASSIC BUSINESS CHECKING-2060
Account Summary
Date         Description                           Amount      Description                                Amount
07/31/2021   Beginning Balance                    $3,576.93    Average Available Balance                 $5,171.06
             3 Credit(s) This Period             $10,035.00
             119 Debit(s) This Period             $9,319.54
08/31/2021   Ending Balance                       $4,292.39
             Service Charges                         $48.50

Account Activity
Post Date    Description                                              Debits            Credits              Balance
07/31/2021   Beginning Balance                                                                           $3,576.93
             XX1767 POS PURCHASE CAM* 4872752X203
08/02/2021                                                          $100.00                              $3,476.93
             WWW.CANTAB.OR NY PX0FHURS 071549
             XX1767 POS PURCHASE SP * KIZIK HTTPSKIZIKDES UT
08/02/2021                                                            $84.15                             $3,392.78
             ABZDHDXA 062343
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
08/02/2021                                                            $30.42                             $3,362.36
             00010001 002260
             XX1767 POS DDA W/D SQ * PINK MOOSE U NEW YORK
08/02/2021                                                            $11.02                             $3,351.34
             NY 77827301 121218161445
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
08/03/2021                                                            $27.75                             $3,323.59
             00010001 002696
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
08/04/2021                                                            $55.43                             $3,268.16
             NY 00000000 040104
             XX1767 POS PURCHASE PAYPAL * SHOPONLI
08/04/2021                                                            $15.94                             $3,252.22
             402-935-7733 HI 00000000 020397
08/05/2021   internal                                                                 $2,000.00          $5,252.22
             XX1767 RECUR POS FACTOR75.COM HTTPSWWW.FACT
08/05/2021                                                            $35.00                             $5,217.22
             IL KQ6ZXXK0 084805
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
08/05/2021                                                            $20.28                             $5,196.94
             00010001 003209
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
08/05/2021                                                            $18.68                             $5,178.26
             99999999 862759
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
08/06/2021                                                            $18.71                             $5,159.55
             00010003 005677




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Post Date    Description                                               Debits           Credits              Balance
             XX1767 POS PURCHASE UNITED 0167 800-932-2732 TX
08/09/2021                                                           $1,114.45                             $4,045.10
             00000000 070983
             XX1767 POS DDA W/D FSP* MOTT STREET NEW YORK
08/09/2021                                                            $550.00                              $3,495.10
             NY 99999999 433915
             XX1767 POS PURCHASE SP * UNTUCKIT
08/09/2021                                                            $105.00                              $3,390.10
             HTTPSWWW.UNTU NY M2ZRDLKV 096509
             XX1767 POS PURCHASE SP * UNTUCKIT
08/09/2021                                                            $105.00                              $3,285.10
             HTTPSWWW.UNTU NY M2ZRDLKV 085760
             XX1767 POS PURCHASE ChicVGroup Rayleigh GB
08/09/2021                                                             $82.81                              $3,202.29
             00000000 095372
             XX1767 POS PURCHASE PAYPAL * LAQUANGH
08/09/2021                                                             $50.00                              $3,152.29
             402-935-7733 CA 00000000 078848
             XX1767 RECUR POS FPMSUPPORT.COM 833-7931659 WI
08/09/2021                                                             $49.95                              $3,102.34
             00010002 034527
             XX1767 POS PURCHASE ChicVGroup Rayleigh GB
08/09/2021                                                             $49.02                              $3,053.32
             00000000 007735
             XX1767 POS PURCHASE ChicVGroup Rayleigh GB
08/09/2021                                                             $43.06                              $3,010.26
             00000000 003353
             XX1767 POS PURCHASE MTA* METROCARD MA NEW
08/09/2021                                                             $40.00                              $2,970.26
             YORK NY 00000000 091593
             XX1767 POS PURCHASE AGENT FEE 8900 ALPINE TVL &
08/09/2021                                                             $30.00                              $2,940.26
             TX 45514722 072919
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
08/09/2021                                                             $14.23                              $2,926.03
             00010001 003698
             XX1767 POS PURCHASE STARBUCKS STORE NEW
08/09/2021                                                              $5.17                              $2,920.86
             YORK NY 00000000 061466
08/09/2021   VISA ISA Fee ChicVGroup Rayleigh GB 00000000 095372        $0.83                              $2,920.03
08/09/2021   VISA ISA Fee ChicVGroup Rayleigh GB 00000000 007735        $0.49                              $2,919.54
08/09/2021   VISA ISA Fee ChicVGroup Rayleigh GB 00000000 003353        $0.43                              $2,919.11
             XX1767 RECUR POS VERIZON* ONETIMEP
08/10/2021                                                            $185.59                              $2,733.52
             VERIZON.COM FL 00000000 094635
             XX1767 POS PURCHASE CLEARME.COM * CLE
08/10/2021                                                            $109.00                              $2,624.52
             855-2532763 NY 29650001 050478
             XX1767 POS DDA W/D REMI FLOWER & CO NEW YORK
08/10/2021                                                             $12.41                              $2,612.11
             NY 02288871 122254002862
             XX1767 RECUR POS SHOPSMARTER.COM 800-2556355
08/10/2021                                                              $9.97                              $2,602.14
             CT 00001000 057046
             XX1767 POS DDA W/D TARGET T-3312 New York NY
08/11/2021                                                             $30.96                              $2,571.18
             13312074 074477
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
08/11/2021                                                             $10.98                              $2,560.20
             99999999 630679
             XX1767 POS PURCHASE STEP DOWN TO NAT NEW
08/12/2021                                                            $186.48                              $2,373.72
             YORK NY 4 057193
             XX1767 POS PURCHASE FLORA HEALTH - U
08/12/2021                                                             $55.97                              $2,317.75
             WWW.FLORAHEAL WA 7R62JN7K 031256
             XX1767 RECUR POS FACTOR75.COM HTTPSWWW.FACT
08/12/2021                                                             $35.00                              $2,282.75
             IL KQ6ZXXK0 083232
             XX1767 POS PURCHASE CURB SVC LONG IS LONG
08/12/2021                                                             $12.96                              $2,269.79
             ISLAND C NY 07192431 013603
             XX1767 POS PURCHASE CURB SVC ASTORIA ASTORIA
08/12/2021                                                             $11.76                              $2,258.03
             NY 07192431 008246
             XX1767 POS DDA W/D SQ * 787 COFFEE R NEW YORK
08/12/2021                                                             $10.55                              $2,247.48
             NY 77827301 122317387963
             XX1767 POS DDA RETURN FACTOR75.COM
08/13/2021                                                                               $35.00            $2,282.48
             HTTPSWWW.FACT IL KQ6ZXXK0 092712
             XX1767 POS PURCHASE MYABCPRODUCTSCOM
08/13/2021                                                             $97.57                              $2,184.91
             8664718497 NY 00000000 073328
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
08/13/2021                                                             $21.62                              $2,163.29
             00010002 005739


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Post Date    Description                                          Debits           Credits             Balance
             XX1767 POS PURCHASE GLORIA WAN HAIR NEW YORK
08/16/2021                                                       $100.00                             $2,063.29
             NY 00000000 085883
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
08/16/2021                                                        $69.56                             $1,993.73
             99999999 557132
             XX1767 POS PURCHASE SP * HIMALAYA WE
08/16/2021                                                        $38.94                             $1,954.79
             HTTPSHIMALAYA TX JIAOBR3L 023183
             XX1767 RECUR POS WEB* NETWORKSOLUT
08/16/2021                                                        $31.96                             $1,922.83
             888-6429675 FL 00001000 058681
             XX1767 POS DDA W/D MORTON WILLIAMS NEW YORK
08/16/2021                                                        $24.17                             $1,898.66
             NY 57937101 847542
             XX1767 POS PURCHASE TRIPADVISOR PLUS
08/16/2021                                                        $24.00                             $1,874.66
             833-233-0159 MA 00000000 016598
             XX1767 POS DDA W/D MORTON WILLIAMS NEW YORK
08/16/2021                                                        $13.81                             $1,860.85
             NY 57937101 282885
             XX1767 POS PURCHASE CURB SVC WOODSID
08/16/2021                                                         $9.96                             $1,850.89
             WOODSIDE NY 07192431 093736
             XX1767 RECUR POS www.cvs.com 800-746-7287 RI
08/16/2021                                                         $5.44                             $1,845.45
             15952629 052629
             XX1767 POS PURCHASE STARBUCKS STORE NEW
08/16/2021                                                         $5.17                             $1,840.28
             YORK NY 00000000 063817
             XX1767 RECUR POS WNYC WQXR NJPR N 646-8294000
08/17/2021                                                       $101.00                             $1,739.28
             NY 00001000 080613
             XX1767 RECUR POS plcpayment.com 855-8982434 FL
08/17/2021                                                        $44.00                             $1,695.28
             00000001 043449
             XX1767 POS PURCHASE NYC TAXI 1246 12 LONG
08/17/2021                                                        $11.55                             $1,683.73
             ISLAND C NY 467 021022
             XX1767 POS DDA W/D SQ * PINK MOOSE U NEW YORK
08/17/2021                                                         $7.02                             $1,676.71
             NY 77827301 122818154978
08/18/2021   Checking Account Transfer from DDA 0362                             $8,000.00           $9,676.71
             XX1767 RECUR POS VERIZON* ONETIMEP
08/18/2021                                                       $378.79                             $9,297.92
             VERIZON.COM FL 00000000 072385
             XX1767 POS PURCHASE UBER TRIP HELP.UBER.COM
08/18/2021                                                       $104.15                             $9,193.77
             CA 00000000 080911
             XX1767 POS DDA W/D HBOOKSELLER ST91 ELIZABETH
08/18/2021                                                        $19.19                             $9,174.58
             NJ 25754501 119579
             XX1767 POS PURCHASE HEINEMANN DUTY F
08/19/2021                                                        $36.47                             $9,138.11
             FRANKFURT DE 65488781 005032
             VISA ISA Fee HEINEMANN DUTY F FRANKFURT DE
08/19/2021                                                         $0.36                             $9,137.75
             65488781 005032
             XX1767 POS PURCHASE RMG* REGUS 972-340-2021 NY
08/20/2021                                                       $260.00                             $8,877.75
             00000000 054524
             XX1767 POS PURCHASE THOUSAND MILES 0423455577
08/23/2021                                                        $99.00                             $8,778.75
             SG 00000001 052661
             XX1767 POS PURCHASE NZZJZ DR A.STAMP ZAGREB
08/23/2021                                                        $89.58                             $8,689.17
             HR V0102266 062202
             XX1767 POS PURCHASE OZUJSKO PUB MAKS ZAGREB
08/23/2021                                                        $44.48                             $8,644.69
             HR 50105805 009000
             XX1767 POS PURCHASE THOUSAND MILES 0423455577
08/23/2021                                                        $30.00                             $8,614.69
             SG 00000001 052688
             XX1767 POS PURCHASE PET NETWORK ZAGREB HR
08/23/2021                                                        $25.85                             $8,588.84
             RB009287 015430
             XX1767 POS PURCHASE PBZ7DMP22 ZAGREB HR
08/23/2021                                                        $22.84                             $8,566.00
             PDM00301 061368
             XX1767 POS PURCHASE PBZTHOTELDUGARES DUGA
08/23/2021                                                        $21.19                             $8,544.81
             RESA HR 12978079 028097
             XX1767 POS PURCHASE PBZTJASENICESJEV JASENICE
08/23/2021                                                        $17.14                             $8,527.67
             (OBR HR 12963334 032878
             XX1767 POS PURCHASE PP* APPLE.COM/BIL
08/23/2021                                                        $10.88                             $8,516.79
             402-935-7733 CA 00000000 080774


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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                              Debits          Credits              Balance
             VISA ISA Fee THOUSAND MILES 0423455577 SG
08/23/2021                                                             $0.99                             $8,515.80
             00000001 052661
             VISA ISA Fee NZZJZ DR A.STAMP ZAGREB HR V0102266
08/23/2021                                                             $0.90                             $8,514.90
             062202
             VISA ISA Fee OZUJSKO PUB MAKS ZAGREB HR
08/23/2021                                                             $0.44                             $8,514.46
             50105805 009000
             VISA ISA Fee THOUSAND MILES 0423455577 SG
08/23/2021                                                             $0.30                             $8,514.16
             00000001 052688
             VISA ISA Fee PET NETWORK ZAGREB HR RB009287
08/23/2021                                                             $0.26                             $8,513.90
             015430
08/23/2021   VISA ISA Fee PBZ7DMP22 ZAGREB HR PDM00301 061368          $0.23                             $8,513.67
             VISA ISA Fee PBZTHOTELDUGARES DUGA RESA HR
08/23/2021                                                             $0.21                             $8,513.46
             12978079 028097
             VISA ISA Fee PBZTJASENICESJEV JASENICE (OBR HR
08/23/2021                                                             $0.17                             $8,513.29
             12963334 032878
             XX1767 DDA WITHDRAWAL MAKSIMIRSKA 86 ZAGREB
08/23/2021                                                           $512.19                             $8,001.10
             HR 10053 521348
             VISA ISA Fee MAKSIMIRSKA 86 ZAGREB HR 10053
08/23/2021                                                             $5.17                             $7,995.93
             521348
             XX1767 POS PURCHASE PBZTINA DUGA RESA HR
08/24/2021                                                            $31.91                             $7,964.02
             73110442 068542
             XX1767 POS PURCHASE VODICE 5007 VODICE HR
08/24/2021                                                            $14.72                             $7,949.30
             50053013 094000
08/24/2021   VISA ISA Fee PBZTINA DUGA RESA HR 73110442 068542         $0.32                             $7,948.98
08/24/2021   VISA ISA Fee VODICE 5007 VODICE HR 50053013 094000        $0.15                             $7,948.83
             XX1767 POS PURCHASE PBZ8STRIKOMANS VODICE HR
08/25/2021                                                           $145.82                             $7,803.01
             12983013 014582
             XX1767 POS PURCHASE STUDENAC 149 VODICE HR
08/25/2021                                                            $12.75                             $7,790.26
             SSTU1023 043226
             XX1767 POS PURCHASE REED EXHIBITIONS RICHMOND
08/25/2021                                                             $5.88                             $7,784.38
             GB 00000000 022567
             VISA ISA Fee PBZ8STRIKOMANS VODICE HR 12983013
08/25/2021                                                             $1.46                             $7,782.92
             014582
             VISA ISA Fee STUDENAC 149 VODICE HR SSTU1023
08/25/2021                                                             $0.13                             $7,782.79
             043226
             VISA ISA Fee REED EXHIBITIONS RICHMOND GB
08/25/2021                                                             $0.06                             $7,782.73
             00000000 022567
             XX1767 RECUR POS VZWRLSS* BILL PAY 800-9220204
08/26/2021                                                           $331.63                             $7,451.10
             CA 36711802 006499
             XX1767 DDA WITHDRAWAL HPBPJVODICE VODICE HR
08/26/2021                                                           $345.37                             $7,105.73
             00000549 954222
             VISA ISA Fee HPBPJVODICE VODICE HR 00000549
08/26/2021                                                             $3.45                             $7,102.28
             954222
             XX1767 POS PURCHASE KONOBA TRI PIRUN VODICE
08/27/2021                                                           $139.50                             $6,962.78
             HR 30270262 030326
             XX1767 RECUR POS GOFITNESSAPP 866-202-1077 NC
08/27/2021                                                            $19.99                             $6,942.79
             00000000 091145
             XX1767 POS PURCHASE STUDENAC 149 VODICE HR
08/27/2021                                                            $10.66                             $6,932.13
             SSTU1024 055714
             VISA ISA Fee KONOBA TRI PIRUN VODICE HR 30270262
08/27/2021                                                             $1.40                             $6,930.73
             030326
             VISA ISA Fee STUDENAC 149 VODICE HR SSTU1024
08/27/2021                                                             $0.11                             $6,930.62
             055714
             XX1767 POS PURCHASE KONOBA TRI PIRUN VODICE
08/30/2021                                                           $150.06                             $6,780.56
             HR 30270262 096059
             XX1767 POS PURCHASE RUSTIKA KONOBA VODICE HR
08/30/2021                                                            $94.89                             $6,685.67
             30271157 082159
             XX1767 POS PURCHASE PBZ9SANDABB2U VODICE HR
08/30/2021                                                            $78.42                             $6,607.25
             12972407 078778


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Account Activity (continued)
Post Date     Description                                                   Debits                Credits            Balance
              XX1767 POS PURCHASE PBZ9PLAVAPLAZA VODICE HR
08/30/2021                                                                  $72.58                                 $6,534.67
              12972594 038160
              XX1767 POS PURCHASE HILLS TRGOVINA VODICE HR
08/30/2021                                                                  $31.42                                 $6,503.25
              30270816 036120
              XX1767 POS PURCHASE KONZUM P-0122 VODICE HR
08/30/2021                                                                   $6.63                                 $6,496.62
              KZ012203 002000
              VISA ISA Fee KONOBA TRI PIRUN VODICE HR 30270262
08/30/2021                                                                   $1.50                                 $6,495.12
              096059
              VISA ISA Fee RUSTIKA KONOBA VODICE HR 30271157
08/30/2021                                                                   $0.95                                 $6,494.17
              082159
              VISA ISA Fee PBZ9SANDABB2U VODICE HR 12972407
08/30/2021                                                                   $0.78                                 $6,493.39
              078778
              VISA ISA Fee PBZ9PLAVAPLAZA VODICE HR 12972594
08/30/2021                                                                   $0.73                                 $6,492.66
              038160
              VISA ISA Fee HILLS TRGOVINA VODICE HR 30270816
08/30/2021                                                                   $0.31                                 $6,492.35
              036120
              VISA ISA Fee KONZUM P-0122 VODICE HR KZ012203
08/30/2021                                                                   $0.07                                 $6,492.28
              002000
              XX1767 POS PURCHASE HOTEL VILLA RUDA VODICE HR
08/31/2021                                                               $2,003.74                                 $4,488.54
              50104387 011000
              XX1767 POS PURCHASE Obrt Moje misto Vodice HR
08/31/2021                                                                  $49.02                                 $4,439.52
              BP0K0050 078150
              XX1767 POS PURCHASE PBZTPETROL BISKO HR
08/31/2021                                                                  $40.48                                 $4,399.04
              PH000032 045108
              XX1767 POS PURCHASE Obrt Moje misto Vodice HR
08/31/2021                                                                  $36.85                                 $4,362.19
              BP0K0050 028000
              VISA ISA Fee HOTEL VILLA RUDA VODICE HR 50104387
08/31/2021                                                                  $20.04                                 $4,342.15
              011000
08/31/2021    VISA ISA Fee Obrt Moje misto Vodice HR BP0K0050 078150         $0.49                                 $4,341.66
08/31/2021    VISA ISA Fee PBZTPETROL BISKO HR PH000032 045108               $0.40                                 $4,341.26
08/31/2021    VISA ISA Fee Obrt Moje misto Vodice HR BP0K0050 028000         $0.37                                 $4,340.89
08/31/2021    SERVICE CHARGE                                                $48.50                                 $4,292.39
08/31/2021    Ending Balance                                                                                       $4,292.39

Daily Balances
Date                           Amount     Date                          Amount       Date                            Amount
08/02/2021                    $3,351.34   08/12/2021                   $2,247.48     08/24/2021                     $7,948.83
08/03/2021                    $3,323.59   08/13/2021                   $2,163.29     08/25/2021                     $7,782.73
08/04/2021                    $3,252.22   08/16/2021                   $1,840.28     08/26/2021                     $7,102.28
08/05/2021                    $5,178.26   08/17/2021                   $1,676.71     08/27/2021                     $6,930.62
08/06/2021                    $5,159.55   08/18/2021                   $9,174.58     08/30/2021                     $6,492.28
08/09/2021                    $2,919.11   08/19/2021                   $9,137.75     08/31/2021                     $4,292.39
08/10/2021                    $2,602.14   08/20/2021                   $8,877.75
08/11/2021                    $2,560.20   08/23/2021                   $7,995.93


Overdraft and Returned Item Fees
                                                           Total for this period                       Total year-to-date
   Total Overdraft Fees                                                     $0.00                                   $0.00
   Total Returned Item Fees                                                 $0.00                                   $0.00




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CLASSIC BUSINESS CHECKING-2060 (continued)
Service Charge Summary
   Description                                                                                  Amount
  TOTAL CHARGE FOR TOTAL ITEMS:                                                                   $48.50
  Total Service Charge                                                                            $48.50




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    4 Bryant Park
    3rd Floor
    New York, NY 10018
    RETURN SERVICE REQUESTED                                    Managing Your Accounts
                                                                      Officer Name     Steve LaFredo

    AARON ETRA ESQ                                                    Office Number    212-266-9200
    445 PARK AVE FL 9
                                                                                       Mon - Fri
    NEW YORK NY 10022-8606                                            Banking Hours
                                                                                       8:30am - 4:30pm EST
                                                                      Online Banking   www.piermontbank.com




 Summary of Accounts
 Account Type                                                 Account Number                         Ending Balance
 CLASSIC BUSINESS CHECKING                                              2060                              $1,111.78


CLASSIC BUSINESS CHECKING-2060
Account Summary
Date         Description                           Amount       Description                                  Amount
09/01/2021   Beginning Balance                    $4,292.39     Average Available Balance                   $1,625.69
             9 Credit(s) This Period              $2,456.96
             94 Debit(s) This Period              $5,637.57
09/30/2021   Ending Balance                       $1,111.78
             Service Charges                         $42.00

Account Activity
Post Date    Description                                               Debits           Credits              Balance
09/01/2021   Beginning Balance                                                                              $4,292.39
             XX1767 POS PURCHASE UNITED CORP SERV
09/01/2021                                                           $198.00                                $4,094.39
             914-949-9188 NY 59103934 003934
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
09/01/2021                                                             $62.93                               $4,031.46
             NY 9DJJV6N0 099799
             XX1767 POS DDA RETURN FRESHLY.COM
09/02/2021                                                                                  $62.93          $4,094.39
             HTTPSWWW.FRES NY 9DJJV6N0 092347
             XX1767 POS PURCHASE STATE FARM INSU
09/02/2021                                                           $150.00                                $3,944.39
             800-956-6310 IL 0001 040558
             XX1767 POS PURCHASE LA BOHEME CAVTAT HR
09/02/2021                                                           $107.47                                $3,836.92
             E0615744 023960
             XX1767 POS PURCHASE CIPARIS TRADE D. CAVTAT HR
09/02/2021                                                             $76.40                               $3,760.52
             50118272 085000
             XX1767 RECUR POS FACTOR75.COM HTTPSWWW.FACT
09/02/2021                                                             $60.00                               $3,700.52
             IL KQ6ZXXK0 060843
09/02/2021   VISA ISA Fee LA BOHEME CAVTAT HR E0615744 023960           $1.07                               $3,699.45
             VISA ISA Fee CIPARIS TRADE D. CAVTAT HR 50118272
09/02/2021                                                              $0.76                               $3,698.69
             085000
             XX1767 POS PURCHASE RESTORAN DALIUM CAVTAT
09/03/2021                                                           $105.39                                $3,593.30
             HR RB081842 089300
             VISA ISA Fee RESTORAN DALIUM CAVTAT HR RB081842
09/03/2021                                                              $1.05                               $3,592.25
             089300
             XX1767 POS PURCHASE PBZTCROATIAHOTEL CAVTAT
09/07/2021                                                           $925.63                                $2,666.62
             HR 12951985 067085




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Account Activity (continued)
Post Date    Description                                             Debits          Credits              Balance
             XX1767 POS PURCHASE PLAZA HOTEL-RECE OMIS HR
09/07/2021                                                          $246.05                             $2,420.57
             22815789 004202
             XX1767 POS PURCHASE KONZUM P-0222 ZAGREB HR
09/07/2021                                                          $127.74                             $2,292.83
             KZ022209 095000
             XX1767 POS PURCHASE UBER TRIP HELP.UBER.COM
09/07/2021                                                           $98.47                             $2,194.36
             CA 00000000 010939
             XX1767 RECUR POS FPMSUPPORT.COM 833-7931659 WI
09/07/2021                                                           $49.95                             $2,144.41
             00010002 032340
             XX1767 POS PURCHASE HEINEMANN DUTY F
09/07/2021                                                           $41.71                             $2,102.70
             FRANKFURT DE 65488776 016006
             XX1767 POS PURCHASE PBZTTIFONBPDOBIS
09/07/2021                                                           $40.04                             $2,062.66
             BOSILJEVO HR 12893764 012002
             XX1767 POS PURCHASE PBZTINAACZGPLOCE
09/07/2021                                                           $39.71                             $2,022.95
             RASCANE GORNJ HR 73110252 067652
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
09/07/2021                                                           $21.84                             $2,001.11
             00010004 014937
             XX1767 POS PURCHASE UBER TRIP HELP.UBER.COM
09/07/2021                                                           $19.91                             $1,981.20
             CA 00000000 096104
             XX1767 POS PURCHASE PBZTDOBRAISTOKRE OGULIN
09/07/2021                                                           $15.37                             $1,965.83
             HR 12963286 013229
             XX1767 POS PURCHASE ADFS VELIKA GORIC HR
09/07/2021                                                           $14.48                             $1,951.35
             50052555 096000
             XX1767 POS PURCHASE CURB SVC LONG IS LONG
09/07/2021                                                           $11.16                             $1,940.19
             ISALND C NY 07192431 081582
             VISA ISA Fee PBZTCROATIAHOTEL CAVTAT HR
09/07/2021                                                            $9.26                             $1,930.93
             12951985 067085
             XX1767 RECUR POS PAYPAL * NETFLIX. 402-935-7733
09/07/2021                                                            $8.99                             $1,921.94
             CA 00000000 010573
             XX1767 POS PURCHASE COFFEE FELLOWS F
09/07/2021                                                            $4.76                             $1,917.18
             FRANKFURT DE 69136455 054118
             VISA ISA Fee PLAZA HOTEL-RECE OMIS HR 22815789
09/07/2021                                                            $2.46                             $1,914.72
             004202
             VISA ISA Fee KONZUM P-0222 ZAGREB HR KZ022209
09/07/2021                                                            $1.28                             $1,913.44
             095000
             VISA ISA Fee HEINEMANN DUTY F FRANKFURT DE
09/07/2021                                                            $0.42                             $1,913.02
             65488776 016006
             VISA ISA Fee PBZTINAACZGPLOCE RASCANE GORNJ
09/07/2021                                                            $0.40                             $1,912.62
             HR 73110252 067652
             VISA ISA Fee PBZTTIFONBPDOBIS BOSILJEVO HR
09/07/2021                                                            $0.40                             $1,912.22
             12893764 012002
             VISA ISA Fee PBZTDOBRAISTOKRE OGULIN HR
09/07/2021                                                            $0.15                             $1,912.07
             12963286 013229
09/07/2021   VISA ISA Fee ADFS VELIKA GORIC HR 50052555 096000        $0.14                             $1,911.93
             VISA ISA Fee COFFEE FELLOWS F FRANKFURT DE
09/07/2021                                                            $0.05                             $1,911.88
             69136455 054118
             XX1767 DDA WITHDRAWAL TRG KRALJA TOMISLAV
09/07/2021                                                          $316.92                             $1,594.96
             OMIS HR A1221117 639911
             VISA ISA Fee TRG KRALJA TOMISLAV OMIS HR A1221117
09/07/2021                                                            $3.21                             $1,591.75
             639911
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
09/08/2021                                                           $66.93                             $1,524.82
             NY 9DJJV6N0 010372
             XX1767 POS PURCHASE CLKBANK* COM_7JDL
09/08/2021                                                           $59.87                             $1,464.95
             800-390-6035 ID 00000000 030734
             XX1767 POS PURCHASE CURB SVC WOODSID
09/08/2021                                                           $12.36                             $1,452.59
             WOODSIDE NY 07192431 098407
             XX1767 POS PURCHASE CURB SVC LONG IS LONG
09/08/2021                                                           $11.16                             $1,441.43
             ISLAND C NY 07192431 006454
             XX1767 POS PURCHASE NYC TAXI 1246 12 LONG
09/08/2021                                                           $10.55                             $1,430.88
             ISLAND C NY 467 034606


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Account Activity (continued)
Post Date    Description                                          Debits          Credits              Balance
             XX1767 POS DDA W/D USPS PO 35961000 NEW YORK
09/09/2021                                                       $204.00                             $1,226.88
             NY 10001086 221061
             XX1767 RECUR POS FACTOR75.COM HTTPSWWW.FACT
09/09/2021                                                        $60.00                             $1,166.88
             IL KQ6ZXXK0 010147
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
09/09/2021                                                        $21.47                             $1,145.41
             00010002 011574
             XX1767 RECUR POS SHOPSMARTER.COM 800-2556355
09/09/2021                                                         $9.97                             $1,135.44
             CT 00001000 002162
             XX1767 POS PURCHASE TST* FRIDA NEW YORK NY
09/13/2021                                                        $60.21                             $1,075.23
             57954601 054601
             XX1767 RECUR POS WEB* NETWORKSOLUT
09/13/2021                                                        $31.96                             $1,043.27
             888-6429675 FL 00001000 032325
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
09/13/2021                                                        $23.72                             $1,019.55
             00010002 012200
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
09/13/2021                                                        $13.19                             $1,006.36
             99999999 659211
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
09/13/2021                                                        $11.11                               $995.25
             00010004 016499
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
09/13/2021                                                         $3.98                               $991.27
             99999999 963593
             XX1767 RECUR POS www.cvs.com 800-746-7287 RI
09/14/2021                                                         $5.44                               $985.83
             13937036 037036
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
09/15/2021                                                        $54.15                               $931.68
             NY 9DJJV6N0 033014
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
09/15/2021                                                        $35.65                               $896.03
             00010001 011547
             XX1767 POS PURCHASE FACTOR75 18885735727 IL
09/16/2021                                                        $60.00                               $836.03
             00000000 016041
             XX1767 POS PURCHASE CURB SVC BROOKLY
09/16/2021                                                        $12.96                               $823.07
             BROOKLYN NY 07192431 060732
             XX1767 POS PURCHASE CURB SVC WOODSID
09/16/2021                                                        $11.16                               $811.91
             WOODSIDE NY 07192431 071412
             XX1767 RECUR POS WNYC WQXR NJPR N 646-8294000
09/17/2021                                                       $101.00                               $710.91
             NY 00001000 020471
             XX1767 POS PURCHASE CURB SVC QUEENS QUEENS
09/17/2021                                                        $11.16                               $699.75
             NY 07192431 032909
             XX1767 POS PURCHASE CURB SVC QUEENS QUEENS
09/17/2021                                                        $10.56                               $689.19
             NY 07192431 093166
             XX1767 POS PURCHASE RMG* REGUS 972-340-2021 NY
09/20/2021                                                       $260.00                               $429.19
             00000000 041190
             XX1767 POS PURCHASE PAYPAL * APRICOAT
09/20/2021                                                       $148.85                               $280.34
             402-935-7733 DE 00000000 032566
             XX1767 POS DDA W/D THE HOME DEPOT 6 NEW YORK
09/20/2021                                                        $86.06                               $194.28
             NY 06253266 126211001622
             XX1767 POS PURCHASE BEACH CAFE NEW YORK NY
09/20/2021                                                        $53.37                               $140.91
             00972807 006130
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
09/20/2021                                                        $19.03                               $121.88
             99999999 550042
             XX1767 POS PURCHASE NYC TAXI 1246 12 LONG
09/20/2021                                                        $12.80                               $109.08
             ISLAND C NY 467 001981
             XX1767 POS PURCHASE NYC TAXI 1246 12 LONG
09/20/2021                                                        $12.30                                 $96.78
             ISLAND C NY 467 007926
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
09/20/2021                                                        $10.39                                 $86.39
             00010001 012557
             XX1767 POS PURCHASE DD/BR #358915 NEW YORK NY
09/20/2021                                                         $2.93                                 $83.46
             3589004 019498
             XX1767 POS PURCHASE DD/BR #358915 NEW YORK NY
09/20/2021                                                         $2.63                                 $80.83
             3589004 019028
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
09/21/2021                                                        $33.20                                 $47.63
             00010003 016037


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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                           Debits           Credits             Balance
             XX1767 POS PURCHASE DUNKIN #353428 NEW YORK
09/21/2021                                                          $2.93                                 $44.70
             NY 3534002 008630
09/23/2021   MOBILE CAPTURE DEPOSIT                                                 $43.93               $88.63
09/23/2021   MOBILE CAPTURE DEPOSIT                                                $130.00              $218.63
09/23/2021   MOBILE CAPTURE DEPOSIT                                                $138.07              $356.70
09/23/2021   MOBILE CAPTURE DEPOSIT                                                $138.60              $495.30
09/23/2021   MOBILE CAPTURE DEPOSIT                                                $193.43              $688.73
09/23/2021   MOBILE CAPTURE DEPOSIT                                                $300.00              $988.73
             BUSINESS INTERNET TRANSFER FROM XXXXXX2292
09/23/2021                                                                         $450.00            $1,438.73
             ON 9/23/21 AT 23:26
09/23/2021   Checking Account Transfer from DDA 0362                              $1,000.00           $2,438.73
             XX1767 POS PURCHASE FACTOR75 18885735727 IL
09/23/2021                                                         $60.00                             $2,378.73
             00000000 003242
             XX1767 DDA WITHDRAWAL 757 3 RD AVE MANHATTAN
09/24/2021                                                        $100.00                             $2,278.73
             NY VC080654 007566
             XX1767 RECUR POS VZWRLSS* BILL PAY 800-922-0204
09/27/2021                                                        $425.35                             $1,853.38
             FL 00000000 009022
             XX1767 RECUR POS VERIZON* ONETIMEP
09/27/2021                                                        $216.23                             $1,637.15
             VERIZON.COM FL 00000000 097618
             XX1767 POS PURCHASE GLORIA WAN HAIR NEW YORK
09/27/2021                                                        $100.00                             $1,537.15
             NY 00000000 004118
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
09/27/2021                                                         $90.61                             $1,446.54
             99999999 502985
             XX1767 POS PURCHASE MEE'S NOODLE NEW YORK NY
09/27/2021                                                         $57.50                             $1,389.04
             00011678 052379
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
09/27/2021                                                         $17.85                             $1,371.19
             00010002 015851
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
09/27/2021                                                         $17.18                             $1,354.01
             99999999 712904
             XX1767 POS PURCHASE CURB SVC NEW YOR NEW
09/27/2021                                                         $14.16                             $1,339.85
             YORK NY 07192431 054095
             XX1767 POS PURCHASE CURB SVC QUEENS QUEENS
09/27/2021                                                         $11.76                             $1,328.09
             NY 07192431 038764
             XX1767 POS PURCHASE CURB SVC LONG IS LONG
09/27/2021                                                         $11.16                             $1,316.93
             ISLAND C NY 07192431 061114
             XX1767 POS PURCHASE TURTLE BAY DRY C NEW YORK
09/27/2021                                                          $8.00                             $1,308.93
             NY 00000000 086123
             XX1767 POS PURCHASE STARBUCKS STORE NEW
09/27/2021                                                          $7.16                             $1,301.77
             YORK NY 00000000 079672
             XX1767 POS PURCHASE DD/BR #358915 NEW YORK NY
09/27/2021                                                          $2.93                             $1,298.84
             3589004 021150
             XX1767 RECUR POS GOFITNESSAPP 866-202-1077 NC
09/28/2021                                                         $19.99                             $1,278.85
             00000000 073462
             XX1767 POS PURCHASE CURB SVC LONG IS LONG
09/28/2021                                                         $11.16                             $1,267.69
             ISLAND C NY 07192431 094114
             XX1767 POS DDA W/D SQ * 787 COFFEE R NEW YORK
09/28/2021                                                         $10.11                             $1,257.58
             NY 77827301 127017277237
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
09/29/2021                                                         $54.15                             $1,203.43
             NY 9DJJV6N0 020657
             XX1767 POS PURCHASE TURTLE BAY DRY C NEW YORK
09/30/2021                                                         $26.00                             $1,177.43
             NY 00000000 008493
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
09/30/2021                                                         $23.65                             $1,153.78
             00010003 018042
09/30/2021   SERVICE CHARGE                                        $42.00                             $1,111.78
09/30/2021   Ending Balance                                                                           $1,111.78




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CLASSIC BUSINESS CHECKING-2060 (continued)
Daily Balances
Date                          Amount      Date                        Amount       Date                            Amount
09/01/2021                    $4,031.46   09/14/2021                   $985.83     09/24/2021                     $2,278.73
09/02/2021                    $3,698.69   09/15/2021                   $896.03     09/27/2021                     $1,298.84
09/03/2021                    $3,592.25   09/16/2021                   $811.91     09/28/2021                     $1,257.58
09/07/2021                    $1,591.75   09/17/2021                   $689.19     09/29/2021                     $1,203.43
09/08/2021                    $1,430.88   09/20/2021                    $80.83     09/30/2021                     $1,111.78
09/09/2021                    $1,135.44   09/21/2021                    $44.70
09/13/2021                      $991.27   09/23/2021                 $2,378.73


Overdraft and Returned Item Fees
                                                          Total for this period                     Total year-to-date
   Total Overdraft Fees                                                   $0.00                                   $0.00
   Total Returned Item Fees                                               $0.00                                   $0.00


Service Charge Summary
   Description                                                                                                 Amount
   TOTAL CHARGE FOR TOTAL ITEMS:                                                                                 $42.00
   Total Service Charge                                                                                          $42.00




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    4 Bryant Park
    3rd Floor
    New York, NY 10018
    RETURN SERVICE REQUESTED                                    Managing Your Accounts
                                                                     Officer Name     Steve LaFredo

    AARON ETRA ESQ                                                   Office Number    212-266-9200
    445 PARK AVE FL 9
                                                                                      Mon - Fri
    NEW YORK NY 10022-8606                                           Banking Hours
                                                                                      8:30am - 4:30pm EST
                                                                     Online Banking   www.piermontbank.com




 Summary of Accounts
 Account Type                                                 Account Number                      Ending Balance
 CLASSIC BUSINESS CHECKING                                              2060                           $7,454.93


CLASSIC BUSINESS CHECKING-2060
Account Summary
Date         Description                           Amount      Description                                Amount
10/01/2021   Beginning Balance                    $1,111.78    Average Available Balance                 $5,828.21
             1 Credit(s) This Period             $10,000.00
             61 Debit(s) This Period              $3,656.85
10/29/2021   Ending Balance                       $7,454.93
             Service Charges                         $18.00

Account Activity
Post Date    Description                                              Debits           Credits              Balance
10/01/2021   Beginning Balance                                                                           $1,111.78
             XX1767 POS PURCHASE FACTOR75 18885735727 IL
10/01/2021                                                            $60.00                             $1,051.78
             00000000 019957
             XX1767 POS PURCHASE HEALTHYAWARELIVI
10/01/2021                                                            $39.89                             $1,011.89
             8554573040 TX 00000000 097197
             XX1767 POS PURCHASE 4G ROUTER 35314369001 LT
10/04/2021                                                            $89.00                                $922.89
             00000001 048212
             XX1767 POS PURCHASE STEP DOWN TO NAT NEW
10/04/2021                                                            $64.33                                $858.56
             YORK NY 4 012502
             XX1767 POS PURCHASE CKE* MAMA PHO NEW NEW
10/04/2021                                                            $21.13                                $837.43
             YORK NY 00000000 027149
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
10/04/2021                                                            $20.17                                $817.26
             99999999 802281
             XX1767 POS PURCHASE DD/BR #358915 NEW YORK NY
10/04/2021                                                             $2.93                                $814.33
             3589004 022964
             VISA ISA Fee 4G ROUTER 35314369001 LT 00000001
10/04/2021                                                             $0.89                                $813.44
             048212
             XX1767 POS PURCHASE STEP DOWN TO NAT NEW
10/05/2021                                                          $163.08                                 $650.36
             YORK NY 4 037895
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
10/05/2021                                                            $12.96                                $637.40
             00010003 019245
             XX1767 POS DDA W/D AMAZON.COM* 272XG SEATTLE
10/06/2021                                                            $50.19                                $587.21
             WA 00000101 7GT1EN11XAV6
10/06/2021   XX1767 POS PURCHASE REMI FLOWER & CO NEW                  $9.14                                $578.07




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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                           Debits          Credits              Balance
             YORK NY 00008871 000074
             XX1767 RECUR POS FPMSUPPORT.COM 833-7931659 WI
10/08/2021                                                         $49.95                               $528.12
             00010002 036446
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
10/08/2021                                                         $30.44                               $497.68
             00010003 020149
             XX1767 POS PURCHASE DD/BR #358915 NEW YORK NY
10/08/2021                                                          $4.52                               $493.16
             3589021 000631
             BUSINESS INTERNET TRANSFER FROM XXXXXX2292
10/12/2021                                                                      $10,000.00           $10,493.16
             ON 10/12/21 AT 12:59
             XX1767 POS PURCHASE HERBS THAI BISTR
10/12/2021                                                         $55.53                            $10,437.63
             212-8089388 NY 78350845 040025
             XX1767 POS PURCHASE VITALITYWELLNESS
10/12/2021                                                         $49.00                            $10,388.63
             844-489-1681 FL 00000000 090543
             XX1767 RECUR POS WEB* NETWORKSOLUT
10/12/2021                                                         $31.96                            $10,356.67
             888-6429675 FL 00001000 067787
             XX1767 POS PURCHASE CURB SVC BROOKLY
10/12/2021                                                         $10.56                            $10,346.11
             BROOKLYN NY 07192431 018742
             XX1767 RECUR POS SHOPSMARTER.COM 800-2556355
10/12/2021                                                          $9.97                            $10,336.14
             CT 00001000 045176
             XX1767 RECUR POS plcpayment.com 855-8982434 FL
10/13/2021                                                         $44.00                            $10,292.14
             00000001 089577
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
10/13/2021                                                         $41.40                            $10,250.74
             00010001 018457
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
10/14/2021                                                         $68.92                            $10,181.82
             NY 9DJJV6N0 038049
             XX1767 RECUR POS PLCPAYMENT.COM 855-8982434 FL
10/14/2021                                                         $44.00                            $10,137.82
             00000001 064126
             XX1767 RECUR POS www.cvs.com 800-746-7287 RI
10/14/2021                                                          $5.44                            $10,132.38
             14043511 043511
             XX1767 POS PURCHASE NYPLIBRARYSCHOML
10/15/2021                                                         $52.50                            $10,079.88
             HTTPSWWW.NYPL NY 00000000 047719
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
10/15/2021                                                         $28.74                            $10,051.14
             00010003 022059
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
10/15/2021                                                         $27.17                            $10,023.97
             99999999 536917
             XX1767 RECUR POS WNYC WQXR NJPR N 646-8294000
10/18/2021                                                        $101.00                             $9,922.97
             NY 00001000 065439
             XX1767 POS PURCHASE ANGELETTO 2ND AV NEW
10/18/2021                                                         $50.46                             $9,872.51
             YORK NY 00000000 056486
             XX1767 POS DDA W/D STAPLES 0184 NEW YORK NY
10/18/2021                                                          $9.21                             $9,863.30
             08158673 868728
             XX1767 POS PURCHASE DD/BR #358915 NEW YORK NY
10/18/2021                                                          $2.93                             $9,860.37
             3589021 002709
             XX1767 POS PURCHASE RMG* REGUS 972-340-2021 NY
10/19/2021                                                        $269.60                             $9,590.77
             00000000 042832
             XX1767 POS PURCHASE VAP ECOMZ LLC
10/19/2021                                                         $57.86                             $9,532.91
             VAPECOMZ.COM WY PE9C3JHK 016600
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
10/20/2021                                                         $22.97                             $9,509.94
             00010003 023225
             XX1767 POS PURCHASE COLUMBIA ONLINE
10/21/2021                                                        $180.00                             $9,329.94
             212-853-1919 NY 00000000 058952
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
10/21/2021                                                         $68.92                             $9,261.02
             NY 9DJJV6N0 032638
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
10/21/2021                                                         $21.78                             $9,239.24
             99999999 542433
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
10/21/2021                                                         $20.68                             $9,218.56
             00010001 020796
             XX1767 POS PURCHASE UNITED 0167 800-932-2732 TX
10/22/2021                                                        $840.07                             $8,378.49
             00000000 029621


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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                                 Debits                Credits            Balance
             XX1767 RECUR POS ZOOM.US 888-799- WWW.ZOOM.US
10/22/2021                                                              $115.13                                 $8,263.36
             CA LY1PDA25 084080
             XX1767 POS PURCHASE AGENT FEE 8900 ALPINE TVL &
10/22/2021                                                               $30.00                                 $8,233.36
             TX 45514722 089079
             XX1767 POS PURCHASE CURB SVC WOODSID
10/22/2021                                                               $17.16                                 $8,216.20
             WOODSIDE NY 07192431 046817
             XX1767 POS PURCHASE CURB SVC WOODSID
10/22/2021                                                               $15.96                                 $8,200.24
             WOODSIDE NY 07192431 019783
             XX1767 RECUR POS VZWRLSS* BILL PAY 800-9220204
10/25/2021                                                              $300.04                                 $7,900.20
             CA 36711802 012709
             XX1767 POS PURCHASE SP * HIMALAYA WE
10/25/2021                                                               $66.89                                 $7,833.31
             HTTPSHIMALAYA TX JIAOBR3L 084048
             XX1767 POS DDA W/D MORTON WILLIAMS NEW YORK
10/25/2021                                                               $33.36                                 $7,799.95
             NY 57937101 949699
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
10/25/2021                                                               $26.42                                 $7,773.53
             00010001 021730
             XX1767 POS DDA W/D AMAZON.COM* 2Y3JC SEATTLE
10/25/2021                                                               $23.90                                 $7,749.63
             WA 00000101 1C1OU4ZL67UC
             XX1767 POS PURCHASE SANDWICHERIE OF NEW YORK
10/25/2021                                                               $16.05                                 $7,733.58
             NY 61032491 032491
             XX1767 POS DDA W/D STAPLES 0184 NEW YORK NY
10/25/2021                                                                $6.52                                 $7,727.06
             08158673 986459
             XX1767 POS PURCHASE DD/BR #358915 NEW YORK NY
10/25/2021                                                                $2.93                                 $7,724.13
             3589021 004323
             XX1767 RECUR POS GOFITNESSAPP 866-202-1077 NC
10/26/2021                                                               $19.99                                 $7,704.14
             00000000 005480
             XX1767 POS PURCHASE TAXI SVC ASTORIA ASTORIA
10/26/2021                                                               $10.56                                 $7,693.58
             NY 00375546 046006
             XX1767 POS PURCHASE DD/BR #358915 NEW YORK NY
10/26/2021                                                                $2.93                                 $7,690.65
             3589021 004950
             XX1767 POS PURCHASE VIT* VITAMIN SHOP
10/27/2021                                                               $74.97                                 $7,615.68
             800-223-1216 NJ 00000000 042366
             XX1767 POS PURCHASE OLD NAVY ON-LINE
10/27/2021                                                               $73.09                                 $7,542.59
             800-6536289 OH 70326328 060864
             XX1767 POS DDA W/D AMAZON.COM* RI8HR SEATTLE
10/27/2021                                                               $21.78                                 $7,520.81
             WA 00000101 5EH6ANPU9Q33
             XX1767 RECUR POS ROCKETLAW 877-75
10/28/2021                                                               $39.99                                 $7,480.82
             WWW.ROCKETLAW CA 00000000 067193
             XX1767 POS DDA W/D SQ * 787 COFFEE R NEW YORK
10/29/2021                                                                $7.89                                 $7,472.93
             NY 77827301 130215200053
10/29/2021   SERVICE CHARGE                                              $18.00                                 $7,454.93
10/29/2021   Ending Balance                                                                                     $7,454.93

Daily Balances
Date                           Amount   Date                         Amount       Date                            Amount
10/01/2021                  $1,011.89   10/14/2021                 $10,132.38     10/25/2021                     $7,724.13
10/04/2021                    $813.44   10/15/2021                 $10,023.97     10/26/2021                     $7,690.65
10/05/2021                    $637.40   10/18/2021                  $9,860.37     10/27/2021                     $7,520.81
10/06/2021                    $578.07   10/19/2021                  $9,532.91     10/28/2021                     $7,480.82
10/08/2021                    $493.16   10/20/2021                  $9,509.94     10/29/2021                     $7,454.93
10/12/2021                 $10,336.14   10/21/2021                  $9,218.56
10/13/2021                 $10,250.74   10/22/2021                  $8,200.24




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CLASSIC BUSINESS CHECKING-2060 (continued)
Overdraft and Returned Item Fees
                                                 Total for this period                 Total year-to-date
  Total Overdraft Fees                                          $0.00                                $0.00
  Total Returned Item Fees                                      $0.00                                $0.00


Service Charge Summary
   Description                                                                                    Amount
  TOTAL CHARGE FOR TOTAL ITEMS:                                                                     $18.00
  Total Service Charge                                                                              $18.00




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    4 Bryant Park
    3rd Floor
    New York, NY 10018
    RETURN SERVICE REQUESTED                                      Managing Your Accounts
                                                                       Officer Name     Steve LaFredo

    AARON ETRA ESQ                                                     Office Number    212-266-9200
    445 PARK AVE FL 9
                                                                                        Mon - Fri
    NEW YORK NY 10022-8606                                             Banking Hours
                                                                                        8:30am - 4:30pm EST
                                                                       Online Banking   www.piermontbank.com




 Summary of Accounts
 Account Type                                                   Account Number                      Ending Balance
 CLASSIC BUSINESS CHECKING                                                2060                           $1,155.91


CLASSIC BUSINESS CHECKING-2060
Account Summary
Date         Description                             Amount      Description                                Amount
10/30/2021   Beginning Balance                      $7,454.93    Average Available Balance                 $4,016.42
             0 Credit(s) This Period                    $0.00
             107 Debit(s) This Period               $6,299.02
11/30/2021   Ending Balance                         $1,155.91
             Service Charges                           $40.50

Account Activity
Post Date    Description                                                Debits           Credits              Balance
10/30/2021   Beginning Balance                                                                             $7,454.93
             XX1767 POS PURCHASE KONZUM P-0222 ZAGREB HR
11/01/2021                                                            $129.00                              $7,325.93
             KZ022205 032000
             XX1767 POS PURCHASE GLORIA WAN HAIR NEW YORK
11/01/2021                                                            $100.00                              $7,225.93
             NY 00000000 037517
             XX1767 POS PURCHASE UBER* PENDING
11/01/2021                                                              $94.70                             $7,131.23
             WWW.UBER.COM CA BV69YFNR 094623
             XX1767 POS PURCHASE Shop 4722/ West Schiphol Airp
11/01/2021                                                              $84.44                             $7,046.79
             NL 31465821 097624
             XX1767 POS PURCHASE LITTLE THAI KITC NEW YORK
11/01/2021                                                              $60.53                             $6,986.26
             NY 70000000 060034
             XX1767 POS PURCHASE HEALTHYAWARELIVI
11/01/2021                                                              $39.89                             $6,946.37
             8554573040 TX 00000000 015948
             XX1767 POS PURCHASE CURB SVC LONG IS LONG
11/01/2021                                                              $12.36                             $6,934.01
             ISLAND C NY 07192431 092006
             XX1767 POS PURCHASE CURB SVC BROOKLY
11/01/2021                                                              $10.56                             $6,923.45
             BROOKLYN NY 07192431 092337
             XX1767 POS PURCHASE HMS Host Interna Amsterdam NL
11/01/2021                                                               $9.71                             $6,913.74
             75245516 064872
             XX1767 POS PURCHASE AMZ* 342oea5g2wp
11/01/2021                                                               $7.88                             $6,905.86
             866-508-3558 NY 00000000 000448
             XX1767 POS DDA W/D HBOOKSELLER ST91 ELIZABETH
11/01/2021                                                               $4.25                             $6,901.61
             NJ 25754501 680775
11/01/2021   VISA ISA Fee KONZUM P-0222 ZAGREB HR KZ022205               $1.29                             $6,900.32




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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                                  Debits          Credits              Balance
             032000
             VISA ISA Fee Shop 4722/ West Schiphol Airp NL 31465821
11/01/2021                                                                 $0.84                             $6,899.48
             097624
             VISA ISA Fee HMS Host Interna Amsterdam NL 75245516
11/01/2021                                                                 $0.10                             $6,899.38
             064872
             XX1767 DDA WITHDRAWAL UL GRADA VUKOVARA 2
11/01/2021                                                               $308.28                             $6,591.10
             ZAGREB HR 12087 330931
             VISA ISA Fee UL GRADA VUKOVARA 2 ZAGREB HR
11/01/2021                                                                 $3.13                             $6,587.97
             12087 330931
             XX1767 POS PURCHASE NZZJZ DR A.STAMP ZAGREB
11/02/2021                                                                $88.63                             $6,499.34
             HR V0102266 019202
             VISA ISA Fee NZZJZ DR A.STAMP ZAGREB HR V0102266
11/02/2021                                                                 $0.89                             $6,498.45
             019202
             XX1767 POS PURCHASE TotalAV.com 833-2018681 CA
11/04/2021                                                                $19.00                             $6,479.45
             00000007 019725
             XX1767 POS PURCHASE REED EXHIBITIONS RICHMOND
11/08/2021                                                               $447.33                             $6,032.12
             GB 00000000 086183
             XX1767 POS PURCHASE PBZ9LUMIERE OSIJEK HR
11/08/2021                                                               $214.43                             $5,817.69
             12964880 046269
             XX1767 RECUR POS plcpayment.com 855-8982434 FL
11/08/2021                                                                $44.00                             $5,773.69
             00000001 016868
             XX1767 POS PURCHASE PBZTLUKOILBP OSIJEK HR
11/08/2021                                                                $42.46                             $5,731.23
             12959975 070107
             XX1767 RECUR POS WEB* NETWORKSOLUT
11/08/2021                                                                $31.96                             $5,699.27
             888-6429675 FL 00001000 051792
             XX1767 POS PURCHASE MUZEJ VUCEDOLSKE
11/08/2021                                                                $26.88                             $5,672.39
             VUKOVAR HR 50048760 031000
             XX1767 RECUR POS SHOPSMARTER.COM 800-2556355
11/08/2021                                                                 $9.97                             $5,662.42
             CT 00001000 018271
             XX1767 POS PURCHASE MUZEJ VUCEDOLSKE
11/08/2021                                                                 $7.37                             $5,655.05
             VUKOVAR HR 50048759 025000
             VISA ISA Fee REED EXHIBITIONS RICHMOND GB
11/08/2021                                                                 $4.47                             $5,650.58
             00000000 086183
11/08/2021   VISA ISA Fee PBZ9LUMIERE OSIJEK HR 12964880 046269            $2.14                             $5,648.44
             VISA ISA Fee PBZTLUKOILBP OSIJEK HR 12959975
11/08/2021                                                                 $0.42                             $5,648.02
             070107
             VISA ISA Fee MUZEJ VUCEDOLSKE VUKOVAR HR
11/08/2021                                                                 $0.27                             $5,647.75
             50048760 031000
             VISA ISA Fee MUZEJ VUCEDOLSKE VUKOVAR HR
11/08/2021                                                                 $0.07                             $5,647.68
             50048759 025000
             XX1767 POS PURCHASE PBZ6RECEPCIJA OSIJEK HR
11/09/2021                                                               $444.14                             $5,203.54
             12948428 005764
             XX1767 POS PURCHASE MASTA D.O.O. OSIJEK HR
11/09/2021                                                               $115.80                             $5,087.74
             50109869 042000
             VISA ISA Fee PBZ6RECEPCIJA OSIJEK HR 12948428
11/09/2021                                                                 $4.44                             $5,083.30
             005764
11/09/2021   VISA ISA Fee MASTA D.O.O. OSIJEK HR 50109869 042000           $1.16                             $5,082.14
             XX1767 DDA WITHDRAWAL MAKSIMIRSKA 86 ZAGREB
11/09/2021                                                               $171.86                             $4,910.28
             HR 10737 382401
             VISA ISA Fee MAKSIMIRSKA 86 ZAGREB HR 10737
11/09/2021                                                                 $1.78                             $4,908.50
             382401
             XX1767 RECUR POS VERIZON* ONETIMEP
11/10/2021                                                               $215.66                             $4,692.84
             VERIZON.COM FL 00000000 090923
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
11/10/2021                                                                $68.92                             $4,623.92
             NY 9DJJV6N0 008828
             XX1767 POS PURCHASE PBZTINA SLAVONSKI BRO HR
11/10/2021                                                                $46.59                             $4,577.33
             73110085 075377
             VISA ISA Fee PBZTINA SLAVONSKI BRO HR 73110085
11/10/2021                                                                 $0.47                             $4,576.86
             075377


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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                                   Debits          Credits              Balance
             XX1767 POS PURCHASE DELAWARE CORP &
11/12/2021                                                                $475.67                             $4,101.19
             302-739-3073 DE 01109658 060007
             XX1767 POS PURCHASE UBER TRIP HELP.UBER.COM
11/12/2021                                                                 $76.24                             $4,024.95
             CA 00000000 021884
             XX1767 POS PURCHASE FACTOR75 18885735727 IL
11/12/2021                                                                 $60.00                             $3,964.95
             00000000 079984
             XX1767 POS DDA W/D MORTON WILLIAMS NEW YORK
11/12/2021                                                                 $37.63                             $3,927.32
             NY 57937101 633073
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
11/12/2021                                                                 $25.15                             $3,902.17
             00010004 034059
             XX1767 POS PURCHASE CURB SVC LONG IS LONG
11/12/2021                                                                 $22.56                             $3,879.61
             ISLAND C NY 07192431 007063
             XX1767 POS PURCHASE UBER* TRIP WWW.UBER.COM
11/12/2021                                                                 $13.72                             $3,865.89
             CA BV69YFNR 031718
             XX1767 POS PURCHASE ADFS VELIKA GORIC HR
11/12/2021                                                                 $10.88                             $3,855.01
             50052556 067000
             XX1767 POS PURCHASE Lagardere Fil. 2 Frankfurt-Flu DE
11/12/2021                                                                 $10.16                             $3,844.85
             69701219 029426
             XX1767 POS PURCHASE CAFFE NERO DEPAR VELIKA
11/12/2021                                                                  $6.93                             $3,837.92
             GORIC HR 72107655 023000
11/12/2021   VISA ISA Fee ADFS VELIKA GORIC HR 50052556 067000              $0.11                             $3,837.81
             VISA ISA Fee Lagardere Fil. 2 Frankfurt-Flu DE 69701219
11/12/2021                                                                  $0.10                             $3,837.71
             029426
             VISA ISA Fee CAFFE NERO DEPAR VELIKA GORIC HR
11/12/2021                                                                  $0.07                             $3,837.64
             72107655 023000
             XX1767 POS PURCHASE TST* ISABELLE'S NEW YORK
11/15/2021                                                                 $82.78                             $3,754.86
             NY 74691515 091515
             XX1767 POS PURCHASE STEP DOWN TO NAT NEW
11/15/2021                                                                 $62.92                             $3,691.94
             YORK NY 4 090095
             XX1767 POS DDA W/D MORTON WILLIAMS NEW YORK
11/15/2021                                                                 $22.36                             $3,669.58
             NY 57937101 800583
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
11/15/2021                                                                 $20.18                             $3,649.40
             99999999 841066
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
11/15/2021                                                                 $18.05                             $3,631.35
             00010001 027045
             XX1767 POS PURCHASE NYC TAXI 1246 12 LONG
11/15/2021                                                                 $15.80                             $3,615.55
             ISLAND C NY 467 072051
             XX1767 POS PURCHASE CURB SVC LONG IS LONG
11/15/2021                                                                 $15.36                             $3,600.19
             ISLAND C NY 07192431 085580
             XX1767 POS PURCHASE TURTLE BAY DRY C NEW YORK
11/15/2021                                                                 $12.00                             $3,588.19
             NY 00000000 008159
             XX1767 POS DDA W/D SQ * 787 COFFEE R NEW YORK
11/15/2021                                                                 $10.31                             $3,577.88
             NY 77827301 131917376643
             XX1767 POS PURCHASE SKYPE.COM/GO/BIL
11/15/2021                                                                 $10.00                             $3,567.88
             Luxembourg LU 00000000 098585
             XX1767 RECUR POS www.cvs.com 800-746-7287 RI
11/15/2021                                                                  $5.44                             $3,562.44
             19668502 068502
             VISA ISA Fee SKYPE.COM/GO/BIL Luxembourg LU
11/15/2021                                                                  $0.10                             $3,562.34
             00000000 098585
             XX1767 RECUR POS VERIZON* ONETIMEP
11/16/2021                                                                $215.66                             $3,346.68
             VERIZON.COM FL 00000000 052379
             XX1767 POS PURCHASE NEW YORK PRESBYT
11/16/2021                                                                 $28.79                             $3,317.89
             866-252-0101 NY 00000000 034982
             XX1767 POS PURCHASE NYC TAXI 1246 12 LONG
11/16/2021                                                                 $12.80                             $3,305.09
             ISLAND C NY 467 041149
             XX1767 RECUR POS WNYC WQXR NJPR N 646-8294000
11/17/2021                                                                $101.00                             $3,204.09
             NY 00001000 070518
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
11/17/2021                                                                 $70.41                             $3,133.68
             NY 9DJJV6N0 098639


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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                            Debits          Credits              Balance
             XX1767 POS PURCHASE FACTOR75 18885735727 IL
11/18/2021                                                          $60.00                             $3,073.68
             00000000 008017
             XX1767 POS PURCHASE CURB SVC QUEENS QUEENS
11/18/2021                                                          $15.36                             $3,058.32
             NY 07192431 055365
             XX1767 POS DDA W/D SQ * 787 COFFEE R NEW YORK
11/18/2021                                                           $9.33                             $3,048.99
             NY 77827301 132122162021
             XX1767 POS PURCHASE NY PRSBT AUBONPA NEW
11/18/2021                                                           $3.15                             $3,045.84
             YORK NY 00000000 034481
             XX1767 POS PURCHASE RMG* REGUS 972-340-2021 NY
11/19/2021                                                         $260.00                             $2,785.84
             00000000 009839
             XX1767 POS PURCHASE CONGREGATION KEH
11/19/2021                                                         $150.00                             $2,635.84
             212-774-5620 NY 57925791 025791
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
11/19/2021                                                          $22.40                             $2,613.44
             00010004 036759
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
11/19/2021                                                          $20.18                             $2,593.26
             99999999 958894
             XX1767 POS PURCHASE NYC TAXI 1246 12 LONG
11/19/2021                                                          $12.30                             $2,580.96
             ISLAND C NY 467 033528
             XX1767 POS PURCHASE DRI* FITBIT LLC 877-623-4997
11/22/2021                                                         $108.82                             $2,472.14
             MN 00004876 000944
             XX1767 POS PURCHASE AMERICAN BIOTECH
11/22/2021                                                          $83.90                             $2,388.24
             801-7561000 UT 78706918 016341
             XX1767 POS DDA W/D SQ * AMMA NEW YORK NY
11/22/2021                                                          $54.22                             $2,334.02
             77827301 132502238703
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
11/22/2021                                                          $25.63                             $2,308.39
             00010003 030976
             XX1767 POS DDA W/D SQ * BUTTERCUP 2N NEW YORK
11/22/2021                                                          $14.40                             $2,293.99
             NY 77827301 132502244796
             XX1767 POS PURCHASE VIT* VITAMIN SHOP
11/23/2021                                                          $71.98                             $2,222.01
             800-223-1216 NJ 00000000 019795
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
11/24/2021                                                          $70.41                             $2,151.60
             NY 9DJJV6N0 015694
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
11/24/2021                                                          $30.45                             $2,121.15
             00010002 030217
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
11/24/2021                                                          $15.97                             $2,105.18
             99999999 561555
             XX1767 POS PURCHASE STARBUCKS STORE NEW
11/24/2021                                                          $12.41                             $2,092.77
             YORK NY 00000000 042888
             XX1767 POS PURCHASE CURB SVC BROOKLY
11/24/2021                                                          $11.16                             $2,081.61
             BROOKLYN NY 07192431 088437
             XX1767 RECUR POS VZWRLSS* BILL PAY 800-9220204
11/26/2021                                                         $278.23                             $1,803.38
             CA 36711802 013190
             XX1767 POS PURCHASE FACTOR75 18885735727 IL
11/26/2021                                                          $60.00                             $1,743.38
             00000000 005128
             XX1767 POS DDA W/D SQ * BUTTERCUP 2N NEW YORK
11/26/2021                                                          $54.00                             $1,689.38
             NY 77827301 132819141065
             XX1767 POS PURCHASE STEP DOWN TO NAT NEW
11/26/2021                                                          $21.96                             $1,667.42
             YORK NY 4 084018
             XX1767 RECUR POS GOFITNESSAPP 866-202-1077 NC
11/26/2021                                                          $19.99                             $1,647.43
             00000000 068060
             XX1767 POS PURCHASE DD DOORDASH THET
11/29/2021                                                          $99.52                             $1,547.91
             855-973-1040 CA 00000000 060710
             XX1767 POS PURCHASE AMERICAN BIOTECH
11/29/2021                                                          $81.13                             $1,466.78
             801-7561000 UT 78706918 086561
             XX1767 POS PURCHASE POOK USA INC NEW YORK NY
11/29/2021                                                          $80.00                             $1,386.78
             00006440 000150
             XX1767 POS PURCHASE NIRVANNA DESIGNS LIC NY 5
11/29/2021                                                          $40.00                             $1,346.78
             007246
             XX1767 POS PURCHASE SP * LIKHA 164-69264628 CA
11/29/2021                                                          $38.11                             $1,308.67
             IZWCEE2A 054020


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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date     Description                                                 Debits                Credits            Balance
              XX1767 POS PURCHASE TST* LE PAIN QUO NEW YORK
11/29/2021                                                                $18.34                                 $1,290.33
              NY 00000000 024262
              XX1767 POS DDA W/D SQ * SWEET TOOTH NEW YORK
11/29/2021                                                                 $7.96                                 $1,282.37
              NY 77827301 133220335137
              XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
11/30/2021                                                                $46.07                                 $1,236.30
              00010003 032712
              XX1767 POS PURCHASE HEALTHYAWARELIVI
11/30/2021                                                                $39.89                                 $1,196.41
              8554573040 TX 00000000 039961
11/30/2021    SERVICE CHARGE                                              $40.50                                 $1,155.91
11/30/2021    Ending Balance                                                                                     $1,155.91

Daily Balances
Date                           Amount     Date                        Amount       Date                            Amount
11/01/2021                    $6,587.97   11/12/2021                 $3,837.64     11/22/2021                     $2,293.99
11/02/2021                    $6,498.45   11/15/2021                 $3,562.34     11/23/2021                     $2,222.01
11/04/2021                    $6,479.45   11/16/2021                 $3,305.09     11/24/2021                     $2,081.61
11/08/2021                    $5,647.68   11/17/2021                 $3,133.68     11/26/2021                     $1,647.43
11/09/2021                    $4,908.50   11/18/2021                 $3,045.84     11/29/2021                     $1,282.37
11/10/2021                    $4,576.86   11/19/2021                 $2,580.96     11/30/2021                     $1,155.91


Overdraft and Returned Item Fees
                                                          Total for this period                      Total year-to-date
   Total Overdraft Fees                                                   $0.00                                   $0.00
   Total Returned Item Fees                                               $0.00                                   $0.00


Service Charge Summary
   Description                                                                                                 Amount
   TOTAL CHARGE FOR TOTAL ITEMS:                                                                                 $40.50
   Total Service Charge                                                                                          $40.50




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                                                                                                      Page 1 of 4
    4 Bryant Park
    3rd Floor
    New York, NY 10018
    RETURN SERVICE REQUESTED                                   Managing Your Accounts
                                                                    Officer Name     Steve LaFredo

    AARON ETRA ESQ                                                  Office Number    212-266-9200
    445 PARK AVE FL 9
                                                                                     Mon - Fri
    NEW YORK NY 10022-8606                                          Banking Hours
                                                                                     8:30am - 4:30pm EST
                                                                    Online Banking   www.piermontbank.com




 Summary of Accounts
 Account Type                                                Account Number                     Ending Balance
 CLASSIC BUSINESS CHECKING                                             2060                          $1,146.65


CLASSIC BUSINESS CHECKING-2060
Account Summary
Date         Description                          Amount      Description                                  Amount
12/01/2021   Beginning Balance                   $1,155.91    Average Available Balance                    $686.27
             1 Credit(s) This Period             $1,000.00
             24 Debit(s) This Period             $1,009.26
12/31/2021   Ending Balance                      $1,146.65
             Service Charges                        $25.00

Account Activity
Post Date    Description                                             Debits           Credits              Balance
12/01/2021   Beginning Balance                                                                          $1,155.91
             XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
12/01/2021                                                           $56.14                             $1,099.77
             NY 9DJJV6N0 014475
12/01/2021   APPLECARD GSBANK PAYMENT 21617965                       $28.25                             $1,071.52
             XX1767 POS PURCHASE WCMC-WCC 855-8800343 NY
12/02/2021                                                         $117.90                                 $953.62
             77110149 071696
             XX1767 POS PURCHASE FACTOR75 18885735727 IL
12/02/2021                                                           $60.00                                $893.62
             00000000 024426
             XX1767 POS DDA W/D AMREENS HALLMARK NEW YORK
12/02/2021                                                           $48.92                                $844.70
             NY 06410001 133615001457
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
12/02/2021                                                           $25.92                                $818.78
             99999999 636006
             XX1767 POS DDA W/D AMAZON.COM* U60MG SEATTLE
12/02/2021                                                           $25.02                                $793.76
             WA 00000101 6ZM62K7P91NL
             XX1767 POS DDA W/D AMAZON.COM* 7B7VQ SEATTLE
12/02/2021                                                           $21.72                                $772.04
             WA 00000101 3PGDJ8YVK8X1
             XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
12/02/2021                                                           $14.39                                $757.65
             00010006 007902
             XX1767 RECUR POS plcpayment.com 855-8982434 FL
12/06/2021                                                           $44.00                                $713.65
             00000001 022611
             XX1767 POS DDA W/D Duane Reade STO NEW YORK NY
12/06/2021                                                           $36.09                                $677.56
             99999999 619046
             XX1767 RECUR POS WEB* NETWORKSOLUT
12/06/2021                                                           $31.96                                $645.60
             888-6429675 FL 00001000 051274




       75C7DD08A8B93446B42757B27779E087            20211231             Checking Account Statements
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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date     Description                                                Debits               Credits            Balance
              XX1767 POS PURCHASE CURB SVC LONG IS LONG
12/06/2021                                                               $26.76                                  $618.84
              ISLAND C NY 07192431 047190
              XX1767 POS DDA W/D AMISH MARKET NEW YORK NY
12/06/2021                                                               $25.96                                  $592.88
              00010002 032815
              XX1767 POS PURCHASE UBER TRIP HELP.UBER.COM
12/06/2021                                                               $21.18                                  $571.70
              CA 00000000 039051
              XX1767 POS PURCHASE NYC TAXI 1246 12 LONG
12/06/2021                                                               $18.05                                  $553.65
              ISLAND C NY 467 046298
              XX1767 POS PURCHASE NYC TAXI 1246 12 LONG
12/06/2021                                                               $16.80                                  $536.85
              ISLAND C NY 467 011695
              XX1767 POS DDA W/D BLOOMYS 001 NEW YORK NY
12/07/2021                                                              $194.40                                  $342.45
              D0010551 009621
              XX1767 POS PURCHASE BARNACHO NEW YORK NY
12/07/2021                                                               $38.16                                  $304.29
              77616452 030154
              XX1767 POS DDA W/D BLOOMYS 001 NEW YORK NY
12/07/2021                                                               $28.47                                  $275.82
              D0010551 009619
              XX1767 RECUR POS FRESHLY.COM HTTPSWWW.FRES
12/08/2021                                                               $68.92                                  $206.90
              NY 9DJJV6N0 091954
              XX1767 POS PURCHASE TST* DAN JONES C NEW YORK
12/08/2021                                                                $5.25                                  $201.65
              NY 66921193 021193
12/16/2021    Domesitic wire fee 3639                                    $30.00                                  $171.65
              BUSINESS INTERNET TRANSFER FROM XXXXXX2292
12/20/2021                                                                                $1,000.00            $1,171.65
              ON 12/20/21 AT 12:39
12/31/2021    SERVICE CHARGE                                             $25.00                                $1,146.65
12/31/2021    Ending Balance                                                                                   $1,146.65

Daily Balances
Date                           Amount     Date                       Amount      Date                            Amount
12/01/2021                    $1,071.52   12/07/2021                 $275.82     12/20/2021                     $1,171.65
12/02/2021                      $757.65   12/08/2021                 $201.65     12/31/2021                     $1,146.65
12/06/2021                      $536.85   12/16/2021                 $171.65


Overdraft and Returned Item Fees
                                                         Total for this period                     Total year-to-date
   Total Overdraft Fees                                                 $0.00                                   $0.00
   Total Returned Item Fees                                             $0.00                                   $0.00


Service Charge Summary
   Description                                                                                               Amount
   TOTAL CHARGE FOR Account Maintenance:                                                                       $25.00
   Total Service Charge                                                                                        $25.00




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75C7DD08A8B93446B42757B27779E087            20211231             Checking Account Statements
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       4 Bryant Park
       3rd Floor
       New York, NY 10018
       RETURN SERVICE REQUESTED                                               Managing Your Accounts
                                                                                   Officer Name          Steve LaFredo

       AARON ETRA ESQ                                                              Office Number         212-266-9200
       445 PARK AVE FL 9
                                                                                                         Mon - Fri
       NEW YORK NY 10022-8606                                                      Banking Hours
                                                                                                         8:30am - 4:30pm EST
                                                                                   Online Banking        www.piermontbank.com




 Summary of Accounts
 Account Type                                                               Account Number                          Ending Balance
 CLASSIC BUSINESS CHECKING                                                            2060                                 $951.14


CLASSIC BUSINESS CHECKING-2060
Account Summary
Date            Description                                      Amount      Description                                       Amount
01/01/2022      Beginning Balance                               $1,146.65    Average Available Balance                         $994.88
                0 Credit(s) This Period                             $0.00
                3 Debit(s) This Period                           $195.51
01/31/2022      Ending Balance                                    $951.14
                Service Charges                                    $25.00

Account Activity
Post Date      Description                                                          Debits               Credits               Balance
01/01/2022     Beginning Balance                                                                                           $1,146.65
01/03/2022     APPLECARD GSBANK PAYMENT 21617965                                  $140.51                                  $1,006.14
01/11/2022     Domesitic wire fee 3842                                             $30.00                                    $976.14
01/31/2022     SERVICE CHARGE                                                      $25.00                                    $951.14
01/31/2022     Ending Balance                                                                                               $951.14

Daily Balances
Date                               Amount      Date                            Amount       Date                               Amount
01/03/2022                        $1,006.14    01/11/2022                       $976.14     01/31/2022                          $951.14


Overdraft and Returned Item Fees
                                              Total for this period         Total year-to-date             Previous year-to-date
   Total Overdraft Fees                                      $0.00                          $0.00                              $0.00

   Total Returned Item Fees                                  $0.00                          $0.00                              $0.00




         9BCB4C0C0AEC094C9D613E66510F4068                         20220131                Checking Account Statements
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9BCB4C0C0AEC094C9D613E66510F4068           20220131         Checking Account Statements
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CLASSIC BUSINESS CHECKING-2060 (continued)
Service Charge Summary
   Description                                                                                   Amount
  TOTAL CHARGE FOR Account Maintenance:                                                            $25.00
  Total Service Charge                                                                             $25.00




      9BCB4C0C0AEC094C9D613E66510F4068            20220131         Checking Account Statements
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9BCB4C0C0AEC094C9D613E66510F4068           20220131             Checking Account Statements
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                                                                                                                     Page 1 of 2
       4 Bryant Park
       3rd Floor
       New York, NY 10018
       RETURN SERVICE REQUESTED                                             Managing Your Accounts
                                                                                  Officer Name     Steve LaFredo

       AARON ETRA ESQ                                                             Office Number    212-266-9200
       445 PARK AVE FL 9
                                                                                                   Mon - Fri
       NEW YORK NY 10022-8606                                                     Banking Hours
                                                                                                   8:30am - 4:30pm EST
                                                                                  Online Banking   www.piermontbank.com




 Summary of Accounts
 Account Type                                                             Account Number                        Ending Balance
 CLASSIC BUSINESS CHECKING                                                          2060                               $926.14


CLASSIC BUSINESS CHECKING-2060
Account Summary
Date            Description                                     Amount      Description                                  Amount
02/01/2022      Beginning Balance                               $951.14     Average Available Balance                    $951.14
                0 Credit(s) This Period                           $0.00
                1 Debit(s) This Period                           $25.00
02/28/2022      Ending Balance                                  $926.14
                Service Charges                                  $25.00

Account Activity
Post Date      Description                                                         Debits           Credits              Balance
02/01/2022     Beginning Balance                                                                                         $951.14
02/28/2022     SERVICE CHARGE                                                      $25.00                                $926.14
02/28/2022     Ending Balance                                                                                            $926.14

Daily Balances
Date                               Amount
02/28/2022                         $926.14


Overdraft and Returned Item Fees
                                             Total for this period        Total year-to-date            Previous year-to-date
   Total Overdraft Fees                                     $0.00                       $0.00                            $0.00

   Total Returned Item Fees                                 $0.00                       $0.00                            $0.00


Service Charge Summary
   Description                                                                                                       Amount
   TOTAL CHARGE FOR Account Maintenance:                                                                               $25.00
   Total Service Charge                                                                                                $25.00




         195217C3CEB5FF4AAA0FAEB1ECC8AA16                        20220228             Checking Account Statements
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195217C3CEB5FF4AAA0FAEB1ECC8AA16           20220228         Checking Account Statements
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       4 Bryant Park
       3rd Floor
       New York, NY 10018
       RETURN SERVICE REQUESTED                                         Managing Your Accounts
                                                                              Officer Name          Steve LaFredo

       AARON ETRA ESQ                                                         Office Number         212-266-9200
       445 PARK AVE FL 9
                                                                                                    Mon - Fri
       NEW YORK NY 10022-8606                                                 Banking Hours
                                                                                                    8:30am - 4:30pm EST
                                                                              Online Banking        www.piermontbank.com




 Summary of Accounts
 Account Type                                                         Account Number                           Ending Balance
 CLASSIC BUSINESS CHECKING                                                      2060                                $7,508.16


CLASSIC BUSINESS CHECKING-2060
Account Summary
Date            Description                                Amount
03/01/2022      Beginning Balance                           $926.14
                1 Credit(s) This Period                   $7,000.00
                4 Debit(s) This Period                      $417.98
03/31/2022      Ending Balance                            $7,508.16

Account Activity
Post Date      Description                                                    Debits                Credits               Balance
03/01/2022     Beginning Balance                                                                                       $926.14
03/01/2022     APPLECARD GSBANK PAYMENT 21617965                              $28.33                                   $897.81
03/24/2022     Checking Account Transfer from DDA 0362                                          $7,000.00             $7,897.81
               XX2369 DDA WITHDRAWAL MAKSIMIRSKA 88 ZAGREB
03/30/2022                                                                   $293.11                                  $7,604.70
               HR 10779 150947
               VISA ISA Fee MAKSIMIRSKA 88 ZAGREB HR 10779
03/30/2022                                                                     $2.98                                  $7,601.72
               150947
03/30/2022     APPLECARD GSBANK PAYMENT 21617965                              $93.56                                  $7,508.16
03/31/2022     Ending Balance                                                                                         $7,508.16

Daily Balances
Date                               Amount    Date                        Amount        Date                               Amount
03/01/2022                         $897.81   03/24/2022                  $7,897.81     03/30/2022                      $7,508.16


Overdraft and Returned Item Fees
                                                             Total for this period                        Total year-to-date
   Total Overdraft Fees                                                       $0.00                                       $0.00
   Total Returned Item Fees                                                   $0.00                                       $0.00




         147FCA7AA395D041A4643495900CF955                   20220331                 Checking Account Statements
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                                                                                                        Page 1 of 4
    4 Bryant Park
    3rd Floor
    New York, NY 10018
    RETURN SERVICE REQUESTED                                    Managing Your Accounts
                                                                      Officer Name     Steve LaFredo

    AARON ETRA ESQ                                                    Office Number    212-266-9200
    445 PARK AVE FL 9
                                                                                       Mon - Fri
    NEW YORK NY 10022-8606                                            Banking Hours
                                                                                       8:30am - 4:30pm EST
                                                                      Online Banking   www.piermontbank.com




 Summary of Accounts
 Account Type                                                 Account Number                      Ending Balance
 CLASSIC BUSINESS CHECKING                                              2060                           $9,744.13


CLASSIC BUSINESS CHECKING-2060
Account Summary
Date         Description                           Amount       Description                                Amount
04/01/2022   Beginning Balance                    $7,508.16     Average Available Balance                 $6,068.04
             1 Credit(s) This Period              $5,000.00
             35 Debit(s) This Period              $2,764.03
04/29/2022   Ending Balance                       $9,744.13
             Service Charges                          $4.50

Account Activity
Post Date    Description                                               Debits           Credits              Balance
04/01/2022   Beginning Balance                                                                            $7,508.16
             XX2369 POS PURCHASE NZZJZ DR A.STAMP ZAGREB
04/01/2022                                                             $63.96                             $7,444.20
             HR V0102266 021202
             VISA ISA Fee NZZJZ DR A.STAMP ZAGREB HR V0102266
04/01/2022                                                              $0.64                             $7,443.56
             021202
             XX2369 DDA WITHDRAWAL MAKSIMIRSKA 88 ZAGREB
04/01/2022                                                           $439.91                              $7,003.65
             HR 10779 162794
             VISA ISA Fee MAKSIMIRSKA 88 ZAGREB HR 10779
04/01/2022                                                              $4.45                             $6,999.20
             162794
             XX2369 POS PURCHASE KONZUM P-0222 ZAGREB HR
04/04/2022                                                           $166.56                              $6,832.64
             KZ022210 082000
             XX2369 POS PURCHASE RESTORAN TAJER ZAGREB HR
04/04/2022                                                           $108.01                              $6,724.63
             50108820 068000
             XX2369 POS PURCHASE VRUTAK DOO ZAGREB HR
04/04/2022                                                             $90.69                             $6,633.94
             50039021 012000
             XX2369 POS PURCHASE KINESKI RESTORAN ZAGREB
04/04/2022                                                             $48.98                             $6,584.96
             HR 50056153 055000
             XX2369 POS PURCHASE ASIA GOLD ZAGREB HR
04/04/2022                                                             $34.20                             $6,550.76
             22817647 000202
             XX2369 POS PURCHASE PET NETWORK ZAGREB HR
04/04/2022                                                             $23.21                             $6,527.55
             RB030158 017100
             VISA ISA Fee KONZUM P-0222 ZAGREB HR KZ022210
04/04/2022                                                              $1.67                             $6,525.88
             082000
04/04/2022   VISA ISA Fee RESTORAN TAJER ZAGREB HR 50108820             $1.08                             $6,524.80




       35C6DBB59FAFD44E9D4C0E3486609DDC              20220429             Checking Account Statements
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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                               Debits                Credits            Balance
             068000
             VISA ISA Fee VRUTAK DOO ZAGREB HR 50039021
04/04/2022                                                              $0.91                                 $6,523.89
             012000
             VISA ISA Fee KINESKI RESTORAN ZAGREB HR 50056153
04/04/2022                                                              $0.49                                 $6,523.40
             055000
04/04/2022   VISA ISA Fee ASIA GOLD ZAGREB HR 22817647 000202           $0.34                                 $6,523.06
             VISA ISA Fee PET NETWORK ZAGREB HR RB030158
04/04/2022                                                              $0.23                                 $6,522.83
             017100
             XX2369 POS PURCHASE ADFS VELIKA GORIC HR
04/05/2022                                                              $7.97                                 $6,514.86
             50052556 047000
             XX2369 POS PURCHASE COFFEE FELLOWS F
04/05/2022                                                              $4.60                                 $6,510.26
             FRANKFURT DE 69136455 021096
04/05/2022   VISA ISA Fee ADFS VELIKA GORIC HR 50052556 047000          $0.08                                 $6,510.18
             VISA ISA Fee COFFEE FELLOWS F FRANKFURT DE
04/05/2022                                                              $0.05                                 $6,510.13
             69136455 021096
             XX2369 POS DDA W/D AMISH MARKET NEW YORK NY
04/13/2022                                                             $31.32                                 $6,478.81
             00010003 072447
             XX2369 POS PURCHASE ASSOCIATION OF Y
04/14/2022                                                            $972.00                                 $5,506.81
             203-4321886 CT 29216999 035395
             XX2369 POS DDA W/D AMISH MARKET NEW YORK NY
04/15/2022                                                             $17.55                                 $5,489.26
             00010002 067490
             XX2369 POS PURCHASE BEACH CAFE NEW YORK NY
04/18/2022                                                             $63.50                                 $5,425.76
             00972807 077398
             XX2369 POS DDA W/D MORTON WILLIAMS NEW YORK
04/18/2022                                                             $35.27                                 $5,390.49
             NY 57937101 185257
             XX2369 POS PURCHASE CURB SVC QUEENS QUEENS
04/18/2022                                                             $15.36                                 $5,375.13
             NY 07192431 053329
             XX2369 POS PURCHASE CURB SVC QUEENS QUEENS
04/18/2022                                                             $13.56                                 $5,361.57
             NY 07192431 088140
             XX2369 POS PURCHASE NYC TAXI 1246 12 LONG
04/18/2022                                                             $10.80                                 $5,350.77
             ISLAND C NY 467 042386
             XX2369 POS PURCHASE WYOMING SECRETAR
04/19/2022                                                             $62.00                                 $5,288.77
             307-7775847 WY 11696999 073507
             XX2369 POS DDA W/D Duane Reade STO NEW YORK NY
04/27/2022                                                             $13.48                                 $5,275.29
             99999999 559839
04/27/2022   Incoming Wire Fee 56518628                                $15.00                                 $5,260.29
             XX2369 POS PURCHASE SQ * SAMASCOTT OR New York
04/28/2022                                                              $6.85                                 $5,253.44
             NY 00000000 007335
             XX2369 POS PURCHASE SQ * PINK MOOSE U New York
04/28/2022                                                              $4.81                                 $5,248.63
             NY 00000000 021326
             BUSINESS INTERNET TRANSFER FROM XXXXXX2292
04/29/2022                                                                               $5,000.00           $10,248.63
             ON 4/29/22 AT 10:36
04/29/2022   CommerceWest New Acct                                    $500.00                                 $9,748.63
04/29/2022   SERVICE CHARGE                                             $4.50                                 $9,744.13
04/29/2022   Ending Balance                                                                                   $9,744.13

Daily Balances
Date                           Amount   Date                       Amount       Date                            Amount
04/01/2022                 $6,999.20    04/14/2022                $5,506.81     04/27/2022                     $5,260.29
04/04/2022                 $6,522.83    04/15/2022                $5,489.26     04/28/2022                     $5,248.63
04/05/2022                 $6,510.13    04/18/2022                $5,350.77     04/29/2022                     $9,744.13
04/13/2022                 $6,478.81    04/19/2022                $5,288.77




       35C6DBB59FAFD44E9D4C0E3486609DDC                20220429               Checking Account Statements
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CLASSIC BUSINESS CHECKING-2060 (continued)
Overdraft and Returned Item Fees
                                                 Total for this period                 Total year-to-date
  Total Overdraft Fees                                          $0.00                                $0.00
  Total Returned Item Fees                                      $0.00                                $0.00


Service Charge Summary
   Description                                                                                    Amount
  TOTAL CHARGE FOR TOTAL ITEMS:                                                                      $4.50
  Total Service Charge                                                                               $4.50




      35C6DBB59FAFD44E9D4C0E3486609DDC           20220429           Checking Account Statements
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                                                                                                        Page 1 of 4
    4 Bryant Park
    3rd Floor
    New York, NY 10018
    RETURN SERVICE REQUESTED                                    Managing Your Accounts
                                                                      Email            clientcare@piermontbank.com

    AARON ETRA ESQ                                                    Office Number    212-266-9200
    445 PARK AVE FL 9
                                                                                       Mon - Fri
    NEW YORK NY 10022-8606                                            Banking Hours
                                                                                       8:30am - 4:30pm EST
                                                                      Online Banking   www.piermontbank.com




 Summary of Accounts
 Account Type                                                 Account Number                      Ending Balance
 CLASSIC BUSINESS CHECKING                                              2060                           $5,172.62


CLASSIC BUSINESS CHECKING-2060
Account Summary
Date         Description                           Amount       Description                                Amount
04/30/2022   Beginning Balance                    $9,744.13     Average Available Balance                 $7,184.60
             0 Credit(s) This Period                  $0.00
             43 Debit(s) This Period              $4,571.51
05/31/2022   Ending Balance                       $5,172.62
             Service Charges                          $8.50

Account Activity
Post Date    Description                                               Debits           Credits              Balance
04/30/2022   Beginning Balance                                                                            $9,744.13
             XX2369 POS PURCHASE THEA DEVELOPMENT
05/02/2022                                                              $5.00                             $9,739.13
             111-9129770 NY 00010001 088188
05/02/2022   AMEX EPAYMENT ACH PMT W0472                            $2,000.00                             $7,739.13
05/02/2022   APPLECARD GSBANK PAYMENT 21617965                         $63.50                             $7,675.63
             XX2369 PURCHASE-SIG STEP DOWN TO NAT NEW
05/05/2022                                                             $73.51                             $7,602.12
             YORK NY 5 030706
             XX2369 PURCHASE-SIG SQ * SAMASCOTT OR New York
05/05/2022                                                              $7.70                             $7,594.42
             NY 00000000 057134
             XX2369 PURCHASE-PIN AMISH MARKET NEW YORK NY
05/06/2022                                                             $28.80                             $7,565.62
             00010003 080382
             XX2369 PURCHASE-SIG DUANE READE #142 NEW YORK
05/06/2022                                                             $19.18                             $7,546.44
             NY 00000000 007797
             XX2369 PURCHASE-PIN Duane Reade STO NEW YORK
05/09/2022                                                             $27.57                             $7,518.87
             NY 99999999 708345
             XX2369 PURCHASE-SIG NYC TAXI 1246 12 LONG ISLAND
05/09/2022                                                             $14.30                             $7,504.57
             C NY 467 003717
             XX2369 PURCHASE-SIG DD/BR #358915 NEW YORK NY
05/10/2022                                                              $3.26                             $7,501.31
             3589021 046561
             XX2369 PURCHASE-PIN AMISH MARKET NEW YORK NY
05/16/2022                                                             $20.19                             $7,481.12
             00010004 085291
             XX2369 PURCHASE-SIG NYC TAXI 1246 12 LONG ISLAND
05/16/2022                                                             $13.30                             $7,467.82
             C NY 467 067497




       374A3ECCC488CE47A631E73C0585539C              20220531             Checking Account Statements
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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date    Description                                             Debits          Credits              Balance
             XX2369 PURCHASE-SIG CURB SVC NEW YOR QUEENS
05/17/2022                                                           $15.36                             $7,452.46
             NY 07192431 045158
             XX2369 PURCHASE-SIG NYC TAXI 1246 12 LONG ISLAND
05/17/2022                                                           $11.05                             $7,441.41
             C NY 467 046053
             XX2369 PURCHASE-PIN Duane Reade STO NEW YORK
05/18/2022                                                           $67.57                             $7,373.84
             NY 99999999 609888
             XX2369 ATM WITHDRAWAL 852 2ND AVE NEW YORK NY
05/18/2022                                                          $200.00                             $7,173.84
             AXD34228 000370
             XX2369 PURCHASE-SIG BARNACHO NEW YORK NY
05/19/2022                                                           $94.66                             $7,079.18
             77616452 060066
             XX2369 PURCHASE-SIG SQ * SAMASCOTT OR New York
05/19/2022                                                            $6.80                             $7,072.38
             NY 00000000 039669
             XX2369 PURCHASE-PIN MORTON WILLIAMS NEW YORK
05/23/2022                                                           $35.91                             $7,036.47
             NY 57937101 732919
             XX2369 PURCHASE-PIN AMISH MARKET NEW YORK NY
05/23/2022                                                           $33.13                             $7,003.34
             00010004 088279
             XX2369 PURCHASE-SIG CURB SVC QUEENS QUEENS
05/23/2022                                                           $32.76                             $6,970.58
             NY 07192431 002428
             XX2369 PURCHASE-SIG CURB SVC LONG IS QUEENS
05/23/2022                                                           $23.16                             $6,947.42
             NY 07192431 072386
             XX2369 PURCHASE-PIN Duane Reade STO NEW YORK
05/24/2022                                                            $7.66                             $6,939.76
             NY 99999999 925007
             XX2369 ATM WITHDRAWAL 852 2ND AVE NEW YORK NY
05/24/2022                                                          $400.00                             $6,539.76
             AXD34228 000919
             XX2369 PURCHASE-SIG Flgh .Muenchen D Munchen DE
05/26/2022                                                           $14.30                             $6,525.46
             65392275 016586
             VISA ISA Fee Flgh .Muenchen D Munchen DE 65392275
05/26/2022                                                            $0.14                             $6,525.32
             016586
             XX2369 ATM WITHDRAWAL UL GRADA VUKOVARA 2
05/26/2022                                                          $283.26                             $6,242.06
             ZAGREB HR 12087 173292
             VISA ISA Fee UL GRADA VUKOVARA 2 ZAGREB HR
05/26/2022                                                            $2.88                             $6,239.18
             12087 173292
             XX2369 PURCHASE-SIG RESTORAN TAJER ZAGREB HR
05/27/2022                                                          $352.67                             $5,886.51
             50108820 006000
             XX2369 PURCHASE-SIG KONZUM P-0222 ZAGREB HR
05/27/2022                                                          $174.66                             $5,711.85
             KZ022213 090000
             VISA ISA Fee RESTORAN TAJER ZAGREB HR 50108820
05/27/2022                                                            $3.53                             $5,708.32
             006000
             VISA ISA Fee KONZUM P-0222 ZAGREB HR KZ022213
05/27/2022                                                            $1.75                             $5,706.57
             090000
             XX2369 PURCHASE-SIG VRUTAK DOO ZAGREB HR
05/31/2022                                                           $97.16                             $5,609.41
             50039021 055000
             XX2369 PURCHASE-SIG SDA CROATIA ZAG4 ZRACNA
05/31/2022                                                           $36.93                             $5,572.48
             LUKA HR 50100024 085000
             XX2369 PURCHASE-SIG PET NETWORK ZAGREB HR
05/31/2022                                                           $32.81                             $5,539.67
             RB030158 001630
             XX2369 PURCHASE-SIG PBZ7DMP22 ZAGREB HR
05/31/2022                                                           $30.34                             $5,509.33
             PDM00301 005297
             VISA ISA Fee VRUTAK DOO ZAGREB HR 50039021
05/31/2022                                                            $0.97                             $5,508.36
             055000
             VISA ISA Fee SDA CROATIA ZAG4 ZRACNA LUKA HR
05/31/2022                                                            $0.37                             $5,507.99
             50100024 085000
             VISA ISA Fee PET NETWORK ZAGREB HR RB030158
05/31/2022                                                            $0.33                             $5,507.66
             001630
05/31/2022   VISA ISA Fee PBZ7DMP22 ZAGREB HR PDM00301 005297         $0.30                             $5,507.36
             XX2369 ATM WITHDRAWAL REISEB FFM-FLUGHAFE
05/31/2022                                                          $323.01                             $5,184.35
             FRANKFURT DE 00001062 649584
             VISA ISA Fee REISEB FFM-FLUGHAFE FRANKFURT DE
05/31/2022                                                            $3.23                             $5,181.12
             00001062 649584


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CLASSIC BUSINESS CHECKING-2060 (continued)
Account Activity (continued)
Post Date     Description                                                Debits                Credits            Balance
05/31/2022    SERVICE CHARGE                                              $8.50                                 $5,172.62
05/31/2022    Ending Balance                                                                                    $5,172.62

Daily Balances
Date                           Amount     Date                       Amount       Date                            Amount
05/02/2022                    $7,675.63   05/16/2022                $7,467.82     05/24/2022                     $6,539.76
05/05/2022                    $7,594.42   05/17/2022                $7,441.41     05/26/2022                     $6,239.18
05/06/2022                    $7,546.44   05/18/2022                $7,173.84     05/27/2022                     $5,706.57
05/09/2022                    $7,504.57   05/19/2022                $7,072.38     05/31/2022                     $5,172.62
05/10/2022                    $7,501.31   05/23/2022                $6,947.42


Overdraft and Returned Item Fees
                                                         Total for this period                      Total year-to-date
   Total Overdraft Fees                                                  $0.00                                   $0.00
   Total Returned Item Fees                                              $0.00                                   $0.00


Service Charge Summary
   Description                                                                                                Amount
   TOTAL CHARGE FOR TOTAL ITEMS:                                                                                 $8.50
   Total Service Charge                                                                                          $8.50




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    4 Bryant Park
    3rd Floor
    New York, NY 10018
    RETURN SERVICE REQUESTED                                         Managing Your Accounts
                                                                         Email             clientcare@piermontbank.com

    AARON ETRA ESQ                                                       Office Number     212-266-9200
    445 PARK AVE FL 9
                                                                                           Mon - Fri
    NEW YORK NY 10022-8606                                               Banking Hours
                                                                                           8:30am - 4:30pm EST
                                                                         Online Banking    www.piermontbank.com




 Summary of Accounts
 Account Type                                                     Account Number                      Ending Balance
 CLASSIC BUSINESS CHECKING                                                  2060                           $7,343.97


CLASSIC BUSINESS CHECKING-2060
Account Summary
Date         Description                               Amount
06/01/2022   Beginning Balance                        $5,172.62
             5 Credit(s) This Period                  $7,686.79
             9 Debit(s) This Period                   $5,515.44
06/30/2022   Ending Balance                           $7,343.97

Account Activity
Post Date    Description                                                 Debits             Credits              Balance
06/01/2022   Beginning Balance                                                                               $5,172.62
06/03/2022   Checking Account Transfer from DDA 0362                                      $6,000.00         $11,172.62
06/03/2022   Checking Account Transfer to DDA 0362                      $200.00                             $10,972.62
             XX2369 PURCHASE-PIN AMISH MARKET NEW YORK NY
06/06/2022                                                               $26.86                             $10,945.76
             00010003 091089
             XX2369 PURCHASE-SIG DUANE READE #142 NEW YORK
06/06/2022                                                                $8.66                             $10,937.10
             NY 00000000 002885
06/06/2022   AMEX EPAYMENT ACH PMT W2214                               $4,923.86                              $6,013.24
             XX2369 ATM WITHDRAWAL 485 LEXINGTON AVE NEW
06/09/2022                                                              $200.00                               $5,813.24
             YORK NY AXD34274 000868
             XX2369 PURCHASE-SIG CVS/PHARMACY #10 NEW
06/10/2022                                                                $6.38                               $5,806.86
             YORK NY 00000000 066115
             XX2369 POS RETURN ASSOCIATION OF Y 203-4321886
06/14/2022                                                                                 $486.00            $6,292.86
             CT 29216999 097623
06/14/2022   Wise Inc 434431621 434431621                                                    $0.35            $6,293.21
06/14/2022   Wise Inc 434431621 434431621                                                    $0.44            $6,293.65
             10052683 Wise Inc From Regent Exhibitions Limited Via
06/14/2022                                                                                $1,200.00           $7,493.65
             WISE
06/17/2022   Domesitic wire fee 5234                                     $30.00                               $7,463.65
06/17/2022   Domesitic wire fee 5235                                     $30.00                               $7,433.65
06/27/2022   APPLECARD GSBANK PAYMENT 21617965                           $89.68                               $7,343.97
06/30/2022   Ending Balance                                                                                   $7,343.97




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CLASSIC BUSINESS CHECKING-2060 (continued)
Daily Balances
Date                            Amount     Date                       Amount       Date                            Amount
06/03/2022                    $10,972.62   06/10/2022                $5,806.86     06/27/2022                     $7,343.97
06/06/2022                     $6,013.24   06/14/2022                $7,493.65
06/09/2022                     $5,813.24   06/17/2022                $7,433.65


Overdraft and Returned Item Fees
                                                          Total for this period                     Total year-to-date
   Total Overdraft Fees                                                   $0.00                                   $0.00
   Total Returned Item Fees                                               $0.00                                   $0.00




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